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                        EXHIBIT
                           B
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       __________________________________

                           James T. Wells, Ph.D.

                               October 17, 2019
       __________________________________

                             Pamela Butler, et al.
                                          vs.

                          Mallinckrodt, Inc., et al.
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                      IN THE UNITED STATES DISTRICT COURT

                      FOR THE EASTERN DISTRICT OF MISSOURI

                                  EASTERN DIVISION



            --------------------------x
                                        )
            PAMELA BUTLER, et al.       ) No. 4:12-CV-00361-AGF
                                        ) Lead Case
                           Plaintiffs, )
                                        )
                v.                      )
                                        )
            MALLINCKRODT, INC.,         )
            et al.,                     )
                                        )
                           Defendants. )
                                        )
            --------------------------x




              VIDEOTAPED DEPOSITION OF JAMES T. WELLS, Ph.D.

                            LOS ANGELES, CALIFORNIA

                           THURSDAY, OCTOBER 17, 2019

                                    9:05 A.M.




            Job No.: 213918

            Pages: 1 - 343

            Reported by: Leslie A. Todd, CSR #5129 and RPR
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       1        Deposition of JAMES T. WELLS, Ph.D., held

       2    at the offices of:

       3

       4

       5                MORGAN, LEWIS & BOCKIUS, LLP

       6                300 South Grand Avenue

       7                22nd Floor

       8                Los Angeles, California 90071

       9

      10

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      12

      13

      14        Pursuant to notice, before Leslie Anne Todd,

      15    Court Reporter No. 5129 in and for the State of

      16    California, who officiated in administering the

      17    oath to the witness.

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       1                       A P P E A R A N C E S

       2

       3    ON BEHALF OF PLAINTIFFS:

       4          KENNETH B. McCLAIN, ESQUIRE

       5          HUMPHREY, FARRINGTON & McCLAIN, P.C.

       6          221 West Lexington

       7          Suite 400

       8          Independence, Missouri 64051

       9          (816) 836-5050

      10

      11    ON BEHALF OF THE DEFENDANT MALLINCKRODT, INC.:

      12          JASON M. ZAGER, ESQUIRE

      13          STEVEN D. SODEN, ESQUIRE

      14          SHOOK, HARDY & BACON LLP

      15          2555 Grand Boulevard

      16          Kansas City, Missouri 64108-2613

      17          (816) 474-6550

      18

      19    ON BEHALF OF DEFENDANT COTTER CORPORATION:

      20          JOHN McGAHREN, ESQUIRE

      21          MORGAN, LEWIS & BOCKIUS

      22          502 Carnegie Center

      23          Princeton, New Jersey 08540-6241

      24          (609) 919-6641

      25



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       1               A P P E A R A N C E S (Continued)

       2

       3    ALSO PRESENT:

       4          ARTHUR S. ROOD, MS

       5            (Risk Assessment Corporation)

       6          PETER KALISCH, Videographer

       7

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       2    EXAMINATION OF JAMES T. WELLS, Ph.D.                     PAGE

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       4         By Mr. McGahren                                     226

       5

       6

       7                         E X H I B I T S

       8                    (Attached to transcript)

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      10    No. 1       Amended Notice of Videotaped

      11                Deposition                                    10

      12    No. 2       Expert Report of James T. Wells,

      13                PhD, PG in the matter of McClurg,

      14                et al. V. Mallinckrodt, Inc.,

      15                et al., March 31, 2019                        14

      16    No. 3       File of documents brought to the

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      18    No. 4       Data Capture Document Discovery and

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      24                Mallinckrodt, Inc., et al.,

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       8                Reconstruction of Plaintiff Doses

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    1                      P R O C E E D I N G S

    2                      --------------------

    3                 THE VIDEOGRAPHER:      We are on the record.

    4    This is the videotaped deposition of Dr. James

    5    Wells.    Today's date is October 17, 2019, and the

    6    time is 9:05 a.m.

    7                 This is the case of Pamela Butler,

    8    et al., versus Mallinckrodt, Inc., et al.           The

    9    case number is 4:12-CV-00361-AGF pending in the

   10    United States District Court for the Eastern

   11    District of Missouri, Eastern Division.          This

   12    deposition is being held at Morgan, Lewis and

   13    Bockius, LLP, at 300 South Grand Avenue, 22nd

   14    Floor, Los Angeles, California 90071.

   15                 My name is Peter Kalisch, the

   16    videographer, associated with Pohlman USA Court

   17    Reporting, located at 10 South Broadway,

   18    Suite 1400, St. Louis, Missouri.         The court

   19    reporter is Leslie Todd, also with Pohlman USA

   20    Court Reporting.

   21                 Counsel, will you please state your

   22    appearances.

   23                 MR. McCLAIN:     On behalf of the

   24    plaintiffs, Ken McClain.

   25                 MR. ZAGER:     Jason Zager on behalf of



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    1    Mallinckrodt, Inc.

    2                  MR. SODEN:    Steve Soden on behalf of

    3    Mallinckrodt.

    4                  MR. McGAHREN:    John McGahren on behalf

    5    of Cotter Corporation.

    6                  THE VIDEOGRAPHER:     Will the court

    7    reporter swear in the witness, please.

    8                     JAMES T. WELLS, Ph.D.,

    9               and having been first duly sworn,

   10           was examined and testified as follows:

   11                           EXAMINATION

   12    BY MR. ZAGER:

   13           Q      Sir, would you please state your name

   14    for the record.

   15           A      My names is James Wells.

   16           Q      And you are a Ph.D., correct?

   17           A      Correct.

   18           Q      Dr. Wells, you understand that you've

   19    been retained as an expert for the plaintiffs in

   20    this case?

   21           A      I understand that, yes.

   22           Q      And are you here to testify regarding

   23    your two expert reports that you have authored in

   24    this particular case?

   25           A      Yes.



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    1           Q     Okay.    I understand you've given some

    2    depositions before; is that correct?

    3           A     I have.

    4           Q     Given that you're experienced in this

    5    process, I'll kind of dispense with the normal

    6    ground rules that we talk about with witnesses.

    7    The one thing that I would just remind you is if

    8    at any point in time I ask a question that you

    9    don't understand or if I use a term that you don't

   10    understand, will you please let me know?

   11           A     Yes, I will.

   12           Q     Do you understand that if I ask a

   13    question or if one of the other attorneys ask a

   14    question and you provide an answer, that someone

   15    reviewing the transcript, whether it's the jury or

   16    the judge, is going to believe that you understood

   17    the question and provided a responsive answer?

   18           A     Okay.    I understand that.

   19                 (Exhibit No. 1 was marked for

   20                 identification.)

   21    BY MR. ZAGER:

   22           Q     Sir, I'm going to hand you what I've

   23    marked as Exhibit 1.      Go ahead and take a look at

   24    that and tell me if you recognize that document.

   25           A     Yes, I do recognize this document.



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    1           Q     What do you recognize Exhibit 1 to be?

    2           A      I recognize this to be the notice for

    3    this deposition.

    4           Q     If you turn to the last page of

    5    Exhibit 1, there's Exhibit A that asks for you to

    6    bring certain documents with you to the

    7    deposition.

    8                 Do you see that?

    9           A      I do.

   10           Q      Have you reviewed the Exhibit A to

   11    Exhibit 1?

   12           A      I have.

   13           Q      Have you brought the documents with you

   14    today that are requested here?

   15           A      Well, I believe that certain technical

   16    documents have already been provided.          So I did

   17    bring some documents with me today that I -- I

   18    think you have not received thus far.

   19           Q      Okay.   The technical documents you're

   20    referring to, were those all produced in

   21    discovery, to your understanding?

   22           A      To my understanding, yes.

   23           Q      Are the technical documents that were

   24    produced in discovery all identified in your

   25    reports in your footnotes?



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    1            A     Yes, they are.

    2            Q     You did not bring those with you today,

    3    fair?

    4            A     That's correct, I didn't.

    5            Q     The documents that you brought with you

    6    today, I believe first you brought your invoices,

    7    correct?

    8            A     Correct.

    9            Q     All right.    We'll talk about those in a

   10    little bit more detail later.

   11                  You also brought a copy of, I believe,

   12    your signed confidentiality agreement?

   13            A     That's right.

   14            Q     You brought a copy of a contract, I

   15    believe, between you and Mr. McClain's firm,

   16    although I think you said it wasn't signed yet,

   17    fair?

   18                  MR. McCLAIN:     Well, that copy is not

   19    signed, but I was saying that I don't know whether

   20    there is a signed copy, but --

   21                  MR. ZAGER:    Okay.

   22                  THE WITNESS:     The copy I brought wasn't

   23    signed.     I couldn't find a signed copy.       I

   24    actually think there is one, but I couldn't find

   25    it as I was gathering these documents yesterday.



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    1                 MR. McCLAIN:     I don't know whether there

    2    is or not.    I was just --

    3                 THE WITNESS:     That's fair.

    4                 MR. McCLAIN:     -- giving a bad joke

    5    for -- from an expert's point of view.

    6    BY MR. ZAGER:

    7           Q     Did you, I believe, also bring two

    8    copies -- or a copy of each of your reports, fair?

    9           A     I did.

   10           Q     Okay.    Did you bring any other documents

   11    with you here today?

   12           A     No, I didn't.

   13           Q     Did you make any notes while you were

   14    working on this case?

   15           A     To some degree I made notes in that --

   16    that as I was beginning to write my report, I --

   17    the way I usually write a report is I'll develop

   18    sort of like a written outline, and then I fill in

   19    that outline.     So there are -- there -- along the

   20    way, the draft of the report started out kind of

   21    as a skeletal outline and then continued until it

   22    was the complete report.

   23           Q     Did you make any handwritten notes while

   24    you were working on this case?

   25           A     I don't think so.



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    1           Q     You mentioned the technical documents.

    2    Did you print out any of the technical documents?

    3           A     Yes, I did print out some of the

    4    technical documents.

    5           Q     Did you make any handwritten notes or

    6    highlights in the margins on the technical

    7    documents that you printed out?

    8           A     I don't believe so.

    9           Q     Okay.    So other than the technical

   10    documents which we've already discussed, you

   11    believe that you brought everything that you have

   12    that's responsive to Exhibit A to the Exhibit 1,

   13    your deposition notice, fair?

   14           A     I believe that's fair.       Just -- I'll

   15    just note item number 12 is my current resume, and

   16    that's attached to the first of my reports.

   17           Q     Okay.    All right.    We may come back to

   18    that at some point, but you can set that aside for

   19    now.

   20           A     Okay.

   21           Q     You told us that your CV is actually

   22    attached to your first report, correct?

   23           A     Yes.

   24                 (Exhibit No. 2 was marked for

   25                 identification.)



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    1    BY MR. ZAGER:

    2           Q     I'm going to hand you what I marked as

    3    Exhibit 2.

    4                 Go ahead and take a look at that.

    5           A     (Peruses document.)

    6           Q     Do you recognize Exhibit 2?

    7           A     I do recognize this.

    8           Q     What is Exhibit 2?

    9           A     Exhibit 2 is a copy of my first expert

   10    report in this case dated March 31st, 2019.

   11           Q     Okay.    Does Exhibit 2 contain a copy of

   12    your CV, as you mentioned?

   13           A     Yes, it does.

   14           Q     Let's go ahead and turn to that.         I

   15    believe it's Appendix A to Exhibit 2.

   16           A     Yes.

   17           Q     First, is there anything that needs to

   18    be updated to this CV since it was provided with

   19    your March 31st, 2019, report?

   20           A     (Peruses document.)

   21                 The only thing that I see that I should

   22    tell you about is I -- I actually did participate

   23    in another deposition, actually just last week,

   24    and that's obviously not listed here.

   25           Q     Okay.    What was the case that you gave



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    1    the deposition in last week?

    2            A      Well, I call it the Wedron, Illinois

    3    case.       I'm not sure what the official title is.

    4            Q      What type of case is the Wedron,

    5    Illinois case?

    6            A      It's a contamination case.      It's a --

    7    it's a case of soil and groundwater contamination

    8    that spread on -- onto and under people's homes.

    9            Q      The Wedron, Illinois case, does it

   10    relate to any alleged contamination with

   11    radioactive materials or radionuclides?

   12            A      No, it doesn't.

   13            Q      Okay.   Other than adding the deposition

   14    from the Wedron, Illinois case, is there anything

   15    else that needs to be updated about your CV or

   16    your testimony list?

   17            A      I don't believe so.

   18            Q      Okay.   I know it's in the -- in the CV,

   19    but why don't you just go ahead and give me your

   20    educational background, a thumbnail sketch.

   21            A      Okay.   Well, I have a bachelor's in

   22    earth sciences from Dartmouth College way back in

   23    1981.    And then my master's in geology and my

   24    Ph.D. in geology are from the University of

   25    Washington, and I finished up my graduate studies



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    1    in 1990.

    2           Q      Your graduate studies were a Ph.D.?

    3             A    Master's and Ph.D.

    4           Q      You have a master's and Ph.D. and then

    5    you --

    6                  I'm sorry, you have a master's in

    7    geology, correct?

    8             A    Correct.

    9           Q      And you also have a Ph.D. in geology?

   10           A      Correct.

   11           Q      What coursework have you taken related

   12    to radiation, if any?

   13           A      I haven't taken any coursework

   14    specifically related to radiation.

   15           Q      Have you taken any courses in health

   16    physics?

   17           A      No.

   18           Q      Have you taken any courses specific to

   19    radiation safety?

   20           A      No, I haven't.

   21           Q      Okay.   If you were to meet me at a

   22    cocktail party, for instance, how would you

   23    describe your line of work or your expertise?

   24           A      I would describe myself as an

   25    environmental geologist, and I would describe



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    1    myself as an expert in contaminant fate and

    2    transport.

    3           Q     What is contaminant fate and transport?

    4           A     Contaminant fate and transport broadly

    5    is the study of how contaminants released to the

    6    environment migrate, how they might spread from a

    7    point of release out into the environment, into

    8    groundwater, into soil, into surface water,

    9    sediments, things like that.

   10           Q     In your work are there particular

   11    contaminants that you normally work with?

   12           A     In my work we -- we really address any

   13    contaminants that, you know, clients have a

   14    problem with.     I'm not, per se, a chemist but,

   15    rather, an environmental geologist.         So I'm -- I'm

   16    the guy that's on the fate and transport side of

   17    things.

   18           Q     When you work on a fate and transport

   19    case like you just described, what does -- what do

   20    you typically do?      What are your duties?

   21           A     Well, it really all depends on the needs

   22    of -- of our clients.       But very broadly, my work

   23    involves -- outside of litigation support,

   24    involves evaluating and characterizing a site, so

   25    trying to understand the nature and extent of



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    1    contamination at a site.       Oftentimes it's

    2    important to try to understand whether or not

    3    contamination has spread off some particular

    4    property where it might have originated.

    5                 And then we advise clients on how to

    6    comply with the relevant regulations.          And if

    7    cleanup is necessary, we evaluate mediation

    8    technologies and strategies that might be

    9    appropriate for cleaning up the site.

   10           Q     Do you perform any dose reconstruction?

   11           A     No, I don't.

   12           Q     Okay.    That would be the purview of a

   13    toxicologist or some other expertise?

   14           A     I would agree with that.

   15           Q     Okay.    You note on your CV your

   16    professional societies that you're a member of.

   17    Are you a member of any professional societies

   18    that are specific to either radiation measurement

   19    or radiation safety?

   20           A     No, I'm not.

   21           Q     Are you a member of the American Board

   22    of Health Physics?

   23           A     No.

   24           Q     What about the Health Physics Society?

   25           A     No, I'm not.



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    1           Q     You note that you're a licensed

    2    geologist in the state of California?

    3           A     Correct.

    4           Q     Do you have any other licenses that you

    5    believe are pertinent to this case?

    6           A     No, I don't.

    7           Q     Okay.    You currently work for

    8    L. Everett & Associates?

    9           A     That's correct.

   10           Q     How long have you been with L. Everett &

   11    Associates?

   12           A     Well, I -- I helped form that company

   13    with my senior partner, Dr. Lorne Everett, about

   14    nine years ago.

   15           Q     Okay.    So approximately 2010?

   16           A     Correct.

   17           Q     I'm sure this is probably going to touch

   18    on what you've already told us, but what kind of

   19    work does L. Everett & Associates perform?

   20           A     The very kind of work I -- I discussed

   21    earlier.    We work on sites that have

   22    contamination, either in soil or groundwater or

   23    surface water.     We conduct site characterization

   24    activities to try to understand and better define

   25    the nature and extent of contamination.          We'll



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    1    oftentimes work toward trying to understand the

    2    source of contamination, because sometimes it's

    3    not so obvious and sometimes there might be

    4    multiple sources or multiple releases.

    5                 And then we try to guide our clients

    6    through the regulatory process, so we interact

    7    with regulatory authorities, either at the federal

    8    or state or local level.       That oftentimes involves

    9    meetings and writing reports.        And then if a site

   10    is found to require cleanup, if the levels of

   11    contamination are too high to be protective of

   12    human health or the environment, we'll also engage

   13    in remedial planning.

   14           Q     You mentioned that you do some

   15    litigation work and you do non-litigation work.

   16    Is that fair?

   17           A     That's fair.

   18           Q     Is there a breakdown in your work at

   19    L. Everett & Associates between those?          I mean, do

   20    you do 20 percent one and 80 percent the other, or

   21    what would be the ratio between those?

   22           A     I don't really have that in my mind in a

   23    quantitative way, but I would say that probably

   24    these days about 40 percent of my work is spent on

   25    projects where I've been designated as an expert.



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    1           Q     An expert witness in litigation.

    2           A     Right.

    3           Q     Okay.    So you believe the -- currently

    4    as you sit here today in October of 2019, the bulk

    5    of your work is litigation work.

    6           A     Well, 60 percent is other kind of work,

    7    so I wouldn't say the bulk is, but, you know,

    8    40 percent is a fair amount.

    9           Q     Okay.    You mentioned in your report that

   10    when -- that you used the methodology in this

   11    particular case that you use in your

   12    non-litigation work.      Do you recall saying that?

   13           A     Yes.

   14           Q     Explain to me what methodology you use

   15    in your non-litigation work that you then apply to

   16    this case.

   17           A     Well, one of the things I was looking at

   18    here is concentrations of contaminants in -- in

   19    the air, in particulates in -- in the air.           And as

   20    an example of that somewhat similar kind of

   21    methodology, I'm working on a project -- it's a

   22    non-litigation project in Southern California here

   23    that's called Chemetco.       Chemetco is a secondary

   24    lead smelter.     And that's one of the principal

   25    issues that I'm working on right now, is trying to



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    1    understand the legacy of airborne emissions, in

    2    that case lead, that extended offsite and possibly

    3    into commercial and residential neighborhoods.

    4           Q     In the Chemetco case, did you perform

    5    any type of testing?

    6           A     A lot of testing has been done.         I

    7    didn't personally perform it.

    8           Q     In the Chemetco case, did you take the

    9    testing results that had been performed by others

   10    and assess that data?

   11           A     I did.

   12           Q     Okay.    Did you use that data to

   13    determine what the -- the concentrations were in

   14    the area of interest?

   15           A     Yeah, a term of art we sometimes use

   16    in -- in that arena is exposure point

   17    concentrations, or average concentrations, or

   18    things like that.

   19           Q     How do you determine the exposure point

   20    concentration and the average concentration?

   21           A     Well, it all depends on the medium and

   22    it all depends on the site.        There are really --

   23    you know, if we could start very generically,

   24    there are really two ways to do that, regardless

   25    of the medium.     Maybe it could be airborne



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    1    particulates; maybe it could be groundwater.

    2                 One is measuring, collecting data, and

    3    just, you know, finding out.        There are -- there

    4    are all sorts of protocols that fall into play

    5    there, and you have to make sure that you have an

    6    adequate sampling plan.

    7                 And then the other broad category of

    8    methodology is modeling.

    9            Q    Do you then take the data that you get

   10    either from your sampling or your modeling and

   11    plot that in an area?

   12            A    Oftentimes -- yeah, oftentimes we use

   13    maps.    One of the things that we do with some

   14    frequency is pretty sophisticated three-

   15    dimensional depictions of data, because these are

   16    always three-dimensional problems.

   17            Q    I'm assuming when you plot that data or

   18    you use your three-dimensional data plot that

   19    you're talking about, then there's going to be

   20    some variations of the concentrations.          Is that

   21    fair?

   22            A    I just want to clarify, we're really

   23    just talking about almost like a hypothetical --

   24            Q    Yes.

   25            A    -- a generic site.



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    1           Q     Well, we're talking about your

    2    methodology generally.       Is that fair?

    3           A     Okay.    Sure, mm-hmm.

    4           Q     Okay.    So when you take this, either

    5    your sampling or modeling data, you essentially

    6    plot that out, and there's going to be variations

    7    in the amount of a particular substance of

    8    interest in your area; is that correct?

    9           A     That will almost always be the case.

   10           Q     You then said that you take the average

   11    from that; is that correct?

   12           A     Sometimes.     Sometimes we look at

   13    averages.    Sometimes we look at this statistical

   14    concept that's oftentimes called the 95 percent

   15    upper confidence limit of the mean.         Sometimes we

   16    actually look at maximums.

   17                 You know, EPA has this policy that when

   18    you're looking at the possibility of -- of human

   19    interaction with contamination, that one thing

   20    you're looking for in this kind of

   21    characterization is reasonable maximum exposure

   22    levels, RME.

   23           Q     Okay.    Is the reasonable maximum

   24    exposure limit, is that the same as the 95 percent

   25    upper confidence limit?



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    1            A      You know, it really depends on the

    2    dataset, but I would -- I would assert that most

    3    of the time, no.        Most of the time it's not the

    4    same.

    5            Q       Okay.   Going back to your non-litigation

    6    work then, do you normally develop the plan to

    7    determine what needs to be done at a given area or

    8    site in order to remediate it?

    9                    MR. McCLAIN:   Object to the form of the

   10    question.       It's vague and ambiguous.

   11    BY MR. ZAGER:

   12            Q       You can answer.

   13            A       Yeah, I -- I'm just pausing because of

   14    the "normally" part.       We oftentimes do exactly

   15    that.       Sometimes we'll be brought in on a project

   16    that's already well underway, and some of that

   17    work might have already been done.         We might

   18    review the work.        We might provide advice about

   19    refining the work or -- or improving the plans.

   20    So it -- it can vary, but that certainly is part

   21    of my practice.

   22            Q       Okay.   As any part of your practice, do

   23    you go to active radioactive waste sites and

   24    evaluate their practices and their compliance with

   25    the regulations?



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    1                 MR. McCLAIN:     Has he done that?      Does he

    2    do that daily?     I mean, what's the -- your

    3    question is unclear.

    4    BY MR. ZAGER:

    5           Q     You can answer.

    6           A     That's not something I've done in my

    7    practice.

    8           Q     Okay.    You said that you helped start

    9    L. Everett & Associates in approximately 2010.

   10    Where were you at before that?

   11           A     Before that, I was with an environmental

   12    engineering and consulting firm called Haley &

   13    Aldrich.

   14           Q     How long were you with Haley & Aldrich?

   15           A     I was with Haley & Aldrich for about

   16    eight years, although there was a gap in the

   17    middle of about a year.

   18           Q     Okay.    So you would have started there

   19    approximately in what, 2000, 2001?

   20           A     That's about right.

   21           Q     Okay.    Where did you go during the year

   22    that you were not with Haley & Aldrich?

   23           A     I went to a company called Shaw

   24    Environmental, which is also an environmental

   25    consulting and engineering firm.



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    1           Q        When you were at Haley & Aldrich, was

    2    your practice generally the same as what it is

    3    today?

    4             A      Yes, it was generally the same as it is

    5    today.       During that period of my practice, I was

    6    doing less litigation support.

    7           Q        Okay.    It was more on the characterizing

    8    sites and developing or evaluating cleanup plans?

    9             A      Right.

   10             Q      All right.    When you were with Shaw

   11    Environmental, essentially the same duties?

   12             A      Same duties.

   13             Q      Okay.    Where were you at before Shaw --

   14    I'm sorry, where were you at before Haley &

   15    Aldrich.

   16             A      Before Haley & Aldrich, it was another

   17    environmental consulting firm, engineering firm,

   18    called Metcalf & Eddy.

   19             Q      What kind of work did you do at

   20    Metcalf & Eddy?

   21             A      Site investigations, remediation

   22    evaluations, site cleanups for contaminated sites.

   23             Q      Same type of work as you've been doing.

   24             A      Correct.

   25             Q      All right.    Have you worked anywhere



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    1    else since you have completed your undergraduate

    2    degree where you were performing tasks other than

    3    the type of work that you now do at L. Everett &

    4    Associates?

    5           A      No -- not for money, no.

    6           Q     Okay.    What did you do for not money?

    7           A      Well, how about gardening.

    8           Q     Okay.

    9           A      No, I've been in this field ever

   10    since -- ever since I got out of graduate school.

   11           Q      Have you ever worked for any federal

   12    agencies?

   13           A      Well, we've worked on behalf of -- of

   14    federal agencies.      I -- I've -- in other words,

   15    I've secured contracts with EPA.         But I've never

   16    been an employee.

   17           Q      Okay.   What kind of work have you done

   18    on behalf of the EPA?

   19           A      I was retained by EPA under a program

   20    that they have that provides technical support to

   21    communities that are impacted or potentially

   22    impacted by Superfund sites, such that those

   23    communities can have access to independent

   24    technical advice and interpretations.

   25           Q      I believe I saw that in your report.



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    1    You're referring to the, I believe, Exide matter?

    2           A     Well, that's a little different,

    3    actually.    I mean, it's the same kind of work, but

    4    that's with the State.

    5           Q     Okay.    What particular Superfund sites

    6    have you worked on as a technical advisor

    7    providing support to the community?

    8           A     That has predominantly been work at the

    9    Montrose and Del Amo Superfund sites.

   10           Q     That's two separate ones?

   11           A     They're two separate ones that,

   12    unfortunately, are side by side.

   13           Q     Okay.    What are the alleged contaminants

   14    in the Montrose and Del Amo Superfund sites?

   15           A     They are a wide spectrum of

   16    contaminants.     There are chlorinated solvents,

   17    such as TCE and chlorobenzene.        There are kind of

   18    specialty chemicals related to Montrose's former

   19    production of DDT, like a compound called PCBA.

   20    There are petroleum hydrocarbons that include

   21    things like benzene.      There are metals.

   22           Q     Are any of the contaminants at issue in

   23    the Montrose or the Del Amo Superfund sites

   24    radioactive materials?

   25           A     Those aren't -- those aren't considered



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    1    constituents of concern at those sites.

    2            Q    Okay.    Have you ever been a technical

    3    advisor on behalf of the EPA to a community that

    4    was allegedly dealing with exposure to radioactive

    5    material?

    6            A    No.

    7            Q    Have you ever worked as a radiation

    8    safety officer anywhere?

    9            A    No, I haven't.

   10            Q    Have you ever worked at a facility that

   11    had a license for radioactive material?

   12            A    No, I've never worked in a facility like

   13    that.

   14            Q    Are you familiar with the acronym GoCo?

   15            A    No, I'm not.

   16            Q    You also list in your CV some different

   17    lectures and presentations that you've given; is

   18    that correct?

   19            A    Let's see -- I'm not sure --

   20            Q    Publications and papers.

   21            A    I'm not sure if I have lectures here.

   22            Q    Okay.    Well, let's look -- I guess your

   23    publication and papers, is that up to date?

   24            A    Yes, it is.

   25            Q    Are there any of your publications or



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    1    papers that you believe are relevant to the issues

    2    in this case?

    3            A    Well, there -- there -- some of these

    4    papers do overlap, because even though they're

    5    dealing with other chemicals, other compounds,

    6    they address questions of contaminant fate and

    7    transport.

    8            Q    Are any of your publications or papers

    9    specific to radioactive waste or radionuclides?

   10            A    No, they're not.

   11            Q    Are any of your publications and papers

   12    specific to radiation safety practices?

   13            A    No.

   14            Q    You said that you don't have lectures on

   15    here.    Have you given some lectures or some

   16    presentations?

   17            A    I have, yes.

   18            Q    Okay.    Have any of your lectures or

   19    presentations dealt with the issues in this case

   20    other than generally fate and transport?

   21            A    Well, that's my area of expertise is

   22    fate and transport.      I'm not sure how to answer

   23    that.    For example, this spring I gave a lecture

   24    down in San Diego that was mostly about Exide and

   25    particulate emissions and deposition, and



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    1    subsequent impacts onto residential soil.

    2                 So those are -- those are things that

    3    are -- you know, that are relevant to the kind of

    4    work I did in this case.

    5           Q     In the Exide matter, you said that

    6    you're working on behalf of the State?

    7           A     I've been retained by the State, but --

    8    and so in a sense, yes, I'm working on behalf of

    9    the State, but my role is to serve as the

   10    technical advisor to a community advisory group.

   11           Q     Okay.    In the Exide matter, are any of

   12    the contaminants of concern radioactive?

   13           A     No.

   14           Q     What projects have you worked on that

   15    have had a contaminant of concern that was a

   16    radioactive material?

   17           A     Let's see.     Going chronologically, if we

   18    go way back to my time in graduate school, I

   19    actually served as a grad student representative

   20    on a science board to the State of Washington that

   21    was evaluating the work -- environmental work

   22    being conducted at the Hanford Reservation.           So

   23    that wasn't paid work, but I served on that board.

   24                 Several years ago my company worked on a

   25    site in Long Island called Hicksville, which is



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    1    also a FUSRAP site.      That involved radioactive

    2    materials.

    3                 I, along with Dr. Everett, provided some

    4    consulting at Idaho National Engineering Lab.

    5    That was in the 1990s.

    6                 And I've worked on some radon sites

    7    where the issue was radon levels in indoor air

    8    that may be not protective of human health.

    9           Q     Okay.    So you mentioned your work on the

   10    Hanford project.      You mentioned Hicksville.       You

   11    mentioned the Idaho National Lab.         And you also

   12    mentioned just some various radon sites involving

   13    indoor air levels.

   14                 I believe you also have listed here on

   15    your CV a Gallagher & Kennedy matter.          Is that one

   16    of the one -- one of the ones you just talked

   17    about, or is that in addition?

   18           A     Oh, yeah.    That's a site out in -- thank

   19    you for reminding me.       That's a site out in Santa

   20    Clarita.    There were kind of a basket of different

   21    contaminants, including radioactive materials, at

   22    that site.

   23           Q     Did you reconfigure your CV for this

   24    case in any way?

   25           A     I -- I did reformat my CV such that



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    1    those two project examples were at the top.

    2           Q     Okay.    So, in other words, if I were to

    3    look at your CV from another case that did not

    4    involve radiation, the formal Sylvania site -- I'm

    5    sorry, former Sylvania site, Gallagher & Kennedy

    6    matter, and your student work at the University of

    7    Washington would not be the first three that

    8    appear, correct?

    9           A     They might not be.

   10           Q     Okay.    Other than just moving the order

   11    around of your matters, did you make any changes

   12    to the descriptions of those matters?

   13           A     With regard to an earlier CV?

   14           Q     Yes.

   15           A     I'm pretty sure an -- my earlier

   16    versions of the CV didn't even have the advisory

   17    group listed.

   18           Q     Okay.

   19           A     So that would have been an addition.

   20           Q     Okay.    Did you make any other changes

   21    from previous CVs specific to this case?

   22           A     I may have.     I can't recall.

   23           Q     Okay.    In your Gallagher & Kennedy

   24    matter, do you normally even mention radioactive

   25    materials on other CVs?



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    1           A      I -- I really can't recall.       I may have

    2    added that.

    3           Q      Okay.   All right.    Let's go back and

    4    let's talk about your work on the Hanford project.

    5    You said that you were a grad student rep on a

    6    panel or board for the University of Washington.

    7                  What really was your duties or scope of

    8    work in that unpaid position?

    9           A      Well, that was on behalf of the State of

   10    Washington, and there were --

   11                  MR. McCLAIN:    Oh, I'm in -- I'm in the

   12    frame?     Well, that improves it, doesn't it?

   13    BY MR. ZAGER:

   14           Q      You can answer.     Go ahead.

   15           A      There were faculty and graduate students

   16    from a variety of disciplines, and we would

   17    address questions that -- that the State had about

   18    the work that was being done at Hanford, technical

   19    questions.

   20           Q      What aspect of the -- of the technical

   21    case or the technical evaluation did you work on?

   22           A      Well, that was a long time ago, but one

   23    aspect in particular that I recall working on was

   24    a question of vadose zone transport.          The question

   25    really was how long would it take for various



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    1    radioactive materials that might be dissolved in

    2    soil moisture that might be -- have been deposited

    3    as soil or sludges, how long would it take for

    4    that material to impact the underlying

    5    groundwater.

    6            Q    As part of the Han- -- your work on the

    7    Hanford project, did you do any evaluation of

    8    their safety practices while that was an active

    9    site?

   10            A    No.

   11            Q    You mentioned your work at the

   12    Hicksville FUSRAP.      Just generally describe for me

   13    what your duties or activities were with respect

   14    to the Hicksville or formal -- former Sylvania

   15    site.

   16            A    Well, our -- in particular, we were

   17    evaluating the nature and extent of contamination

   18    with an eye toward understanding what kind of

   19    exposure employees might have experienced after

   20    the site had been redeveloped.

   21            Q    So, in other words, after the

   22    remediation effort, people that were working on

   23    site, what would be their dose, if any?

   24            A    I don't want to go so far as to say

   25    dose, because, you know, being a fate and



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    1    transport guy and a geologist, I -- I don't really

    2    do doses.    But, yeah, in what way might employees

    3    have been exposed to different kinds of

    4    contaminants.

    5           Q     Okay.    The Hicksville FUSRAP project

    6    that you worked on, did you do any evaluation of

    7    their radiation safety practices while they were

    8    working with radioactive material at that site?

    9           A     No.

   10           Q     Okay.    What was the radioactive material

   11    that they used at Hicksville?

   12           A     It was uranium.

   13           Q     What was Sylvania's role with respect to

   14    the uranium?     Were they using that doing something

   15    for the government?      Was it a commercial purpose?

   16           A     My understand is -- my understanding is

   17    Sylvania or a predecessor company that -- that

   18    Sylvania ended up owning was preparing radioactive

   19    sources for civilian reactors.

   20           Q     Do you know if the material that was

   21    being used at the Hicksville site was licensed by

   22    any federal agency?

   23           A     Yes, I believe it was licensed by the

   24    AEC.

   25           Q     Did you perform any evaluation of the



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    1    license for that material or their compliance with

    2    the license requirements?

    3            A    We certainly were -- I was aware of --

    4    of that, but that really wasn't a focus of my

    5    work.

    6            Q    Okay.    Did your work involve in any way

    7    evaluating the license and compliance with the

    8    license or the regulations?

    9            A    No, it didn't.

   10            Q    Okay.    You mentioned the Idaho National

   11    Engineering Lab.      What -- what was your project

   12    there?

   13            A    That project was also a project where we

   14    were advising the lab on monitoring techniques,

   15    groundwater and soil moisture monitoring

   16    methodologies.

   17            Q    Was that so that the Idaho National Lab

   18    could go out and then use the information you

   19    provided them in their work out in the field?

   20            A    That's correct.

   21            Q    In other words, the Idaho National Lab

   22    wasn't using on their own property radionuclides

   23    or anything like that?

   24            A    I really don't -- I really couldn't say

   25    whether they were or not.



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    1           Q     All right.     But you were helping the

    2    Idaho National Engineering Lab staff develop

    3    monitoring techniques.

    4           A     That's correct.

    5           Q     You didn't -- you weren't working with

    6    any of the federal regulations related to

    7    radiation safety at that point, fair?

    8           A     Well, we were -- we were looking at

    9    regulations that were related to ensuring

   10    protection of groundwater.

   11           Q     What regulations were you working with

   12    in that capacity?

   13           A     My recollection is those -- those really

   14    would have been CERCLA-like regulations.

   15           Q     Okay.    In other words, EPA regulations.

   16           A     Right.

   17           Q     They were not regulations issued by the

   18    Atomic Energy Commission or the Nuclear Regulatory

   19    Commission, fair?

   20           A     Not to my knowledge.

   21           Q     Okay.    Then you mentioned radon sites

   22    that you've worked on.       I'm assuming that's just

   23    sites where there were indoor levels of radi -- or

   24    radon caused by just natural radon in the soil?

   25           A     Natural radon in the soil and the rocks,



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    1    yes.

    2           Q      Okay.    Then you also mentioned this

    3    Gallagher & Kennedy matter in Santa Clarita.

    4    That's California, correct?

    5           A      Right.

    6           Q      All right.    What's your role in that

    7    project?

    8           A      We were -- so that was a litigation

    9    support project, and we were actually tasked with

   10    developing a cleanup plan.        It's a big site.     It's

   11    almost a thousand-acre site, and it had been

   12    utilized by defense contractors for many, many

   13    years.     And this particular case related to

   14    condemnation proceedings.       But one of the things

   15    that was necessary was to try to understand how

   16    impaired the site was to, as I understand it,

   17    arrive at a fair value for the property.

   18           Q      In the Santa Clarita matter then, were

   19    you working on behalf of the property owner?

   20           A      Yes.

   21           Q      Okay.    On behalf of the property owner,

   22    then did you develop a plan for cleanup that was

   23    less expensive than what the -- the government

   24    entity that was trying to condemn the property

   25    recommended?



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    1           A      In so many words, yes.

    2           Q      Okay.   What was the radioactive material

    3    at issue in Santa Clarita?

    4             A    That was principally depleted uranium.

    5           Q      So it was not licensed material in any

    6    way?

    7             A    To my knowledge, it was not licensed

    8    material.

    9           Q      You certainly didn't evaluate any type

   10    of compliance with AEC or NRC regulations in that

   11    matter; is that fair?

   12           A      No.

   13           Q      No, it's not fair, or, no, you did

   14    not --

   15           A      No -- no, we did not.

   16           Q      Okay.   Is most of your litigation

   17    work -- well, strike that.

   18                  How would you characterize most of your

   19    litigation work?      What types of cases are they?

   20           A      Most of them are cases involving

   21    contamination.

   22           Q      Are they mostly CERCLA cases?

   23           A      I wouldn't say they're mostly CERCLA

   24    cases.

   25           Q      Are they also nuisance cases?



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    1           A     Well, they're -- they're state cases

    2    that I know wouldn't be CERCLA cases.

    3           Q     Okay.    So, in other words, there may be

    4    a state version of CERCLA, correct?

    5           A     That's correct.

    6           Q     All right.     So normally you're involved

    7    in cases where there's some type of contamination,

    8    and the dispute is over who's going to be

    9    responsible for -- well, first, characterizing, is

   10    there enough contamination that needs to be

   11    cleaned up; and then, secondly, who's going to be

   12    financially responsible for cleaning it up.           Is

   13    that fair?

   14           A     That's certainly a big part of -- of my

   15    litigation work.      Another piece of that or -- is

   16    cases that involve contamination where there are

   17    allegations that people have become exposed to it

   18    and -- and what kind of damages -- I'm not a

   19    damages guy -- but, you know, what kind of damages

   20    might have been caused to people or their

   21    property.

   22           Q     Okay.    Looking at your testimony list

   23    that's in your CV, can you tell me which of your

   24    cases that you testified in relate to exposure

   25    cases, meaning where people are claiming some type



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    1    of a health effect from exposure to a contaminant?

    2            A    I'm not sure if I could do that

    3    personally -- I mean, perfectly.

    4            Q    Okay.

    5            A    Because so much of that kind of comes

    6    after the work I do with the fate and transport

    7    analysis.    But I think I could take a crack at

    8    that.

    9                 The third one down, Greenfield MHP --

   10    that actually stands for mobile home park --

   11    that's a case that involves, among other things,

   12    allegations that folks became exposed to

   13    contamination.

   14                 That was the question, right, exposure?

   15            Q    Yes.

   16            A    Yeah.    The next one down is Wyatt,

   17    et al., versus ABB.      That also had a complaint

   18    about people being exposed to contamination.

   19                 Same thing with the next one, Kirk

   20    versus Schaeffler.

   21                 MR. McCLAIN:     An oldie but goodie.

   22                 THE WITNESS:     That's correct.

   23                 Moving down a little bit to the fourth

   24    one from the bottom, 2011, Johnson versus Prime

   25    Tanning, that's one that involved a potential of



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    1    people being exposed to contamination.

    2                 MR. McCLAIN:     Tanning beds or leather?

    3                 THE WITNESS:     Leather tanning.      Let me

    4    see.

    5                 MR. McCLAIN:     You can tell I'm getting

    6    bored.    Let's take a break in a minute.

    7                 MR. ZAGER:     Okay.   Let's just -- let's

    8    finish this, and then we can --

    9                 MR. McCLAIN:     How much longer are we

   10    going on?    Are you going to go through every one

   11    of them?

   12                 MR. ZAGER:     Just -- we're on the second

   13    page.

   14                 MR. McCLAIN:     I know.    I know.

   15                 THE WITNESS:     2010, Acevedo versus

   16    California Spray Chemical Company.

   17                 Let's see.     The DePascale versus

   18    Sylvania was one that involved allegations of

   19    exposure.

   20                 Let's see.     The next one did as well,

   21    that's Clark versus City of Santa Rosa.

   22                 There was another one, Acevedo versus

   23    California Spray.      There are actually two trials

   24    in that one.

   25                 There was a component of exposure in the



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    1    Santa Clarita case that's listed there as 2005.

    2                  And I think that's it.

    3    BY MR. ZAGER:

    4           Q      Okay.   Did any of those cases that you

    5    just identified as exposure cases where you've

    6    given either deposition or trial testimony involve

    7    exposure to radioactive material or radionuclides?

    8             A    Well, the Sylvania case did.

    9           Q      Okay.

   10           A      The Santa Clarita case involved some

   11    radioactive materials, but the whole idea was to

   12    clean that up before the site was redeveloped and

   13    folks might be exposed.

   14                  MR. ZAGER:    All right.    We can take a

   15    break.

   16                  THE VIDEOGRAPHER:     Going off the record.

   17    The time is 9:56 a.m.

   18                  (Recess.)

   19                  THE VIDEOGRAPHER:     Going on the record.

   20    The time is 10:03 a.m.

   21    BY MR. ZAGER:

   22           Q      You mentioned you worked for the Idaho

   23    National Engineering Laboratory developing

   24    monitoring technology or helping them develop

   25    monitoring technology.       Was that for VOCs or was



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    1    that for radioactive materials?

    2           A      That was for VOCs and radioactive

    3    materials, actually.      It was -- it was really

    4    about monitoring soil moisture that could have

    5    been contaminated with anything.

    6           Q      Okay.   Going back to your litigation

    7    work, what percentage of your work is typically on

    8    behalf of plaintiffs as opposed to defendants?

    9           A      That's another thing I don't have

   10    quantitatively in my mind, but we -- I'm more

   11    often -- I'm more often working for plaintiffs'

   12    attorneys, I believe.

   13           Q      Okay.   Is it -- is it also true then in

   14    your exposure cases, which we just identified in

   15    your testimony list, that you more often than not

   16    work for plaintiffs' attorneys?

   17           A      I would say that that's -- I don't work

   18    exclusively for plaintiff attorneys in exposure

   19    cases.     You know, we take cases as they come.        But

   20    in terms of a qualitative assessment, I would say

   21    more often plaintiffs' attorneys.

   22           Q      Of the exposure cases that you

   23    identified on your testimony list, is there any of

   24    those that you can identify specifically where you

   25    were on the defense side?



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    1           A     Let's look.     (Peruses document.)

    2                 Well, one that I would see that would

    3    fall under that category is Santa Clarita.

    4           Q     Okay.    Because you were on the property

    5    owners' side of that case?

    6           A     Correct.

    7           Q     Okay.    Have you had some other cases for

    8    Mr. McClain's law firm?

    9           A     Yes.

   10           Q     How many cases have you had for

   11    Mr. McClain's law firm?

   12           A     I think just one other.

   13           Q     Is that the Schaeffler case that he

   14    mentioned?

   15           A     Correct.

   16           Q     Okay.    Are you currently working with

   17    Mr. McClain's law firm on another case besides

   18    this one?

   19           A     Well, yes, West Lake Landfill.

   20           Q     Okay.    Other than cases where you've

   21    worked on behalf of Mr. McClain's law firm, has

   22    L. Everett & Associates worked on additional cases

   23    with Mr. McClain's law firm?

   24           A     I can't think of any others.

   25           Q     Do you know if your testimony or your



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    1    opinions have ever been challenged under a court

    2    ruling called Daubert?

    3           A     I might not know that.       I -- I know

    4    there was a dispute like that in a state case.

    5           Q     Do you know if -- was your opinions --

    6    strike that.

    7                 Were your opinions limited or excluded

    8    in any way in that state case?

    9           A     I don't believe so.

   10           Q     Do you know what the name of that case

   11    was?

   12           A     Let's see.     That's that 2015 case,

   13    Hawkins.

   14           Q     In your report you refer to 10 CFR -- I

   15    believe it's 20.106, a federal regulation; is that

   16    correct?

   17           A     Correct.

   18           Q     Other than this current case, the Butler

   19    case, have you ever in your career analyzed

   20    compliance with 10 CFR 20.106?

   21           A     No, I don't believe I have.

   22           Q     So this is the first time you've

   23    encountered that regulation, fair?

   24           A     I've encountered that regulation, but

   25    it's the -- it's the first time I've done this



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    1    kind of work relevant to that regulation.

    2           Q     Okay.    In any other cases that were, you

    3    know, litigation or non-litigation projects that

    4    you've worked on, have you ever been called on to

    5    analyze whether or not a company complied with the

    6    federal radiation safety standards?

    7           A     No, I haven't.

    8           Q     What is your understanding of the nature

    9    of this lawsuit?

   10                 For instance, we talked about you work

   11    on CERCLA cases or the state variant of CERCLA.

   12    What is your understanding of what the actual

   13    cause of action is in this case?

   14           A     I may not have a good understanding of

   15    that, but -- but my -- my broad understanding is

   16    that there are plaintiffs who allege that they

   17    have been exposed to contamination from these

   18    sites, SLAPS site and the HISS site, that have

   19    migrated offsite into Coldwater Creek and -- and

   20    into the surrounding soils.

   21           Q     If I were to tell you that the cause of

   22    action in this case is one that sounds under the

   23    Price-Anderson Act, which is a federal law, are

   24    you familiar with the Price-Anderson Act?

   25                 MR. McCLAIN:     Object to the form of the



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    1    question.

    2                 THE WITNESS:     I'm not familiar with

    3    that, no.

    4    BY MR. ZAGER:

    5           Q     Do you know what the standard of care is

    6    that applies in a Price-Anderson Act case?

    7           A     Well, I know what the standard of care

    8    is for the handling of -- of hazardous materials,

    9    but not specifically Price-Anderson.

   10           Q     When you say you know what the standard

   11    of care is for the handling of hazardous

   12    materials, is that specific to radioactive

   13    materials?

   14           A     That includes radioactive materials.

   15           Q     And what -- what do you believe is the

   16    standard of care that would apply to the handling

   17    of hazardous materials, including radioactive

   18    material?

   19           A     Well, there are different standards of

   20    care that -- that might come into play depending

   21    on the type of the site.       But for radioactive

   22    materials, sort of the underlying concept is that

   23    the general public -- exposure to the general

   24    public should be kept as low as reasonably

   25    achievable.



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    1           Q     Are you aware that -- well, strike that.

    2                 That's also known as the ALARA principle

    3    or ALARA factor?

    4           A     That's right.

    5           Q     Okay.    Are you aware that under

    6    Price-Anderson Act cases that the ALARA principle

    7    is not the standard of care?

    8                 MR. McCLAIN:     Object to the form of the

    9    question.

   10                 THE WITNESS:     No, I'm not aware of that.

   11    BY MR. ZAGER:

   12           Q     Okay.    Have you read any of the legal

   13    opinions interpreting the Price-Anderson Act?

   14           A     No.

   15           Q     All right.     Let's talk a little bit now

   16    about your work on this case.

   17                 When were you first retained?

   18           A     I was retained at the very beginning of

   19    March of this year.

   20           Q     So March of 2019?

   21           A     Correct.

   22           Q     Let me go ahead and see the file that

   23    you brought.

   24                 MR. ZAGER:     Ken, do you mind if we just

   25    mark this collectively as a file?



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    1                 MR. McCLAIN:     No, go ahead.     He brought

    2    them for you.

    3                 MR. ZAGER:     I appreciate that.

    4                 (Exhibit No. 3 was marked for

    5                 identification.)

    6    BY MR. ZAGER:

    7           Q     All right.     I'm going to hand you what I

    8    marked as Exhibit 3.      I think we talked about this

    9    a little bit earlier, but just go ahead and tell

   10    us what is contained in Exhibit 3, which you

   11    brought here representing that it was your file.

   12           A     Well, just to clarify, this is materials

   13    in my file that I believed you folks didn't

   14    already have.

   15           Q     Okay.

   16           A     I have copies of each of my reports.          I

   17    have a set of invoices for this case.          And we

   18    already talked about this retention letter that's

   19    dated March 7th.      And I also have a

   20    confidentiality agreement.

   21           Q     Okay.    I believe, at least according to

   22    the -- the copy that -- the unsigned copy of the

   23    contract that's in Exhibit 3, were you retained by

   24    Mr. Soper of Mr. McClain's firm?

   25           A     Correct.



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    1           Q     What were you asked to do in this

    2    particular case?

    3           A     In this particular case, I was asked to

    4    look at the existing or available data about the

    5    St. Louis airport site -- and by "data," I mean

    6    environmental data -- and the Latty Avenue site,

    7    also, you know, called the HISS site, and see if

    8    I could determine concentrations in air and water

    9    of radionuclides, and compare them to the effluent

   10    limitations in the federal code, 10 CFR

   11    Section 20.

   12           Q     Has your scope of work changed at all

   13    since that initial retention back in March of

   14    2019, last six months ago, seven months ago?

   15           A     It's changed a little bit with the --

   16    with the publication of my supplemental expert

   17    report, where I was also asked to evaluate a

   18    couple of things, including standard of care, and

   19    to at least discuss the contaminant fate and

   20    transport pathway of sediments in Coldwater Creek.

   21           Q     Okay.    So between the two reports that

   22    you've written in this case, the first one being

   23    March 31st, 2019, and the second one being

   24    August 1st, 2019, you stated all your opinions

   25    that you intend to offer in this case, at least



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    1    that you have up to this point in time, correct?

    2           A     Up to this time.      I reserve the right to

    3    amend these opinions or offer new ones if

    4    additional information becomes available, but this

    5    is all I expect at this point.

    6           Q     Okay.    As we sit here on October 17th,

    7    2019, is there any additional work that you have

    8    planned?

    9           A     No.

   10           Q     Other than yourself has anybody else

   11    worked directly with you on this matter?

   12           A     I would have to take a peek at the -- at

   13    the invoices, but I -- I do believe that my

   14    colleague, Jorge Matos, has assisted me in

   15    evaluating the historical data.

   16           Q     What is Mr. Matos' background?         Is he a

   17    Ph.D. as well?

   18           A     He's not a Ph.D., but he's a civil

   19    engineer.

   20           Q     Can you hand me the invoices from

   21    Exhibit 3.

   22           A     Yeah.

   23           Q     It looks like you've issued five

   24    invoices in this matter:       April 7th, 2019; May --

   25    I'm sorry, April -- strike that.



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    1                 You've issued five invoices, the first

    2    being March 8, 2019; the second being April 5th,

    3    2019; the third being --

    4                 (Interruption by intercom.)

    5                 MR. ZAGER:     Let's go off the record.

    6                 THE VIDEOGRAPHER:      Going off the record.

    7    The time is 10:17.

    8                 (Pause in the proceedings.)

    9                 THE VIDEOGRAPHER:      Going on the record.

   10    The time is 10:19 a.m.

   11    BY MR. ZAGER:

   12            Q    Okay.    Dr. Wells, according to the

   13    invoices that you just handed me, you've issued --

   14    your firm has issued five invoices for this case;

   15    is that correct?

   16            A    I -- I wouldn't really know, but that

   17    sounds about right.      That's right.

   18            Q    Okay.    It appears that the last one was

   19    issued October 4th, 2019, so about two weeks ago.

   20    Do you know if there's any additional invoices

   21    that have been issued since that time?

   22            A    No, there haven't.

   23            Q    Okay.    I see on your invoices you

   24    charged a communication fee of $0.04.          What is

   25    that?



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    1           A     It's actually 4 percent.

    2           Q     4 percent.

    3           A     Yeah.    That's -- that's a surcharge that

    4    we add to cover the cost of shipping and

    5    photocopying and phone calls, and, you know,

    6    things of that sort so that we don't have to

    7    bother ourselves or our clients with itemizing

    8    those things.

    9           Q     So at least for all of the time that was

   10    billed to this matter up to October 4th, 2019, it

   11    should all be contained in these invoices that I

   12    have in my hand?

   13           A     That's correct.

   14           Q     Okay.    And it appears that you kind of

   15    either generally write that you are working on

   16    your expert report, data analysis and document

   17    review.

   18                 I mean, is that generally the type of

   19    descriptions you use, correct?

   20           A     Correct.

   21           Q     All right.     Mr. Matos assisted you with

   22    reviewing some of the historical documents,

   23    correct?

   24           A     That's correct.

   25           Q     Your rate, according to your expert



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    1    report, is 275 an hour for reviewing data and

    2    preparing the report?

    3           A     That's correct.

    4           Q     All right.     Then you charge $500 for

    5    deposition and trial testimony?

    6           A     Correct.

    7           Q     Okay.    I'm not going to ask you to do

    8    the math, but do you know approximately how many

    9    hours you put into this case?

   10           A     I would throw out a rough estimate of

   11    maybe a hundred hours.

   12           Q     Okay.    That would be you personally?

   13           A     Yes.

   14           Q     Have you met with any of the plaintiffs

   15    in this case?

   16           A     No, I haven't.

   17           Q     Do you know how many plaintiffs there

   18    are in this case?

   19           A     No.

   20           Q     Have you reviewed any of the plaintiffs'

   21    medical records?

   22           A     No.

   23           Q     Have you reviewed any of the plaintiffs'

   24    address histories or any information about their

   25    activities in and around SLAPS, Latty Avenue or



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    1    what they call the vicinity properties?

    2           A     I -- I'm aware of some of that

    3    information, but I -- I haven't focused on it in

    4    any detail.

    5           Q     What information have you seen about the

    6    individual plaintiffs and their address histories

    7    and activities in and around SLAPS and Latty

    8    Avenue?

    9           A     I've seen I think three of Dr. Clark's

   10    reports, and I reviewed those briefly, and I

   11    believe that he discusses that kind of history of

   12    the plaintiffs' activities and, you know,

   13    residences and locations.

   14           Q     What was your purpose for reviewing

   15    Dr. Clark's reports?

   16           A     Really just curiosity.       I mean, this --

   17    this is one of those cases where my work doesn't

   18    directly feed into that of Dr. Clark, at least in

   19    a -- in a big way.      And one of the things I wanted

   20    to do, I spoke with Mr. Soper about this, is I was

   21    interested in understanding how Dr. Clark was

   22    looking at exposure point concentrations.

   23           Q     You didn't perform any type of peer

   24    review of Dr. Clark's report, did you?

   25           A     No, I did not.



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    1           Q      With respect to his methodology for

    2    determining exposure point concentrations, did you

    3    evaluate how he did that work?

    4             A    I came to understand in a broad sense

    5    how he did that work.

    6           Q      Do you have any criticisms of that work?

    7             A    No, I don't.

    8           Q      Okay.   Is it different than what you

    9    normally do?

   10           A      It -- it really follows along the -- the

   11    sort of description I gave earlier, my

   12    understanding of -- of what he's done with regard

   13    to the exposure point concentration.          I mean, he

   14    does a lot more in the toxicology realm that's,

   15    you know, not my area of expertise, so I don't

   16    have any opinions about that.

   17           Q      For -- for evaluating the exposure

   18    concentrations, do you know if he used the average

   19    or the 95 percent upper limit, upper confidence

   20    limit?

   21           A      I -- I believe that he did.       I believe

   22    that he used for different areas of the -- this

   23    impacted area, he used soil and stream water

   24    sediment data, and I believe that he used the

   25    95 percent upper confidence limit as -- as kind



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    1    of a taking off point for exposure point

    2    concentrations.

    3           Q     Do you believe it was appropriate for

    4    him to use the 95 percent upper confidence limit

    5    for evaluating potential exposures?

    6           A     You know, I haven't been asked to look

    7    into that, and I don't specifically have an

    8    opinion.    But the -- the general protocol is that

    9    if there's enough data to accurately estimate the

   10    95 percent UCL, that it's an appropriate measure.

   11           Q     Okay.    Do you believe there's enough

   12    data here to use the 95 percent upper confidence

   13    limit?

   14           A     I -- I really haven't made that

   15    evaluation, but I think it's very likely that

   16    there is.

   17           Q     Okay.    Have you performed any of your

   18    own testing in this case?

   19           A     No, I haven't.

   20           Q     You mentioned that you looked at

   21    historical information and you talked about

   22    technical reports that you believed was exchanged

   23    in discovery in this case.        Explain to me how you

   24    were given access to those materials.

   25           A     Some of them I secured myself from



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    1    various government websites.        And then I was given

    2    access to Humphrey Farrington's online document

    3    database for this case.       So others I reviewed

    4    and/or downloaded from there.

    5           Q     Let's talk first about the -- the

    6    government websites that you went to.          Can you

    7    identify what those websites are?

    8           A     The Army Corps of Engineers has a

    9    website for FUSRAP sites.       And then this area is

   10    also designated a Superfund site, and EPA has some

   11    documents online as well.

   12           Q     Did you do any research regarding these

   13    sites on the Nuclear Regulatory Commission's

   14    website or any of the historical documents that

   15    are available from the AEC?

   16           A     No, I didn't.

   17           Q     Okay.    The documents that you had access

   18    to through the Humphrey Farrington McClain

   19    website, those were online, some type of online

   20    document review program?

   21           A     Correct.

   22           Q     How many documents were housed on that?

   23           A     I -- I really have no idea.

   24           Q     Can you give me an estimate or an order

   25    of magnitude how many documents there were?



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    1           A     You know, I -- I'm just kind of an

    2    informal user of that -- of that document

    3    database.    I would go on and search for a document

    4    that -- that I knew about that I wanted to find.

    5    So I really don't know how many documents are on

    6    that database.

    7           Q     You said that you would search for a

    8    document that you knew was out there.          How would

    9    you know that it was out there?

   10           A     When -- when somebody like me is getting

   11    up to speed on a case, usually you start with a

   12    couple documents, typically they're more recent

   13    documents, and they make citations and references

   14    to other documents, and it kind of snowballs from

   15    there.

   16           Q     So you would look at, for instance, a

   17    FUSRAP document that would talk about a historical

   18    document, and then you would go to the Humphrey

   19    Farrington McClain online database and you would

   20    pull the document that you were looking for.

   21           A     That's correct.      Or -- or the FUSRAP

   22    site if -- if it was available.

   23           Q     Other than the documents that you went

   24    to the Humphrey Farrington McClain database and

   25    pulled down because you knew they existed, was



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    1    there any other documents that you looked at on

    2    that database?

    3           A     No.   It's -- the interface is such

    4    that -- that you have to do a search before a

    5    document is served up to you.

    6           Q     Did you do just word searches as opposed

    7    to something where you were specifically going to

    8    pull the document of -- of concern?

    9           A     Not -- I don't recall ever doing that.

   10    I would -- I would usually do a search for a

   11    document title or an author or a date, or some

   12    combination thereof.

   13           Q     So you -- your search parameters were

   14    typically a document title, a date or an author,

   15    or some combination of those.

   16           A     That's correct.

   17           Q     Okay.    Was there any limit placed on the

   18    amount of time that you could spend looking at

   19    these documents?

   20           A     No.

   21           Q     Other than the government websites that

   22    we talked about related to the FUSRAP and EPA, and

   23    the documents that you pulled down that you were

   24    looking for from the Humphrey Farrington McClain

   25    database, is there any other documents that you've



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    1    looked at in this case?

    2                 MR. McCLAIN:     Object to the form of the

    3    question.    It's overly broad.

    4                 THE WITNESS:     There's a little bit of

    5    overlap in the documents for this case compared to

    6    the documents for the West Lake Landfill case.

    7    Not a lot, but I -- I just want to throw that out

    8    there as a possible exception to the parameters

    9    you just specified.

   10    BY MR. ZAGER:

   11           Q     Okay.    Can you identify specifically the

   12    documents that you thought were overlap?

   13           A     Well, there -- there are some documents

   14    that describe the transfer of leached barium

   15    sulfate waste from the Latty Avenue site to the

   16    West Lake Landfill that, just as I sit here, I

   17    think I probably already had because of my work on

   18    the West Lake Landfill.

   19           Q     Okay.    Taking out the government

   20    websites that you went to, did you go to any

   21    government warehouses where documents are stored

   22    such as the national -- National Archives or

   23    anything like that?

   24           A     You mean physically go to those places,

   25    no.



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    1           Q     Did you go to any electronic database

    2    for the National Archives to pull down documents?

    3           A     No.

    4           Q     You have a line in your report that you

    5    refer to or that you've used that you relied upon

    6    reference texts commonly accepted and held

    7    reliable by experts in the field of environmental

    8    science, hydrogeology, and contaminant fate and

    9    transport, as well as generally accepted

   10    principles in those fields.

   11                 You didn't bring any texts with you

   12    today; is that correct?

   13           A     That's correct, I didn't.

   14           Q     What texts are you referring to in the

   15    report that fall into that category, if any?

   16           A     You know, as I sit here today, I'm not

   17    sure I cited any -- any academic texts.          What I'm

   18    really referring to there is that my knowledge of

   19    contaminant fate and transport is informed in part

   20    by my reading of academic texts.

   21                 But I think -- I think you might be

   22    right, as I -- as I sit here and think about it,

   23    I'm not sure that I cited a specific, for example,

   24    textbook.

   25           Q     Is it fair to say if you relied on a



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    1    document or some material for forming your

    2    opinions in this case, they would be cited in the

    3    footnotes either in your March 31st, 2019, report

    4    or in your August 1st, 2019, report?

    5           A     Other than the reliance that comes with,

    6    you know, background knowledge of an entire

    7    career, that's what I intended to do was to cite

    8    the documents that were contributing to the basis

    9    of my opinions.

   10           Q     As part of your work on this case, did

   11    you look at any treatises or what you consider

   12    reliable materials regarding the standard of care

   13    applicable to an operator of a radiation waste

   14    site back in the 1950s and 1960s?

   15           A     Other than the federal code itself, no.

   16           Q     Did you look at any reliable authorities

   17    related to federal radiation protection standards?

   18           A     No.

   19           Q     Have you ever seen the actual complaint

   20    that was filed in this case?

   21           A     No, I don't believe I have.

   22           Q     Did you review any depositions that have

   23    been given in this case or in any related cases?

   24           A     I'm just pausing because I want to take

   25    a quick look at my supplemental report.



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    1                 MR. McCLAIN:     Is it getting warm in

    2    here?

    3                 (A discussion was held off the record.)

    4                 THE WITNESS:     (Peruses document.)

    5                 No, I didn't -- didn't review any

    6    depositions.

    7    BY MR. ZAGER:

    8            Q    Okay.    You told me earlier that you

    9    reviewed three of Dr. Clark's reports, correct?

   10            A    Correct.

   11            Q    So it's your understanding he wrote a

   12    separate report for each plaintiff in this case?

   13            A    That's my understanding.

   14            Q    Have you spoken to Dr. Clark about this

   15    matter?

   16            A    I have spoken with Dr. Clark.

   17            Q    When did you talk with Dr. Clark?

   18            A    That would have been early on in my

   19    retention, so it -- I would have spoken with

   20    Dr. Clark in -- sometime in March.

   21            Q    What was the substance or the purpose of

   22    talking with Dr. Clark?

   23            A    Well, really, I was trying to make sure

   24    I understood the scope of my assignment.          And one

   25    way to do that is to speak with the other experts



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    1    and find out what they're doing.

    2            Q       Okay.   Based on your conversation with

    3    Mr. Clark, what did you understand your sign --

    4    your assignment to be?

    5            A       Well, I think we already talked about

    6    that.       At first, I understood my assignment to be

    7    to evaluate the available data about environmental

    8    conditions at the site and the concentrations of

    9    contaminants and different environmental media to

   10    see if I could estimate fence line concentrations

   11    in air and water, and compare those against the

   12    effluent limitations that are published in

   13    Section 20 of 10 CFR.

   14            Q       Okay.   Have you only spoken to Mr. Clark

   15    the one -- I'm sorry, Dr. Clark the one time?

   16            A       I've spoken to Dr. Clark other times but

   17    on other matters.

   18            Q       Okay.   When you spoke to Dr. Clark about

   19    this case, did he appear to know what he was

   20    talking about?

   21            A       Well, he had been involved in this case

   22    long before I did.       So, yeah, he definitely seemed

   23    like he knew what he was talking about.

   24            Q       Okay.   Have you spoken with Dr. Hu?

   25            A       No.



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    1            Q    Do you know who Dr. Hu is?

    2            A     No, I don't.

    3            Q    Have you -- I'm sure I know the answer

    4    to this then, but have you reviewed any of

    5    Dr. Hu's reports?

    6            A     No.

    7            Q    Okay.    So you spoke to Dr. Clark, and

    8    you've looked at three of his reports.

    9                 Have you seen or spoken to any other

   10    expert on behalf of the plaintiffs in this case?

   11            A    No.

   12            Q    Looking at your report, it appears that

   13    at some point in time you had a copy of RAC or

   14    RAC's report from -- for this matter; is that

   15    fair?

   16            A    That's correct.

   17            Q    Did you have the complete report or just

   18    sections of it?

   19            A    I had the complete report, although I

   20    will say my copy didn't include all the

   21    appendices.

   22            Q    Did you read through the entire report?

   23            A    I didn't read every word.        It's a pretty

   24    lengthy report, but I -- I read -- I scanned

   25    through the entire report and read certain parts



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    1    more carefully.

    2           Q     Do you have any criticism of any of

    3    what -- what you read in the RAC report?

    4           A     Well, that could go on a while.         You

    5    know, I wasn't asked to do that.         I wasn't asked

    6    to try to, you know, prepare a rebuttal report.

    7                 As you know from -- from my reports,

    8    I -- I actually use some of the work in Dr. Till's

    9    report, the RAC report.       I don't agree with every

   10    single thing that's in that report, but for my

   11    purposes, I found that some of his work was

   12    sufficient and -- and adequate for my purposes.

   13           Q     Can you identify anything specific that

   14    you disagree with from Dr. Till or the RAC report?

   15           A     Well, once again, I -- you know, I

   16    haven't been asked to come up with an exhaustive

   17    list, and that -- that might take a while to leaf

   18    through all those pages.

   19                 But one thing that comes to mind, which

   20    I don't necessarily agree with, is Dr. Till's

   21    assignment of grain size distribution of waste

   22    that had been stored at the SLAPS side and the

   23    Latty Avenue site.

   24           Q     What specifically do you disagree with

   25    about their opinions regarding grain size



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    1    distribution?

    2           A     Well, I'll acknowledge he -- he says it

    3    right in his report, and I'll -- I'll acknowledge

    4    that he wasn't able to find any contemporaneous

    5    physical measurements of the grain size

    6    distribution of the waste.        And I looked and I

    7    wasn't able to find any either.

    8                 And so what he does, if I can paraphrase

    9    I think correctly, is his team went out and found

   10    some data from uranium mine tailings and expressed

   11    the opinion that that was a comparable material

   12    that could be used as a proxy for the grain size

   13    distribution.     And grain size distribution is

   14    important because it's a big parameter in the

   15    modeling of dust basically.

   16                 What he ended up with was a material

   17    that was predominantly sand size grains, which is

   18    pretty coarse material.       And I think I might have

   19    had some information that perhaps Dr. Till didn't

   20    have, because through my work at West Lake

   21    Landfill, I actually had a little bit of

   22    information about the lithologic characteristics

   23    of -- of at least that waste that ended up in the

   24    landfill, and it was described as silt and silty

   25    sand, which would be finer grained in general than



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    1    the grain size distribution that was employed by

    2    Dr. Till.

    3                 So I agree that there's some uncertainty

    4    with that set of values, but my general opinion is

    5    that he might have used values that were skewed

    6    toward the coarser grained and, therefore, less

    7    mobile side.

    8           Q     Okay.    With respect to your reports in

    9    this particular case, the Butler matter, did any

   10    of your work involve characterizing or the need to

   11    characterize the grain size distribution?

   12           A     Well, indirectly it does.        Yeah.

   13           Q     Explain to me how.

   14           A     Okay.    The -- the concentration of

   15    particulates in air at the fence line depends on a

   16    bunch of things, but one of the things it depends

   17    on is the grain size distribution of the source

   18    material.

   19           Q     Was that a particular parameter that you

   20    inputted to your calculations that are stated in

   21    your report?

   22           A     I used the results of calculations that

   23    Dr. Till employed, so I actually used his grain

   24    size --

   25           Q     Okay.



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    1           A     -- distribution.

    2           Q     The material -- well, strike that.

    3                 The information you had from the West

    4    Lake Landfill that you believe characterized the

    5    material more on the order of silt and sand, what

    6    documents were those?

    7           A     Those are the -- the site investigation

    8    reports.    There are actually a couple of them.

    9    But they include lithologic logs that -- you know,

   10    there's drilling that was done into the landfill,

   11    and then there are lithologic descriptions of the

   12    various layers that are encountered.

   13           Q     Who's the author of those?        Is that the

   14    EPA or is that some other entity?

   15           A     The author of those reports -- I mean,

   16    they're summarized in EPA documents, but the

   17    author of those reports were the potentially

   18    responsible parties' consultants.         I think EMS is

   19    the principal author of those reports.

   20           Q     You said that they were -- they were

   21    actually doing core drillings out there and

   22    pulling the material up, correct?

   23           A     Correct.

   24           Q     But you believed that what they

   25    characterized as silty, sandy size material was



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    1    actually material that had -- had come from Latty

    2    Avenue?

    3             A    Yeah, because they -- they had described

    4    -- they were able to differentiate a lot of the --

    5    the layers of RIM, radiologically impacted

    6    materials.     It had different characteristics than

    7    the waste, than the conventional municipal waste.

    8           Q      The materials that were stored at SLAPS

    9    had various names or number -- kind of

   10    alphanumeric designations.

   11                  The material that was silt and sand, do

   12    you know what type of material that was supposed

   13    to be based on its alphanumeric designation?

   14           A      From the West Lake Landfill?

   15           Q      Yeah.

   16           A      Well, that's the leached barium sulfate

   17    waste.

   18           Q      Okay.   But you -- as you sit here, you

   19    don't know the alphanumeric designation for that?

   20           A      No, I don't.

   21           Q      Other than this grain size distribution

   22    issue we just talked about, was there anything

   23    else that you recall disagreeing with when you

   24    reviewed the RAC report?

   25           A      Well, once again, that really wasn't my



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    1    purpose.     If I were asked to do that, I could -- I

    2    could, you know, study it with that purpose in

    3    mind.

    4                  But that was -- for my purposes, there's

    5    a lot in that report such as dosage

    6    reconstructions.      That's, you know, out -- out of

    7    my wheelhouse.     So I can't speak to that at all.

    8                  But for the purposes that I had here,

    9    the grain size issue was I think the -- the

   10    dominant issue that I had identified.

   11            Q     Okay.   Earlier we were talking about how

   12    you would go about looking at the documents on the

   13    database, and you mentioned that Mr. Matos helped

   14    you out, correct?

   15            A     Correct.

   16            Q     What was the source of the documents

   17    that Mr. Matos looked at?       Were they just on

   18    the -- the law firm's database or did he look at

   19    other documents?

   20            A     Well, our -- our system is that we

   21    maintain electronic project files on our own

   22    server.     So he didn't have access to the law

   23    firm's database.      He would have been reviewing

   24    documents that I had already deposited into our

   25    own server.



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    1           Q     So you would go to the law firm's

    2    database, pull down a document that you were

    3    looking for, put it on some type of an internal

    4    server, and then Mr. Matos may review that to help

    5    you out?

    6           A     Correct, although I may very well have

    7    downloaded that document from other places that we

    8    talked about earlier, but that's generally the way

    9    it went.

   10           Q     The documents on the internal server

   11    then either could be the government documents that

   12    you pulled from government websites or documents

   13    you pulled from the law firm's database.

   14           A     Correct.

   15           Q     Okay.    Did Mr. Matos create any type of

   16    work product in this case?

   17           A     No.

   18                 MR. McCLAIN:     Object to the form of the

   19    question.

   20    BY MR. ZAGER:

   21           Q     Did you go to any of the sites in this

   22    particular case?

   23           A     I have not.

   24           Q     Did plaintiffs' counsel ask you to make

   25    any assumptions or to assume any facts to be true,



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    1    any particular facts?

    2           A     No, uh-uh, there's -- there's nothing

    3    like that.    I mean, in -- in our work we generally

    4    assume that the technical data that we have

    5    available to us is accurate.        But there were no

    6    special instructions from counsel.

    7           Q     Okay.    We've already talked about how

    8    you spoke with Mr. -- or, I'm sorry, Dr. Clark on

    9    one occasion specifically related to this matter.

   10                 Did you contact anybody else, anybody in

   11    any government agencies, any colleagues that you

   12    rely on, anything like that?

   13           A     Other than Mr. Matos, that's it.

   14           Q     Do you know who Dr. John Frazier is?

   15           A     No, I don't.

   16           Q     You didn't review any reports or

   17    deposition testimony of Dr. Frazier?

   18           A     I don't think so.

   19           Q     Other than just reviewing your reports,

   20    did you do anything else to get ready for the

   21    deposition today?

   22           A     I did review some of the documents that

   23    I cited in the reports.

   24           Q     Which documents did you review that you

   25    cited in your reports in preparation for the depo



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    1    today?

    2             A    The documents that I've reviewed -- what

    3    you're really asking is just in the last couple of

    4    days?

    5             Q    Yeah --

    6             A    I did review parts of the RAC report.

    7    That's Dr. Till's report.       And I reviewed the set

    8    of EPA memos that aren't specifically about

    9    this -- this case, but they're from 1997 to about

   10    2000 that talk about determining cleanup standards

   11    for CERCLA sites that contain radioactive

   12    contamination.

   13             Q    Why did you look at those documents?

   14             A    I looked at those documents to -- to

   15    just make sure I was fresh on kind of the

   16    evolution of cleanup standards.

   17             Q    Are you familiar with the ICRP?        Do you

   18    know what that is?

   19             A    Yes, I am.

   20             Q    What's the ICRP?

   21             A    I'm sorry, I -- I can't think of the

   22    acronym.

   23             Q    Okay.   Do you -- can you generally

   24    explain to me what you think their role is or what

   25    type of organization it is.



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    1           A      It's an international organization about

    2    radiation safety.

    3           Q      As part of your work on this case, did

    4    you look at any ICRP reports or documents?

    5             A    No.

    6           Q      Okay.    And it's the International

    7    Commission on Radiation Protection.

    8                  There's also a group called the NCRP,

    9    the National Commission on Radiation Protection.

   10    Did you look at any of their materials?

   11           A      No, I didn't.

   12                  MR. ZAGER:    We'll take another quick

   13    restroom break.       This is a decent transition

   14    point.

   15                  THE VIDEOGRAPHER:     Going off the record.

   16    The time is 10:52 a.m.

   17                  (Recess.)

   18                  THE VIDEOGRAPHER:     Going on the record.

   19    The time is 11:00.

   20    BY MR. ZAGER:

   21           Q      All right, Dr. Wells, you've looked at a

   22    lot of materials, both discovery materials as well

   23    as documents, that you identified on government

   24    websites, correct?

   25           A      I -- I'm just pausing because I'm not



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    1    sure I understand what the distinction is.           I'm

    2    not sure what discovery materials exactly means.

    3            Q    Fair.    Sure.

    4                 Earlier when we were talking about

    5    documents that you reviewed, you called them

    6    technical documents or historical documents, and I

    7    asked you if those were documents that you

    8    understood had been exchanged between the parties

    9    in discovery in this case, correct?

   10            A    I see, yes.

   11            Q    Okay.    Essentially they would be the

   12    documents that you had access to from the -- the

   13    law firm's database.

   14            A    I understand.

   15            Q    Okay.    And this is really just kind of a

   16    general background question.

   17                 You looked at thousands of pages of

   18    documents from the government websites.          Is that

   19    fair?

   20            A    That's probably fair, yes.

   21            Q    You looked at numerous pages of

   22    documents that you pulled down, specific documents

   23    you were looking for from the law firm's website,

   24    correct?

   25            A    Correct.



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    1           Q     All right.     So you have a general

    2    understanding of, you know, the locations that

    3    we're going to be talking about and other issues

    4    in the case.     Is that fair?

    5           A      That's correct.

    6           Q     Certainly to get up to speed in this

    7    case, you had to look at background materials.

    8           A      Right.

    9           Q     Would you agree with me that the

   10    radioactive material that was both processed by

   11    Mallinckrodt at its downtown site as well as the

   12    material that was ultimately stored at SLAPS

   13    before being sold and transported elsewhere was

   14    all owned by the United States government?

   15           A     I don't have an opinion about ownership.

   16           Q     And just to be clear, I'm not asking for

   17    an opinion.     This is really just to get an

   18    understanding of the factual background.

   19                 Do you know who owned that material?

   20           A     No, I don't know who owned the material.

   21           Q     Have you seen any document in all of

   22    those documents that you've seen that suggested

   23    that Mallinckrodt owned that material, whether it

   24    was the material that they used to process at the

   25    downtown site or the material that they -- or



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    1    strike that.     Strike that.

    2                 Have you seen any documents showing that

    3    Mallinckrodt owned the material that was either

    4    processed at the St. Louis downtown site or that

    5    was ultimately warehoused at the SLAPS site?

    6           A     I am aware that -- that the ownership

    7    question might be complicated.        For example, I

    8    recall reading that -- that for at least some of

    9    these materials, the uranium remained the property

   10    of the -- the U.S. government.        I -- I really just

   11    don't know about the ownership of the material as

   12    a whole.

   13           Q     That's a fair point.       My question is a

   14    little bit different, though.

   15                 With respect to Mallinckrodt

   16    specifically, have you seen any document that

   17    suggests that Mallinckrodt owned the material that

   18    was either processed at the St. Louis downtown

   19    site or that was warehoused at SLAPS?

   20           A     I haven't seen any documents like that.

   21           Q     Okay.    When I use the term "SLAPS," do

   22    you understand what that is?

   23           A     Yes, I do.

   24           Q     And what is SLAPS?

   25           A     That's the St. Louis Airport Site.



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    1           Q     Okay.    You would agree with me that

    2    Mallinckrodt never owned the St. Louis Airport

    3    Site or SLAPS.

    4           A     I -- I understand that Mallinckrodt

    5    operated the site for a while, but I -- I don't

    6    believe they ever owned it.

    7           Q     Okay.    What is your understanding about

    8    the relationship between Mallinckrodt and the

    9    United States government with respect to this

   10    material and the site that we're going to be

   11    talking about, SLAPS?

   12           A     Can you clarify that?       Because that --

   13    that seems like kind of a broad question.           I'm not

   14    sure I understand it.

   15           Q     Sure.    You understand that Mallinckrodt

   16    is not a federal agency, correct?

   17           A     Correct.

   18           Q     In other words, it's not a branch of the

   19    Atomic Energy Commission -- or it wasn't a branch

   20    of the Atomic Energy Commission.

   21           A     No, my understanding is it's a private

   22    company.

   23           Q     Okay.    Do you have an understanding as

   24    to what the relationship was between Mallinckrodt

   25    Chemical Works, the private company, and the



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    1    United States government for this material, and

    2    SLAPS specifically?

    3             A    I'm not an expert on -- on the ownership

    4    or -- or relationship there, but my understanding

    5    is that Mallinckrodt was working on behalf of the

    6    U.S. government.

    7           Q      Okay.   I'll represent to you that

    8    Mallinckrodt was a government contractor.           Have

    9    you looked at any of the contracts between

   10    Mallinckrodt and the United States government

   11    relative to either the material or SLAPS?

   12           A      No, I haven't.

   13           Q      Do you know when the U.S. government

   14    first obtained the right to use SLAPS or -- or

   15    operate SLAPS?

   16           A      I -- it was approximately in 1948, I

   17    think.

   18           Q      Okay.   If I told you it was actually

   19    1946 --

   20           A      Oh.

   21           Q      -- would you have any reason to disagree

   22    with that?

   23           A      I have no reason to disagree.

   24           Q      Okay.   Were you aware that in 1947 the

   25    U.S. government actually obtained title, meaning



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    1    ownership, of the SLAPS property?

    2             A    I wouldn't have known the exact date,

    3    but I understand that they did obtain title.

    4           Q      Okay.   Do you know if at any point in

    5    time the United States government sold the

    6    property or divested its interest in the property?

    7                  And by "property," I'm talking about

    8    SLAPS.

    9             A    I know that there was -- there was talk

   10    about returning the property to the city, but I

   11    don't understand that that ever happened.           So I --

   12    I don't really have any information about -- about

   13    whether they transferred the property.

   14             Q    Okay.   Do you know what ultimately

   15    happened with respect to the government's

   16    ownership interest in the material that was stored

   17    at SLAPS?     In other words, do they -- do they

   18    still have it?     Did they sell it?      What happened

   19    to that material?

   20             A    Well, I know what happened to the

   21    material, but I -- I don't have knowledge about

   22    the specific ownership status.

   23                  (Exhibit No. 4 was marked for

   24                  identification.)

   25    BY MR. ZAGER:



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    1           Q     I'm going to hand you what I marked as

    2    Exhibit 4.

    3                 Go ahead and take a look at that, and

    4    tell me if you recognize that document.

    5           A     (Peruses document.)

    6                 I don't believe I've reviewed this

    7    document before.

    8           Q     Okay.    Let's go ahead and take a look at

    9    the third page of Exhibit 4.        This is a letter

   10    from Mr. Belcher at the U.S. Atomic Energy

   11    Commission; is that correct?

   12           A     It appears to be, yes.

   13           Q     And he's writing it to somebody at

   14    Continental Mining and Milling Company?

   15           A     Right.

   16           Q     Okay.    And if we go down in the body of

   17    it, he's talking about the sale -- I'm sorry --

   18    basically a contract modification to a sale of the

   19    property.

   20                 Is that your understanding?

   21           A     Well, so this is a fairly lengthy

   22    document, and I haven't --

   23           Q     I understand.

   24           A     -- seen this before.

   25                 I don't think this is about a sale of



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    1    the property.     I think this is a sale of the

    2    material.

    3           Q     Thank you.     You're actually right.      If I

    4    said "property," I misspoke.        I meant material.

    5                 Let's go to -- and it's actually a

    6    little bit in reverse order.        Let's go to the next

    7    page entitled "Supplement to Bill of Sale."

    8                 Do you see that document?

    9           A     I do.

   10           Q     Okay.    And you would agree with me just

   11    by looking at the "whereas" clause at the top that

   12    this is a supplement to a bill of sale between the

   13    United States of America, acting through the

   14    United States Atomic Energy Commission, and

   15    conveying property to Continental Mining and

   16    Milling Company.

   17           A     I'm not an expert on contracts, but

   18    that's what the words say.

   19           Q     Okay.    If you go down to the -- the

   20    third paragraph where it says, "Now, therefore."

   21    Do you see that?

   22           A     Yes, I do.

   23           Q     Okay.    Starting after the -- the amount

   24    of money, it says:      "The government hereby

   25    bargains, sells and conveys to the purchaser



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    1    approximately 3500 tons of C-liner slag stored on

    2    the east end of a government-owned site located at

    3    50 Round Road, Robinson, Missouri, as shown," and

    4    it references a document.

    5                  Did I read that correctly?

    6             A    Yes.

    7           Q      Okay.   That's consistent with your

    8    understanding that SLAPS was owned by the -- the

    9    federal government, correct?

   10           A      That the property was owned by the

   11    federal government.      Yes.

   12           Q      All right.    And according to this, the

   13    C-liner slag that's being sold, is that some of

   14    the material that is at issue in this case?

   15           A      Yes.

   16           Q      There's no mention of Mallinckrodt in --

   17    regarding the sale between the U.S. government and

   18    Continental Mining and Milling that you see, is

   19    there?

   20           A      Well, once again, this is a lengthy

   21    document that I haven't read, but on -- on the

   22    page we're looking at, I don't see any mention.

   23           Q      Okay.   Let's go -- they don't have page

   24    numbers -- it's about halfway in, it says "Bill of

   25    Sale" at the top.      Do you see that?



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    1           A     I'm not there yet.

    2           Q     Okay.

    3           A      Just give me a second.

    4           Q     I'll hold it up so you can see it.

    5           A      Okay.   Yes, I'm with you.

    6           Q     This --

    7                 MR. McCLAIN:     All he's doing now is

    8    reading documents that you're handing him for the

    9    first time.     I object to this procedure.       It's not

   10    part of his report or it's not --

   11                 MR. ZAGER:     Okay.

   12                 MR. McCLAIN:     -- part of the opinion

   13    that he's offering in this case.

   14                 MR. ZAGER:     Okay.

   15                 MR. McCLAIN:     You can make this in your

   16    motion, whatever it's going to be, based on these

   17    documents without his input because he doesn't

   18    really have any.

   19                 MR. ZAGER:     Understood.

   20    BY MR. ZAGER:

   21           Q     Under the bill -- this particular bill

   22    of sale is again between the United States of

   23    America, by and through the United States Atomic

   24    Energy Commission, and the purchaser then is

   25    Continental Mining and Milling; is that correct?



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    1           A     Well, once again, I'm -- you know, I'm a

    2    geologist.    I'm not an expert on contracts.         But

    3    that's what the words say.

    4           Q     Okay.    Then down below we see a

    5    description of material and the approximate

    6    quantities.     Do you see that?

    7           A      I do.

    8           Q     Okay.    Again, you've looked at documents

    9    referencing what materials were at SLAPS, correct?

   10           A     Correct.

   11           Q     Does this appear to be the type of

   12    material that was at SLAPS, and the quantity

   13    specifically?

   14                 MR. McCLAIN:     Object to -- well, how

   15    would he know that?      I mean, what -- what is it

   16    that you want him to do, that you're asking his

   17    expertise to read this document to you that's in

   18    English?

   19                 MR. ZAGER:     Okay.

   20                 MR. McCLAIN:     I don't understand this

   21    process, and it's wasting what I thought was --

   22    you wanted to know his opinions, and all you're

   23    doing is having him read documents that are not

   24    part of his opinion.

   25                 MR. ZAGER:     Well --



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    1                 MR. McCLAIN:     And it's not --

    2                 MR. ZAGER:     Counsel, you can object to

    3    the form, but I --

    4                 MR. McCLAIN:     I do.

    5                 MR. ZAGER:     I will ask my questions, and

    6    we will see where it goes.

    7    BY MR. ZAGER:

    8           Q     Go ahead, you can answer.

    9           A     I'm sorry, can you repeat the question

   10    again?

   11           Q     Sure.    I'm just saying looking at that

   12    description of the property, does that appear to

   13    be the same radioactive material that was stored

   14    at SLAPS and then ultimately transferred away from

   15    SLAPS?

   16           A     I'll say not quite, because I know that

   17    there were material that was stored at SLAPS that

   18    was transported to other places.         But this appears

   19    to be the list of materials that were transported

   20    to the Latty Avenue site.

   21           Q     Okay.    So, in other words, if we look at

   22    that 1966 time frame and the materials that would

   23    have been at SLAPS, this is consistent with the

   24    type of material that was moved from SLAPS to

   25    Latty Avenue, correct?



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    1           A     That's my understanding of the nature of

    2    the material that was moved from the one site to

    3    the other.

    4           Q     Okay.    Where we started was I asked you

    5    if you knew of -- or if you had seen any documents

    6    that suggested that Mallinckrodt owned the

    7    material that was stored at SLAPS.

    8                 Do you recall that question?

    9           A     Yes.

   10                 MR. McCLAIN:     Object to the form of the

   11    question.

   12    BY MR. ZAGER:

   13           Q     Okay.    Based on what we just looked at,

   14    and I understand it's -- it's a multipage document

   15    you're seeing it for the first time -- this would

   16    at least be consistent with the U.S. government

   17    owning the property because it's actually the one

   18    that sold it, fair?

   19                 MR. McCLAIN:     Object to the form of the

   20    question.    I don't know that --

   21    BY MR. ZAGER:

   22           Q     You can go ahead.

   23                 MR. McCLAIN:     I don't think it's

   24    appropriate for you to be offering an opinion on

   25    something you've just seen.        If you feel



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    1    comfortable offering an opinion about it, go

    2    ahead, but I -- I don't know what this procedure

    3    is that we're employing here.

    4                 MR. ZAGER:     Counsel, object to the form.

    5    Your witness can answer.       He's an expert.

    6                 MR. McCLAIN:     I haven't objected to the

    7    form, but I -- no, he's not an expert on contracts

    8    and who owns what.      That's not what he's employed

    9    for.

   10    BY MR. ZAGER:

   11           Q     Go ahead, you can answer the question.

   12           A     Well, first of all, I'll, I think,

   13    correct you again, because you asked me about the

   14    property, and -- and this isn't about land.

   15           Q     Right.

   16           A     But, you know, I've -- kind of a broken

   17    record, but I'm not an expert on contracts.           I

   18    don't have an opinion about ownership of -- of

   19    material, per se.      So I -- I really can't make an

   20    opinion about the meaning of this document.

   21           Q     Okay.    So it's your testimony you're --

   22    you're not an expert on contracts, fair?

   23           A     Fair.

   24           Q     You're not offering any opinions

   25    regarding ownership of the material, fair?



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    1            A    Correct.

    2            Q    Okay.    Let's go ahead and take a look at

    3    Exhibit 2, which is your report.         And specifically

    4    on page 21, you have a footnote 45.

    5                 Do you see that?

    6            A    I do see that.

    7            Q    Okay.    You write in your footnote 45:

    8    "I understand that Mallinckrodt did not officially

    9    operate SLAPS until 1953, but it was always

   10    Mallinckrodt's waste being stored at the site,

   11    being transported directly from Mallinckrodt's

   12    downtown facility."

   13                 Did I read that correctly?

   14            A    You did.

   15            Q    Okay.    You would agree with me that you

   16    don't have any basis to say that Mallinckrodt

   17    owned this material, so it wasn't their waste,

   18    fair?

   19                 MR. McCLAIN:     Object to the form of the

   20    question.

   21                 THE WITNESS:     What I mean by this

   22    statement is that the -- that the waste is -- was

   23    originated from Mallinckrodt's operation downtown.

   24    That's what I mean by that statement.

   25    BY MR. ZAGER:



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    1           Q     Can you identify for me any federal law

    2    that would make Mallinckrodt responsible for

    3    government-owned waste that was being stored at a

    4    government-owned and operated facility, even when

    5    it was not under contract, meaning Mallinckrodt

    6    was not under contract, to operate the SLAPS site?

    7                 MR. McCLAIN:     Objection.    There's four

    8    legal questions involved in answering that

    9    question.    He is not a legal expert, and so he's

   10    not offering an opinion --

   11                 MR. ZAGER:     He's offering legal

   12    opinions.

   13                 MR. McCLAIN:     It's not a legal opinion.

   14    It's a -- it's -- he's told you what that

   15    statement is based -- based upon.         It's not a

   16    legal conclusion that he's reached, but, rather, a

   17    common sense conclusion.       You and I will fight

   18    about what the legalities are.

   19                 MR. ZAGER:     Right.

   20                 MR. McCLAIN:     Okay.   He's not -- he's

   21    not going to be offering any opinions to support

   22    that -- that point of view.

   23                 MR. ZAGER:     Okay.    Nevertheless, I'm

   24    going to ask my question and establish my record.

   25    Please contain it to objection of form so we can



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    1    all get done with this.

    2    BY MR. ZAGER:

    3           Q     Can you identify any federal law that

    4    would make Mallinckrodt responsible for

    5    government-owned waste at a government-owned site

    6    that Mallinckrodt was not under contract to

    7    manage?

    8           A     It's not my intention to offer a legal

    9    opinion.    I'm -- I'm a geologist, not a lawyer.

   10                 It is my understanding that not only

   11    owners but also operators of facilities can have

   12    responsibility for environmental issues.          So

   13    the -- I do have some knowledge through my

   14    professional experience that not only owners can

   15    be held responsible for environmental liabilities.

   16           Q     Can you identify for me, though, a

   17    federal law that would specifically -- that would

   18    make Mallinckrodt responsible for this material

   19    prior to 1953?

   20           A     No, I can't.

   21           Q     Can you identify for me any federal

   22    regulation or federal radiation safety standard

   23    that would make Mallinckrodt responsible for the

   24    waste material owned by the government at a

   25    government-operated site?



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     1           A      No, I don't have an opinion about that.

     2           Q      Okay.   You mentioned -- with respect to

     3    your statement that you are aware that there's

     4    laws that would require people other than the

     5    owner to be responsible for the waste, does that

     6    arise under CERCLA?      Is that what you're talking

     7    about?

     8             A    That's what I was thinking of, yes.

     9           Q      You mentioned that in footnote 45:        "I

    10    understand that Mallinckrodt did not officially

    11    operate SLAPS until 1953."

    12                  Do you know how it was that Mallinckrodt

    13    came to operate at the SLAPS site in 1953?

    14           A      I'm not sure what that question means,

    15    "how it was."

    16           Q      Okay.   I'll represent to you that

    17    Mallinckrodt contracted with the federal

    18    government as of July 20th, 1953, to operate at

    19    SLAPS.

    20                  I believe you told me you haven't seen

    21    that contract or any other contract, fair?

    22           A      Fair.

    23           Q      Are you aware of any contract that

    24    existed prior to July 20th of 1953 that required

    25    Mallinckrodt to operate or manage any aspect of



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     1    SLAPS?

     2             A     Prior to 1953.     No, I'm not aware of

     3    anything like that.

     4             Q     Would you agree with me that in 19 --

     5    strike that.

     6                   Would you agree with me that prior to

     7    1954, that the federal government had a monopoly

     8    on all nuclear energy and nuclear materials?

     9                   MR. McCLAIN:     Object to the form of the

    10    question.      Calls for a legal opinion.

    11    BY MR. ZAGER:

    12             Q     You can answer.

    13             A     In my mind, that also calls for sort of

    14    an economic opinion, and I -- I'm not an economic

    15    expert.      So I really -- my answer to that is I

    16    don't know.

    17             Q     Okay.   With respect to the operation of

    18    SLAPS by Mallinckrodt starting on July 20th or on

    19    or about July 20th, 1953, have you performed any

    20    analysis as to what Mallinckrodt's duties or

    21    responsibilities were?

    22             A     My understanding is that their -- their

    23    duties were to manage that waste repository.

    24             Q     Have you analyzed what their duties were

    25    with respect to management of the -- the site?           In



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     1    other words, specifically what they were supposed

     2    to do, not supposed to do, or anything like that.

     3            A    In terms of reviewing any contracts that

     4    might exist with the government, no.

     5            Q    Or what about any other authoritative

     6    documents, regulations, standards, anything like

     7    that?

     8            A    I haven't reviewed any documents

     9    specifically about Mallinckrodt's operations

    10    there, no, and their duties.

    11            Q    Okay.   Are you aware or have you

    12    analyzed whether the Atomic Energy Commission

    13    requested Mallinckrodt perform any specific types

    14    of maintenance at SLAPS while it was responsible

    15    for its operation?

    16            A    You know, I don't have any details as to

    17    what kind of maintenance requests might have been

    18    made, but it's my understanding that that would

    19    have been under their purview to provide

    20    maintenance to -- to, you know, keep up the

    21    facility, to prevent materials from migrating

    22    offsite, to maintain the fence line, things like

    23    that.

    24            Q    Okay.   Where does that understanding

    25    come from?



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     1           A     It comes from my -- my reading of the

     2    historical documentation about the SLAPS site as

     3    is summarized in different reports, like Army

     4    Corps of Engineers, you know, reports that have

     5    historical summaries of the site.

     6           Q     Okay.   I'll represent to you that their

     7    obligation was to perform maintenance work at the

     8    site as the Commission requested.

     9                 Is it fair to say you don't have any

    10    specific information about what the AEC requested

    11    be done?

    12                 MR. McCLAIN:    Object to -- object to the

    13    preface, and let him answer the second half of

    14    that question.

    15    BY MR. ZAGER:

    16           Q     You can answer.

    17           A     I don't have -- I don't have any

    18    information about specific requests that would

    19    have -- would have passed between the government

    20    and Mallinckrodt.

    21           Q     Okay.   Did the Atomic Energy Commission

    22    provide Mallinckrodt with any equipment for them

    23    to use for maintaining the property that you're

    24    aware of?

    25           A     I don't know.



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     1            Q    Okay.   Do you know at what point the

     2    material housed at SLAPS became licensed?

     3            A    I don't specifically know that, no.

     4            Q    Okay.   I believe that you stated in your

     5    report that -- strike that.

     6                 You state that Mallinckrodt -- on

     7    page 12 of your report, you state:        "Mallinckrodt

     8    managed the SLAPS site from 1953 to 1966."          Is

     9    that correct?

    10            A    That's what it says, yes.

    11            Q    Okay.

    12                 MR. McGAHREN:     I'm sorry, what page was

    13    that?

    14                 MR. ZAGER:    Page 12.

    15    BY MR. ZAGER:

    16            Q    Do you know if there was a license

    17    issued for the material housed at SLAPS at any

    18    point in time prior to 1966?

    19            A    Well, I know it was licensed upon

    20    transport to the Latty Avenue site, but, no, I --

    21    I don't know about before.

    22            Q    Okay.

    23                 (Exhibit No. 5 was marked for

    24                 identification.)

    25    BY MR. ZAGER:



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     1            Q    I'm going to hand you what I marked as

     2    Exhibit 5.    Go ahead and take a minute, look at

     3    that and tell me if you recognize that document.

     4                 MR. McGAHREN:     This is 5?

     5                 MR. ZAGER:    Five.

     6                 THE WITNESS:    (Peruses document.)

     7                 Okay.   I have reviewed this document.

     8    BY MR. ZAGER:

     9            Q    Just to be fair, what you're saying is

    10    you reviewed what I've handed you, correct?

    11            A    I've reviewed what you handed me.        I

    12    haven't seen this document before.

    13            Q    You've never seen this document before?

    14            A    No.

    15            Q    Did you look at any of the licenses for

    16    the radioactive material that's at issue in this

    17    case?

    18            A    No, I didn't.

    19            Q    Okay.   Well, if you look at the last

    20    page of Exhibit 5, there's a date down there, and

    21    it's -- it's not very legible, but it looks like

    22    December something of 1963.        Do you see that?

    23            A    I -- I can't really read it, but I see

    24    what you're talking about.

    25            Q    Okay.   Assuming that this license,



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     1    Exhibit 5, was -- was issued in that December 1963

     2    time frame to Contemporary Metals Corporation, do

     3    you have any understanding as to what or how that

     4    would have affected responsibility for complying

     5    with radiation safety standards for the material

     6    housed at SLAPS?

     7                 MR. McCLAIN:    Object to the form of the

     8    question.    It's a legal conclusion.

     9                 THE WITNESS:    No, I -- I really don't

    10    have an understanding of -- of how this license

    11    would have -- would affect their obligations.

    12    BY MR. ZAGER:

    13           Q     Okay.   Is it your understanding that

    14    after a license is issued to a licensee for

    15    radioactive materials, that they're required to

    16    comply with the 10 CFR Part 20 federal

    17    regulations?

    18           A     Yes.

    19           Q     Okay.   With respect to your statement on

    20    page 12 of your report about Mallinckrodt being --

    21    or Mallinckrodt managing the SLAPS site from 1953

    22    to early 1966, is it possible that that actually

    23    terminated in 1963 with the license that was

    24    issued to Continental Metals Corporation?

    25                 MR. McCLAIN:    Object to the form of the



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     1    question.    Calls for a legal conclusion.

     2                 THE WITNESS:    That's not my

     3    understanding of -- of what happened.         My

     4    understanding is Continental Metals didn't take

     5    possession or transfer that waste until 1966.

     6                 (Exhibit No. 6 was marked for

     7                 identification.)

     8    BY MR. ZAGER:

     9            Q    Okay.   Next I will hand you what I've

    10    marked as Exhibit 6.      Go ahead and take a look at

    11    that.

    12            A    (Peruses document.)      Okay.

    13            Q    Have you ever seen Exhibit 6 prior to

    14    today?

    15            A    No, I haven't.

    16                 MR. McCLAIN:    Object to the form of the

    17    question.    He doesn't add anything to these

    18    documents.    You can use them however you can use

    19    them without his input.      Why are we wasting time

    20    having him on documents that he's not going to

    21    testify about, that -- that in areas that he's not

    22    an expert in.    I don't understand why you're doing

    23    this, and it's abusive at this point.

    24                 MR. ZAGER:    Counsel, just object to the

    25    form.    I understand it's not what you would do,



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     1    but I am entitled to take my deposition.

     2                 MR. McCLAIN:    It's not -- it's not only

     3    what I would do, but it's abusive in that -- in

     4    that you're just having him read documents that he

     5    doesn't know anything about on legal issues, which

     6    you're entitled to raise, I'm not questioning

     7    that, but not through him.

     8                 MR. ZAGER:    Okay.   That's -- and your

     9    objection is noted for the record.

    10    BY MR. ZAGER:

    11           Q     And just to be clear, do you feel I'm

    12    abusing you?    I mean I have not raised my voice.

    13                 MR. McCLAIN:    I'm not talking about you.

    14    You're being very polite, and I'm not suggesting

    15    you're not.    But it's an abuse of the way to go

    16    about it.    Maybe you don't have anything that you

    17    really want to ask him.

    18                 MR. ZAGER:    I do.

    19                 MR. McCLAIN:    But, you know, he doesn't

    20    know anything about this.

    21    BY MR. ZAGER:

    22           Q     Okay.   Have you had a chance to look at

    23    Exhibit 6?

    24           A     I have.

    25           Q     Okay.   This is a source material license



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     1    issued February 14th, 1966, correct?

     2                  MR. McCLAIN:   No, you don't know

     3    anything about it, do you?

     4                  THE WITNESS:   I mean I can read the date

     5    on it.     I don't -- I --

     6    BY MR. ZAGER:

     7           Q      Okay.   Well, let me -- let me back up,

     8    because it's an incorrect statement that you

     9    haven't offered any opinions.

    10                  You've stated that Mallinckrodt managed

    11    the SLAPS site from 1953 to 1966, correct?

    12           A      That's correct.

    13           Q      What is your understanding for what

    14    happened in early 1966 that terminated

    15    Mallinckrodt's operation of SLAPS?

    16           A      My understanding is that the remaining

    17    waste materials that were still being stored at

    18    SLAPS began to be transferred and ultimately were

    19    entirely transferred with, of course, the

    20    exception of residuals in the soil to Latty

    21    Avenue.

    22           Q      Okay.   Is it your understanding that

    23    another reason why Mallinckrodt's involvement at

    24    SLAPS stopped in early 1966 is that the material

    25    became licensed to another company?         Hence,



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     1    Exhibit 6.

     2           A     I can answer the last part of that

     3    question.    It's my understanding that the material

     4    did become licensed to another company.         I don't

     5    have any particular knowledge nor opinion about

     6    all the reasons Mallinckrodt might have ceased

     7    operating SLAPS.

     8           Q     Okay.   So we've talked about the

     9    statement of your opinion that Mallinckrodt

    10    stopped -- Mallinckrodt stopped operating the site

    11    in early 1966.     Your understanding that this

    12    material was sold and then eventually moved to

    13    Latty Avenue, correct?

    14           A     Correct.

    15           Q     Do you have an understanding as to what

    16    then happened with the SLAPS site after

    17    Mallinckrodt was no longer working there or

    18    operating it in early 1966?

    19           A     Well --

    20                 MR. McCLAIN:    Object to the form of the

    21    question.    It's overly broad and vague.

    22    BY MR. ZAGER:

    23           Q     You can answer.

    24           A     I'll -- I'll answer the part that --

    25    that I can answer.



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     1                 It's my understanding that starting soon

     2    thereafter, various agencies of the federal

     3    government began testing environmental testing of

     4    the site itself, of drainage ditches, of offsite

     5    soil, and things like that.

     6           Q     You're familiar with the term

     7    "decommissioning"?

     8           A     Yes.

     9           Q     Was there ever actually a

    10    decommissioning of the SLAPS site that you're

    11    aware of?

    12           A     I -- I don't know.

    13           Q     Okay.   You certainly haven't seen any

    14    contract or statement that Mallinckrodt was

    15    responsible for remediating the site,

    16    decommissioning the site or taking any action

    17    after it was done in early 1966, fair?

    18                 MR. McCLAIN:    Object to the form of the

    19    question, unless he's looked.

    20                 THE WITNESS:    I -- in the course of my

    21    review of the documents, I haven't seen any

    22    indications of that one way or the other.

    23    BY MR. ZAGER:

    24           Q     Okay.   You note in your report that the

    25    case management order -- and this is your first



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     1    report from March 31st, 2019 -- that the case

     2    management order required you to determine whether

     3    there were releases of radiation in excess of the

     4    effluent limitations found in applicable federal

     5    regulations, 10 CFR Section 20.106(a), Appendix B.

     6                  Is that your understanding of what you

     7    were at least initially tasked with doing?

     8           A      That's a big part of what I was tasked

     9    to do.     I was also asked to just get up to speed

    10    on the environmental condition and environmental

    11    history of the site.

    12           Q      Okay.   Explain to me what 10 CFR

    13    20.106(a) is.

    14           A      It's the -- it's the portion of the

    15    federal code that talks about protection of the --

    16    of people against radiation exposure.

    17           Q      Would you agree with me that it's a

    18    quantitative standard?

    19                  MR. McCLAIN:   Object to the form of the

    20    question.

    21                  THE WITNESS:   I would agree with you

    22    that it's, in part, a quantitative standard.          I

    23    would also, you know, note that the standard, you

    24    know, evolves over time.       So I would -- I would

    25    say that it's partially a quantitative standard



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     1    and it's partially a qualitative standard.

     2    BY MR. ZAGER:

     3           Q     It's my understanding from your report

     4    that the version of 10 CFR 20.106(a) that you

     5    applied in this case was the 1960 edition; is that

     6    correct?

     7           A     Correct.

     8           Q     Did you look at any other editions other

     9    than 1960?

    10           A     I did.

    11           Q     What other editions did you look at?

    12           A     I looked at the current edition, and I

    13    looked at an edition from the early 1990s.

    14           Q     Okay.    You stated that it's partly

    15    quantitative and partly qualitative.         What part of

    16    it is qualitative?

    17           A     The part that's qualitative is the --

    18    the part of that code that describes in text what

    19    the objective is.      We already talked a little bit

    20    about as low as reasonably, you know, achievable.

    21    So the objective of Section 20 is that licensed

    22    operations will maintain their facilities in a way

    23    that exposure to the public is kept as low as --

    24    as practical.    They then go on to try to quantify

    25    what that means in things that are measurable.



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     1                 But I think it's important to understand

     2    the -- the -- sort of the basis or the rationale

     3    or the goal that the federal government describes

     4    in words.

     5           Q     Could a licensee be cited if they

     6    complied with the quantitative requirements of

     7    10 CFR Part 20.106, but arguably didn't comply

     8    with the ALARA portion of it?

     9                 MR. McCLAIN:    I'm sorry, can I hear the

    10    question back?

    11                 MR. ZAGER:    I can just re- -- I'll state

    12    it again.

    13    BY MR. ZAGER:

    14           Q     Could a licensee be cited for complying

    15    with the quantitative portion of 20.106 if they

    16    arguably did not comply with the as low as

    17    reasonably -- whatever it -- what is ALARA?

    18           A     As low as reasonably achievable.

    19           Q     Okay.   Thank you.

    20                 MR. McCLAIN:    Objection.     Calls for a

    21    legal conclusion.

    22    BY MR. ZAGER:

    23           Q     Could a licensee be cited for complying

    24    with the quantitative portion of 20.106(a) if they

    25    arguably did not comply with the



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     1    as-low-as-reasonably-achievable principle?

     2           A     I don't have an opinion about whether or

     3    not a licensee could be cited, because I think

     4    that is a legal call, but I think it's possible

     5    that activities could not meet that standard even

     6    though they are meeting the quantitative standards

     7    that are designated in Appendix B, Table 2.

     8           Q     Are you aware of any instance when the

     9    Atomic Energy Commission or the Nuclear Regulatory

    10    Commission cited a licensee that was in compliance

    11    with the quantitative standards, but they

    12    allegedly did not comply with the ALARA component?

    13           A     I'm aware of situations where, you know,

    14    contamination spread offsite due to a situation

    15    like that, but I -- I am not aware of any specific

    16    citations.

    17           Q     When you say you're aware of those types

    18    of situations, were they specific to radionuclides

    19    and controlled by the Atomic Energy Commission or

    20    the Nuclear Regulatory Commission?

    21           A     Sure.   I mean, I think that one example

    22    of this situation would be, you know, the

    23    contamination along haul roads.

    24           Q     Do you believe there was a citation

    25    issued?



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     1            A      No, I don't believe there was a citation

     2    issued.      I don't believe the quantitative

     3    standards even cover that scenario, but I think

     4    that falls into the category of really not meeting

     5    this -- this text, you know, descriptive standard

     6    of not as low as reasonably achievable.         Certainly

     7    it would have been achievable not to spill

     8    material off trucks.

     9            Q      But again, you're not aware of any

    10    citations being issued under that concept that you

    11    just described?

    12            A      I am not.

    13            Q      Okay.    Under 20.106, a licensee is

    14    allowed to release radioactive material from their

    15    cite.       Fair?

    16                   MR. McCLAIN:   Object to the form of the

    17    question.

    18                   THE WITNESS:   That's a true statement.

    19    I mean, that -- that's kind of an example of

    20    something I deal with all the time, which is this

    21    kind of this question of how clean is clean.

    22    BY MR. ZAGER:

    23            Q      Right.    So, in other words, under

    24    20.106, a licensee can release material from the

    25    site as long as it does not exceed the -- the



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     1    limits stated in 20.106, specifically Appendix B,

     2    fair?

     3                 MR. McCLAIN:    Object to the form of the

     4    question.

     5                 THE WITNESS:    But here's where this

     6    descriptive standard comes in.        A licensee isn't

     7    expected to -- to purposely or cavalierly release

     8    radioactive materials to the environment.

     9    There's -- there's a standard there where -- that

    10    the quantitative standards are set in such a way

    11    as they're attempting to balance reasonable

    12    inadvertent releases against the -- the value of

    13    whatever activity is happening there.

    14    BY MR. ZAGER:

    15            Q    Okay.   My question is really more

    16    straightforward than that.

    17            A    Okay.

    18            Q    Under 20.106(a), a licensee that is

    19    fully compliant with their federal regulatory

    20    requirement can still release material from their

    21    site, fair?

    22            A    The standards are -- are quite low, but,

    23    yes, that -- that is allowable.

    24            Q    Okay.   You state in your report that

    25    you are required to look at 10 CFR 20.106(a),



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     1    Appendix B, for this case, but are you aware or

     2    are you of the opinion that any other federal

     3    radiation regulations or standards of care apply

     4    to Mallinckrodt in this case?

     5           A     I haven't been asked to look at that,

     6    and I don't have an opinion about that.

     7           Q     Okay.   Would you agree with me that

     8    Mallinckrodt is not a licensee?

     9                 MR. McCLAIN:    Object to the form of the

    10    question.    These are just legal -- one legal

    11    question after another.

    12                 MR. ZAGER:    They're related to his

    13    report.

    14                 MR. McCLAIN:    Not really.

    15                 MR. ZAGER:    Okay.

    16                 MR. McCLAIN:    Not really, they're not.

    17                 MR. ZAGER:    Okay.

    18                 THE WITNESS:    I might not --

    19                 MR. McCLAIN:    They're dicta, if you

    20    would, and -- and made in passing and -- and using

    21    common terms.

    22                 MR. ZAGER:    Okay.

    23                 MR. McCLAIN:    Not legal terms.      And now

    24    you want to cross-examine him on his legal opinion

    25    on all of this stuff.      I just don't understand



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     1    what you're doing.

     2                    MR. ZAGER:   Okay.

     3    BY MR. ZAGER:

     4            Q       You can answer the question.

     5             A      I might not know the answer to that, but

     6    it -- it's my understanding that for the SLAPS

     7    site, I'm not aware that Mallinckrodt was a

     8    licensee.

     9            Q       Okay.   Are you aware of any federal

    10    radiation safety standards or regulations that

    11    would apply to government contractors?

    12            A       That's a pretty broad question.     I mean,

    13    I think you're edging into sort of a -- a legal

    14    arena.       I mean, I -- I've heard of this thing

    15    about the government contractor exemption, but in

    16    general, government contractors in my experience

    17    are required to comply with the prevailing

    18    environmental standards.

    19            Q       Are you familiar with the AEC manual

    20    chapters that were issued back in the '50s and

    21    '60s?

    22            A       Not deeply familiar with them, no.

    23            Q       Have you ever looked at them?

    24            A       I have looked at them.

    25            Q       Which -- did you know which chapters you



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     1    looked at -- well, strike that.

     2                 Did you look at it for this case?

     3            A    No, I -- I've just looked at them in the

     4    past.

     5            Q    Okay.   Did you review any AEC bulletins

     6    for this case?

     7            A    No.

     8            Q    I may have asked this, and if I did, I

     9    apologize.    But did you have any of your

    10    colleagues or any other experts peer review your

    11    report in this case?

    12            A    Only Mr. Matos reviewed part of this,

    13    really just for editorial purposes.         We kind of

    14    have a policy that written documents don't go out

    15    unless another colleague has looked them over, but

    16    it was really editorial.

    17            Q    Okay.   He was the only person that

    18    reviewed it?

    19            A    Yes.

    20            Q    Do you know if Dr. Clark has reviewed

    21    it?

    22            A    I -- I don't think I would know that.

    23            Q    Okay.   All right.    Do you have a copy of

    24    Exhibit 2 in front of you?

    25            A    That's my --



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     1           Q     Your report.

     2           A     -- original report?

     3           Q     Yes.

     4           A     Yes, I do.

     5           Q     On page 3 of your report, you have a

     6    Summary of Opinions, and you actually bold what

     7    your opinions are; is that correct?

     8           A     That's right.

     9           Q     So your first opinion is:       "The SLAPS

    10    and Latty Avenue sites were contaminated with

    11    radiological materials and metals, and the

    12    contamination persisted even after the waste piles

    13    were removed."      Is that correct?

    14           A     Correct.

    15                 MR. McCLAIN:    I just want to note that

    16    this is -- we're three hours into this deposition,

    17    and this is the first question related to his

    18    opinions in the case.       Just so I have note of it

    19    on the record.

    20                 MR. ZAGER:     That's fine.

    21    BY MR. ZAGER:

    22           Q     You note on page 6, which is where you

    23    discuss opinion 1, that the on-site structures at

    24    SLAPS were razed and demolition debris was buried

    25    on the property; is that correct?



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     1           A     That's what it says, and that's my

     2    understanding of -- of what happened there.

     3           Q     Okay.   Now, you talk in here -- let's go

     4    to like page 7, for instance.

     5           A     Okay.

     6           Q     You talk a lot about the -- the FUSRAP

     7    documents and U.S. Army Corps of Engineer

     8    materials.    Why did you think those were important

     9    to cite in this case?

    10           A     I thought those were important to cite

    11    because it -- it gives a context of -- of the

    12    nature and extent of contamination and what sort

    13    of activities were done to address it.

    14           Q     You reviewed all of these reports that

    15    you cite, for instance, the Army Corps of Engineer

    16    reports and things like that, related to the

    17    FUSRAP program?

    18           A     Yes, I did.    I can't say that I read

    19    every single page, but, yes, I -- I reviewed these

    20    reports.

    21           Q     All right.    And explain to us again what

    22    -- what FUSRAP is and what their purpose was with

    23    respect to these properties.

    24           A     So FUSRAP is a federal environmental

    25    program.   Formerly Utilized Sites Remedial Action



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     1    Program, I think is what it stands for.         And

     2    it's -- it's a program that was implemented first

     3    in I think 1974, and the whole idea was to

     4    evaluate and, if needed, clean up sites around the

     5    country that were related to the Manhattan

     6    Project, and that -- that might have legacy

     7    contamination from -- from that work.

     8           Q     In any of the Army Corps of Engineer or

     9    FUSRAP documents that you reviewed, did any of

    10    them apply the 10 CFR Part 20 regulations?

    11           A     You're specifically asking about Army

    12    Corps of Engineers.

    13           Q     Yeah, or any of the FUSRAP documents.

    14           A     I'm thinking through.      I -- I can't say

    15    for certain that they never did, but I did not

    16    come across that, and the reason I believe for

    17    that is that the FUSRAP program generally follows

    18    the CERCLA process.

    19           Q     Okay.   In other words, because they

    20    followed the CERCLA process, they were not

    21    evaluating whether or not there was compliance

    22    with the 10 CFR Part 20 regulations back in the

    23    '40s, '50s and '60s, fair?

    24           A     I -- I don't --

    25                 MR. McCLAIN:    Object to the form of the



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     1    question.

     2    BY MR. ZAGER:

     3            Q      Go ahead.

     4            A      I don't think that -- that the Army

     5    Corps of Engineers ever did that.        I think their

     6    perspective was, It's our job to clean up this

     7    site.       Let's -- let's get going.

     8            Q      Okay.   In any of the Army Corps of

     9    Engineers or FUSRAP documents that you cite in

    10    your report, were they critical of Mallinckrodt's

    11    operation back in -- from '53 to approximately

    12    1966?

    13                   MR. McCLAIN:   Object to the form of the

    14    question.

    15                   THE WITNESS:   Not that I can recall.

    16    You know, it -- I -- my job is to write reports

    17    like that, and I guess I would add the caveat that

    18    that's not usually what we do.        We don't, you

    19    know, usually add a critique of former activities

    20    when we're looking at how to characterize or clean

    21    up a site.      So I would say no, but I would say I

    22    wouldn't have expected to.

    23    BY MR. ZAGER:

    24            Q      Okay.   In other words, the Army Corps of

    25    Engineers' and the FUSRAP's purpose was different



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     1    than evaluating regulatory compliance back a

     2    couple of decades earlier, correct?

     3           A     That's true.

     4           Q     Okay.   In other words, they're going out

     5    looking to see what contamination there is in the

     6    area, and then they're going to set cleanup

     7    levels, correct?

     8           A     I mean, there's a whole long process.

     9    That's not all they do.      But that -- that is their

    10    obligation as I'm sure they interpret it under

    11    FUSRAP.

    12           Q     The cleanup levels that they set are not

    13    based on 10 CFR Part 20, correct?

    14           A     You know, there's -- there's a lot of

    15    interplay between those standards and the

    16    standards that ended up getting applied out there.

    17    They don't specifically cite, to -- to my

    18    recollection, Section 20 of 10 CFR, no.         They cite

    19    other things.

    20                 But if you really dig deep and -- and

    21    try to understand where those cleanup standards

    22    came from, they -- they're actually interrelated.

    23           Q     Okay.   But the cleanup levels are

    24    actually much lower.      They're going in to actually

    25    clean something up with the hopes that then the



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     1    site can be unrestricted use, fair?

     2           A     I don't know that I would say they're

     3    much lower.    I mean, they're really measuring

     4    different things, aren't they?        I mean, they're --

     5    you know, the Table 2 values are effluent

     6    limitations.    That's the Table 2 in Section 20.

     7    Those really were never meant to be cleanup

     8    standards.    They were meant to be proxies for the

     9    threat of exposure.

    10           Q     They're release standards, correct?

    11           A     That's right.

    12           Q     Then your second opinion is that --

    13    strike that.    Let me back up.

    14                 With respect to your first opinion

    15    regarding that there's -- there's contamination in

    16    the area -- again, we've already talked about

    17    under the 10 CFR Part 20 regulations.         When

    18    Mallinckrodt was operating the site, the SLAPS

    19    site, they were allowed to release material,

    20    correct?

    21                 MR. McCLAIN:    Object to the form of the

    22    question.

    23                 THE WITNESS:    There were specific

    24    limitations, and there were also descriptive

    25    limitations on -- on the magnitude of those



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     1    releases, but I would argue that, yes, there --

     2    that a certain degree of release was allowable.

     3    BY MR. ZAGER:

     4           Q     So Mallinckrodt back '53 to 1966 was

     5    allowed to release material, and then the

     6    government, through the Army Corps of Engineer,

     7    came in a decade or two later and evaluated the

     8    contamination in the area.

     9                 MR. McCLAIN:    Object --

    10    BY MR. ZAGER:

    11           Q     Is that the general setup?

    12                 MR. McCLAIN:    Object to the form of the

    13    question.    It calls for a legal conclusion.

    14    BY MR. ZAGER:

    15           Q     You can answer.

    16                 MR. McCLAIN:    Not being cited for

    17    release is different than being allowed to

    18    release.

    19                 MR. ZAGER:    Counsel, don't coach the

    20    witness.    Come on.

    21    BY MR. ZAGER:

    22           Q     You can answer.

    23                 MR. McCLAIN:    Well, there's a

    24    difference.

    25                 MR. ZAGER:    There's not a difference



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     1    between coaching the witness.       You can object to

     2    the form, but --

     3                 MR. McCLAIN:    Well, there -- there's a

     4    difference in your question.

     5    BY MR. ZAGER:

     6           Q     Do you even remember what the question

     7    was after all that?

     8           A     Let's try it again.

     9           Q     Okay.    The general setup here was that

    10    back in 1953 to 1966, when Mallinckrodt --

    11    Mallinckrodt was operating the SLAPS site, under

    12    the regulations that you're applying, they were

    13    allowed to release material as long as they didn't

    14    exceed the limits, fair?

    15                 MR. McCLAIN:    Object to the form of the

    16    question.

    17                 THE WITNESS:    That's correct, with the

    18    caveat that we've already talked also about these

    19    descriptive limits that I think also apply.

    20    BY MR. ZAGER:

    21           Q     Right.    The FUSRAP program that we're

    22    talking about is the federal government, through

    23    the Army Corps of Engineers, coming back to these

    24    sites, like SLAPS, decades later, evaluating

    25    whether or not there's contamination, and then



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     1    deciding if they want to clean it up and to what

     2    extent.

     3                 Is that the general process that we're

     4    talking about here?

     5           A     I -- I know I'm being nitpicky, but I

     6    don't think I would describe that process as

     7    whether or not they want to clean it up but

     8    whether or not they need to clean it up.          But

     9    that's -- cleaning up these sites was what FUSRAP

    10    was and still is all about.

    11           Q     Okay.    Then your -- your second opinion

    12    is:   "Contamination, including radiologic

    13    materials and metals, has escaped from the SLAPS

    14    and Latty Avenue sites and impacting neighboring

    15    properties by a number of migration pathways."

    16                 Is that correct?

    17           A     That's correct.

    18           Q     Okay.    And with respect to that, you

    19    talk about runoff and surface water, correct?

    20           A     Right.

    21           Q     And then also the contaminants in the

    22    surface water?

    23           A     Correct.

    24           Q     You talk about air dispersements of

    25    windblown dust and radon, correct?



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     1           A     Right.

     2           Q     And then we also have groundwater flow,

     3    correct?

     4           A     Right.

     5           Q     All of those collectively, as they leave

     6    the site, would be what's known as effluents?

     7           A     There's different terms that are -- that

     8    are used by different agencies, but we can --

     9    sure, we can call them effluents.

    10           Q     Under the standard of care that you're

    11    applying in this case, specifically 10 CFR

    12    20.106(a) from 1960, the runoff of the surface

    13    water and the air dispersements as well as

    14    contaminants in both of those and the groundwater

    15    would all be characterized as effluents; is that

    16    correct?

    17           A     Yes.

    18           Q     You also mention the spillage on the

    19    haul roads.

    20           A     Can I back up?     I'm sorry.

    21           Q     Sure.

    22           A     I didn't want to get ahead of ourselves.

    23                 As I point out in the report, there --

    24    there isn't an effluent guideline for contaminated

    25    sediments.    So that's something that's important



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     1    in this case that's just not quantitatively

     2    addressed in the Appendix B tables.

     3           Q     Right.   The sediments are carried -- or

     4    potentially could be carried offsite with the

     5    water, correct?

     6           A     Correct.

     7           Q     Given that these sediments are mixed in

     8    with the water, aren't they part of the water

     9    effluent limitations?

    10           A     I don't think so.     I -- I think the

    11    water effluent limitations are meant to describe

    12    dissolved contaminants in water, not particulate

    13    contaminants.

    14           Q     What is your basis for saying that the

    15    water effluent limitations are supposed to include

    16    dissolved sediment but not solidified sediment?

    17           A     Well, it's not really dissolved

    18    sediment.    It's dissolved compounds.

    19           Q     Okay.

    20           A     My basis for that is there's nothing in

    21    the regulatory language that talks about including

    22    particulates, and it's standard practice to filter

    23    sediments out of surface water or groundwater

    24    before we send them to the lab.

    25                 So in the absence of any kind of



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     1    specific guidance, in my business we usually

     2    assume that if people are talking about water

     3    standards, say like drinking water standards,

     4    you're talking about dissolved standards.

     5            Q    Is there anything in 20 CFR -- strike

     6    that.

     7                 Is there anything in 10 CFR 20.106(a)

     8    that says that when you're talking about water

     9    effluent that you're supposed to filter out

    10    sediment?

    11            A    It's silent about that, to my knowledge.

    12            Q    So it certainly doesn't say to -- to

    13    strain it out.

    14            A    No, but that would be standard practice.

    15            Q    I understand you may be -- that may be

    16    standard practice in what you're doing today.

    17    With respect to back in 1960, when these

    18    regulations were put in place, do you have

    19    information as to what the standard of care was

    20    then?

    21            A    Well, I don't have information as to

    22    what was explicitly in the minds of the folks

    23    who -- you know, who constructed Table 2.          But my

    24    understanding is that really throughout the

    25    history of -- of environmental testing in the



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     1    States, when we talk about water concentrations,

     2    we're talking about dissolved concentrations.

     3           Q     Okay.   But there's nothing specific to

     4    how that would apply to 10 CFR 20.106(a),

     5    specifically the 1960 version, fair?

     6           A     To my knowledge, it's silent on that.

     7    So that's an assumption I'm making based on my

     8    professional experience.

     9           Q     Okay.   You also mention with respect to

    10    opinion 2 the spillage on the haul roads.          Do

    11    you -- do you see that?

    12           A     Let's see.

    13           Q     And, actually, it's probably on page 3

    14    where you summarize it.

    15           A     (Peruses document.)

    16                 I -- I agree with you, I think it's in

    17    here, but I -- I'm not seeing it right now.

    18           Q     Well, where I'm looking at is on page 3.

    19           A     Okay.

    20           Q     The last full paragraph -- it's actually

    21    the last couple of words, "resuspension from

    22    roads."

    23           A     Oh, okay.

    24           Q     I'm assuming that's talking about

    25    spillage.



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     1           A     Okay.   Yes.

     2           Q     Okay.   Have you analyzed Mallinckrodt's

     3    responsibility, if any, for material that was on

     4    the roads?

     5           A     I haven't specifically analyzed

     6    Mallinckrodt's responsibility for that.

     7           Q     Are you aware or can you quantify any

     8    material that was allegedly spilled on the roads

     9    from Mallinckrodt, Mallinckrodt doing the actual

    10    trucking?

    11           A     Well, there are analyses where -- where

    12    folks have tried to kind of sort out what the haul

    13    routes were from Mallinckrodt to SLAPS as opposed

    14    to from SLAPS to Latty Avenue.        So there has been

    15    some analysis, and I'm aware of that analysis on

    16    that distinction, but I'm not aware of any

    17    analysis, and I haven't performed it, as to

    18    whether or not there might be any commingling.

    19           Q     Okay.   With respect to the transport on

    20    the roads, whether it's from downtown to SLAPS --

    21    well, strike that.

    22                 With respect to the travel from downtown

    23    to SLAPS of the material, do you know to what

    24    extent Mallinckrodt was doing that transport, as

    25    opposed to other contractors for the government?



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     1            A    It's my understanding that Mallinckrodt

     2    was transporting this material.        Whether or not

     3    there might have been other contractors, I -- I

     4    haven't seen any references to that.

     5            Q    Okay.    With respect to any material that

     6    was allegedly spilled by Mallinckrodt on the haul

     7    roads, are you able -- do you have sufficient data

     8    to calculate whether or not it was in excess of

     9    the release limitations stated in 10 CFR Part

    10    20 -- 10 CFR 20.106(a)?

    11                 MR. McCLAIN:    Object to the form of the

    12    question.    That's an incorrect standard to the

    13    wrong activity.

    14                 Are we -- are we going to stop at lunch

    15    for some point?      Or what -- what's your plan?

    16                 MR. ZAGER:    It's up to you.     I don't

    17    care.

    18                 MR. McCLAIN:    Huh?

    19                 MR. ZAGER:    I don't care.

    20                 MR. McCLAIN:    I mean how many -- you've

    21    got hours to go, right?

    22                 MR. ZAGER:    At least probably two, yeah.

    23                 MR. McCLAIN:    So I don't know, Jim, what

    24    you want to do.

    25                 THE WITNESS:    I would like to take a



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     1    lunch break at -- at some natural breaking point.

     2                 MR. McCLAIN:    Okay.

     3                 MR. ZAGER:    Okay.   Let's -- let's finish

     4    this question up.

     5                 THE WITNESS:    Okay.

     6                 I think that's an example of -- of a

     7    situation that isn't -- isn't fully covered by the

     8    quantitative standards in Section 20, 10 CFR.           And

     9    so that's a situation where I would look to the

    10    descriptive standard of as low as reasonably

    11    achievable.    And I would suggest that it certainly

    12    would have been achievable, you know, to not spill

    13    some of this stuff as they were hauling the waste

    14    from one place to another.

    15    BY MR. ZAGER:

    16           Q     So you believe it would be achievable in

    17    transport to have zero waste spill?

    18                 MR. McCLAIN:    Yeah.

    19                 THE WITNESS:    Virtually -- virtually

    20    zero waste spill, I think that would be

    21    achievable.    I mean, I think we -- we actually

    22    achieve that these days.

    23    BY MR. ZAGER:

    24           Q     Okay.   Out -- well, these days in 2019,

    25    is that what you're saying?



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     1           A     Well, sure.    Yeah.

     2           Q     Okay.   Have you analyzed the technology

     3    that was available back in '53 to -- or '46 to

     4    '53, '55?

     5           A     Well, you know --

     6                 MR. McCLAIN:    A canvas cover?

     7    BY MR. ZAGER:

     8           Q     You can answer.

     9           A     This isn't really high-tech technology,

    10    and I'm not a trucker, but I think it's -- even in

    11    the '50s and the '60s, it would have been readily

    12    possible to transport stuff like dirt in trucks

    13    and spill virtually none of it.

    14                 Would -- would a couple -- you know,

    15    would possibly some particles escape during

    16    loading and unloading, yeah, sure.        But along the

    17    trucking route, I think that would be possible.

    18           Q     But specific to Mallinckrodt and any

    19    transportation activities it was involved in, you

    20    haven't analyzed the quantity of any material that

    21    was lost.    Is that fair?

    22           A     That's fair, I'm not aware that anyone

    23    has done that.     I mean, there's been a lot of work

    24    looking at the nature and extent of contamination

    25    that -- that was released that way, and the



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     1    concentration levels.      But in terms of

     2    back-calculating some kind of mass or amount, I'm

     3    not sure that could be done.

     4           Q     Okay.    You also write on page 10 of your

     5    report, it's down at the bottom, it says:          "Of

     6    particular note, researchers have concluded that

     7    an important exposure pathway at this site is

     8    transport and redistribution of contaminated

     9    sediments down Coldwater Creek and its flood

    10    plane, especially during flood events which had

    11    the potential to deposit contaminated sediments

    12    directly into the yards of residential properties

    13    that abut the creek."

    14                 Did I read that correctly?

    15           A     Yes.

    16           Q     Okay.    And then you've got a couple of

    17    cites there.

    18                 Specifically, what do -- what do those

    19    reports talk about that supports that proposition,

    20    because you didn't quote that?

    21           A     I'm not sure what you mean I didn't

    22    quote that.    I don't know what that means.

    23           Q     I mean I don't see quote marks.        In

    24    other words, that that's kind of you paraphrasing.

    25           A     Oh.    Yeah, it is me paraphrasing.



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     1                 Well, I mean, there have been studies,

     2    you know, all the way back actually to the '60s

     3    regarding releases by way of surface water

     4    sediments.    I think Oak Ridge National Lab sent a

     5    crew out there '67 or '68, and they looked at the

     6    ditches in -- in and -- on and adjacent to the

     7    SLAPS site.

     8                 Subsequently, Army Corps of Engineers in

     9    the '90s and 2000s did a very significant amount

    10    of investigation along the waterway, and what they

    11    found were elevated levels of radioactive

    12    materials in the sediments along Coldwater Creek.

    13           Q     All right.    When you say "elevated

    14    levels" -- strike that.

    15                 Was it elevated levels of radionuclides?

    16    What was your word?

    17           A     I think I said "radioactive materials."

    18           Q     Okay.   When you say that they found

    19    elevated levels of radioactive materials, you're

    20    talking about elevated above natural background,

    21    correct?

    22                 MR. McCLAIN:    Object to the form of the

    23    question.

    24                 THE WITNESS:    We could talk about that,

    25    but we could also talk about them being elevated



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     1    above the Army Corps of Engineers' cleanup

     2    standards, at least in places.

     3    BY MR. ZAGER:

     4           Q     Okay.   The studies that you just

     5    referred to that looked at sediment in this --

     6    these transport sediments, did any of them compare

     7    it or evaluate it against the radiation safety

     8    standards, specifically 10 CFR 20.106?

     9           A     No.   And I -- I don't believe that would

    10    have been applicable for the work they were doing.

    11           Q     Why wouldn't it be applicable to what

    12    they were doing?

    13           A     Well, what they were really looking at

    14    is the aftermath of -- of the sort of releases

    15    that we've been talking about, you know,

    16    throughout the morning, as opposed to discharges

    17    or effluent concentrations at the time.

    18           Q     Okay.   You also note on page 11 of your

    19    report, you have this inset quote about

    20    "Concentrations of thorium-230 in the sediment

    21    range from 0.2 to 1400 picocuries per gram."

    22                 Do you see that?

    23           A     I do see that.

    24           Q     You then write:     "Sediment with elevated

    25    levels of radioactive material is intermittently



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     1    located in creek bins where natural settling would

     2    occur."

     3                 Did I read that correctly?

     4            A    Yes.

     5            Q    Okay.   So, in other words, they're

     6    finding the -- the radioactive materials,

     7    specifically the thorium-230, U-238 and Ra-226,

     8    but it's in areas where they would expect to find

     9    it if it's flowing down the river where it

    10    naturally would settle, fair?

    11            A    Sure, but also they're finding it up in

    12    what we would consider to be the flood planes.           So

    13    there -- there are a couple of different dynamics

    14    that come into play when you have sediment

    15    transport down a river, but in terms of it being

    16    where we would expect it, in terms of things like

    17    fluvial geomorphology, I -- I generally agree with

    18    that.

    19            Q    Okay.   And then they note that the

    20    contamination levels are highest near SLAPS and

    21    HISS, but they decrease greatly downstream,

    22    correct?

    23            A    This is a quotation from the Army Corps

    24    of Engineers, and that's stated correctly.

    25            Q    Down in the next sentence you say:



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     1    "Mallinckrodt and Cotter would have been aware of

     2    these issues because AEC had observed and reported

     3    uncontrolled releases of contaminated sediment at

     4    least by 1948."

     5                 Did I read that correctly?

     6           A     Yes.

     7           Q     Okay.   When you say "aware of these

     8    issues," what are you talking about?

     9           A     I'm talking about -- about waste from

    10    the waste piles washing into the ditches that

    11    reached the creek from SLAPS and Latty Avenue.

    12           Q     Okay.   First, let's back up a second.

    13                 You do agree still that while

    14    Mallinckrodt was operating the site, releases from

    15    the site were permitted as long as they did not

    16    exceed 20.106, correct?

    17                 MR. McCLAIN:    I -- I object to the form

    18    of the question as to "permitted."

    19    BY MR. ZAGER:

    20           Q     You can answer.

    21           A     Well, I'm -- I'm a broken record here,

    22    but there's also a descriptive standard of ALARA,

    23    and I've also mentioned before that sediments are

    24    really not covered quantitatively in Appendix B,

    25    Table 2.   So this is -- this is something that did



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     1    not at the time have a quantitative standard in my

     2    opinion.

     3           Q     Okay.   But again, your opinion is -- is

     4    not based specifically on what's stated in 20.106,

     5    correct?

     6                 MR. McCLAIN:    Object to the form of the

     7    question.

     8                 THE WITNESS:    Well, it is based on that,

     9    because Section 20 of 10 CFR does articulate the

    10    intention of all of these rules, and the intention

    11    is ALARA.

    12    BY MR. ZAGER:

    13           Q     Well, but then it then provides specific

    14    tables stating the limits on the annual average

    15    release rates, correct?

    16           A     That's right, for certain media, but not

    17    all media.    The -- you know, one way to look at

    18    this is the writers of this code, I'm not in their

    19    minds, but they perhaps wisely recognized that

    20    they couldn't foresee every single scenario by

    21    which radiological material might get released

    22    into the environment or offsite from a facility,

    23    so they include this descriptive narrative.          I

    24    think it should be applied to these sorts of

    25    releases that aren't covered quantitatively.



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     1            Q    That's assuming -- or that's based on

     2    your assumption that the water effluent limitation

     3    doesn't include sediment contained in the water,

     4    fair?

     5            A    Well, it's based on more than that, but

     6    that is -- that is an assumption that I've made

     7    also.

     8            Q    So if I'm an Atomic Energy Commission

     9    inspector back in 1960, and I go out and I grab a

    10    water sample and we take it back to the lab, are

    11    you saying that I would have strained out any

    12    sediment that was collected in that material?

    13                 MR. McCLAIN:    Object to the form of the

    14    question.

    15                 THE WITNESS:    Generally that's -- that's

    16    what we do when we collect water samples, unless

    17    you're specifically choosing not to for some

    18    reason.

    19    BY MR. ZAGER:

    20            Q    But my question is very specific to the

    21    Atomic Energy Commission inspectors back in 1960.

    22                 Do you have any evidence to suggest that

    23    if they go out and collect that water sample, that

    24    they strain the sediment out and then just test

    25    what's in the water?



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     1           A     I reviewed those -- those inspection

     2    reports, and they just don't go into that kind of

     3    detail about the protocols that they used.          But

     4    based on my professional experience, that's what

     5    water sampling means.

     6           Q     Okay.   Have you performed water sampling

     7    for compliance with 20.106?

     8           A     No, I haven't.

     9           Q     The reports that you reviewed by the

    10    Atomic Energy Commission on their water sampling,

    11    did they say anything about straining out

    12    sediment?

    13           A     They -- they don't speak to their

    14    protocols at all.

    15           Q     All right.    But you certainly wouldn't

    16    expect them to say that they didn't do something,

    17    would you?

    18                 MR. McCLAIN:    That they didn't do

    19    something?

    20                 MR. ZAGER:    Right.

    21                 MR. McCLAIN:    What?

    22    BY MR. ZAGER:

    23           Q     They wouldn't say, We didn't strain out

    24    the sediment.    You wouldn't expect to see that in

    25    a report, would you?



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     1                 MR. McCLAIN:    Objection.     Calls for

     2    speculation.

     3                 THE WITNESS:    You know, that reminds me

     4    of a mentor I had once who told me in writing

     5    reports don't -- you know, don't tell people what

     6    you didn't do; tell them what you did do.

     7                 But, you know, they just don't -- they

     8    just don't provide their -- their protocol.

     9    BY MR. ZAGER:

    10           Q     Okay.   But following --

    11           A     However, if I could add, upon -- upon

    12    finding elevated levels of radionuclides in the

    13    sediment of the ditches, they -- they did take

    14    measures to stop offsite transport or minimize

    15    offsite transport by re-engineering the ditches

    16    and putting in a settling pond.        So they did see

    17    that as a problem.

    18           Q     When did they put in the settling pond?

    19           A     I'm not exactly sure when that was.

    20           Q     Was it while the Atomic Energy

    21    Commission was still operating the site as its own

    22    entity?

    23           A     I'm going to have to look up the date.

    24    The date is just not --

    25           Q     Okay.



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     1           A     -- not coming to mind.

     2           Q     Going back to this statement, though,

     3    about Mallinckrodt and Cotter would have been

     4    aware of this issue because AEC had observed and

     5    reported uncontrolled releases of contaminated

     6    sediment at least by 1958, you're talking about a

     7    1948 Atomic Energy Commission document; is that

     8    correct?

     9           A     That's correct.

    10           Q     Do you know if anybody from Mallinckrodt

    11    ever received that 1948 document?

    12           A     I don't have any information about that

    13    one way or another.

    14           Q     You agree with me, though, it was an AEC

    15    document written by an AEC employee, correct?

    16           A     It was.

    17           Q     Further down in that same paragraph, you

    18    state, after talking about this 1948 AEC document:

    19    "But what is clear from my initial review,

    20    including the inspection reports, is that there

    21    were serious violations of regulations at both

    22    sites."

    23                 Did I read that correctly?

    24           A     Yes.

    25           Q     Okay.   First off, the inspection reports



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     1    that you're talking about, what inspection reports

     2    did you review?

     3             A      Well, what I'm talking about here are

     4    the -- are a couple of things, including, for

     5    example, this 1948 report about uranium

     6    contamination at the airport storage site.          Then

     7    there are inspection reports from the '60s at the

     8    Latty Avenue site.

     9           Q        Okay.   So those are the reports you're

    10    talking about there, correct?

    11           A        Correct.

    12           Q        You then state:   "There were serious

    13    violations of regulations at both sites."

    14                    We don't need to jump ahead if -- if

    15    it's covered later in the report, but the

    16    serious regulations that you're talking -- well,

    17    identify the serious regulations you're talking

    18    about.       Strike that.   I jumbled that question.

    19                    Identify the serious violations of

    20    regulations that you're talking about on page 11.

    21           A        The violation of regulations that I'm

    22    talking about there are that these sites were not

    23    operated in such a way as to keep releases of

    24    radiological materials from the facility as low as

    25    is reasonably achievable.



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     1           Q      So you're applying the ALARA principle

     2    there.

     3             A    Now, later on we learn that the

     4    contamination as a result of -- of these

     5    discharges led to contaminated soil and

     6    contaminated sediments that exceeded cleanup

     7    standards, but I acknowledge that in the '40s and

     8    '50s, those standards probably hadn't been

     9    promulgated.

    10             Q    Okay.   You're certainly not suggesting

    11    that Mallinckrodt should be held liable or

    12    responsible for activities from 1953 to early 1966

    13    based on cleanup standards that were put in place

    14    years later, including probably two decades later,

    15    are you?

    16                  MR. McCLAIN:   Objection.     Calls for a

    17    legal conclusion.

    18                  MR. ZAGER:   It's his opinion.      He said

    19    it.

    20    BY MR. ZAGER:

    21             Q    Go ahead.

    22                  MR. McCLAIN:   No, his -- his opinion

    23    about what needs to be cleaned up or what -- what

    24    needs to be cleaned up aren't based upon whether

    25    or not or when the statute came into effect.



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     1                 MR. ZAGER:    Okay.

     2    BY MR. ZAGER:

     3            Q    You can -- let me rephrase the question.

     4                 You've written a report and you're

     5    talking about violations of regulations, correct?

     6            A    Yes.

     7            Q    All right.    The regulations that you're

     8    alleging were violated and that you're going --

     9    you're going to testify to in this trial, do they

    10    include the cleanup standards that were put in

    11    place years later?

    12            A    No, I look at that as a consequence

    13    of -- of activities that were in violation of the

    14    regulations that were in place at the time.

    15            Q    Okay.    And we've already talked about

    16    the fact that Mallinckrodt was a contractor to the

    17    Atomic Energy Commission, correct?

    18            A    That's correct.     I -- I've mentioned

    19    that I don't have an awareness of the nature of

    20    the contracts, but we did talk about that.

    21            Q    Right.    Have you evaluated the oversight

    22    by the Atomic Energy Commission of Mallinckrodt

    23    during that time period at SLAPS from 1953 to

    24    1966?

    25            A    No.



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     1           Q     Okay.    Were you aware that the Atomic

     2    Energy Commission had an actual office in

     3    St. Louis?

     4           A     Yes, I am.

     5           Q     And it was actually in Mallinckrodt's

     6    facilities or on Mallinckrodt's facilities in the

     7    downtown site.

     8           A     I don't really have knowledge of where

     9    it was, but I believe you.

    10           Q     All right.    You mentioned earlier that

    11    you looked at inspection reports, and those were

    12    inspection reports completed by inspectors from

    13    the Atomic Energy Commission going out and looking

    14    specifically at the sites, correct?

    15           A     That's correct.

    16           Q     In your report you identify notices of

    17    noncompliance issued by the AEC; is that correct?

    18    You refer to several of them.

    19           A     Yes.

    20           Q     Okay.    Did you ever identify a notice of

    21    noncompliance issued by the Atomic Energy

    22    Commission to Mallinckrodt?

    23           A     No.

    24           Q     You've mentioned the ALARA principle

    25    several times.      Did you ever identify any writing



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     1    or citation from the Atomic Energy Commission

     2    stating that Mallinckrodt was in violation or not

     3    following the ALARA principle?

     4             A    I haven't seen anything like that in the

     5    historical documentation.

     6           Q      Then on page 11, you state --

     7                  MR. McCLAIN:   Jim, when do you want to

     8    have lunch?     Because this is just going to keep

     9    going on until you say stop.

    10                  THE WITNESS:   What time is it getting to

    11    be?

    12                  MR. ZAGER:   It's 12:25.    If you want to

    13    stop, we can stop.     Are you ready for a lunch

    14    break?

    15                  THE WITNESS:   Yeah, I'm ready for a

    16    lunch break.

    17                  MR. ZAGER:   Okay.   What do you guys want

    18    to do?

    19                  MR. McCLAIN:   How would we know?

    20                  THE VIDEOGRAPHER:    Going off the record.

    21    The time is 12:25 p.m.

    22                  (Lunch recess.)

    23                  THE VIDEOGRAPHER:    Going on the record.

    24    The time is 1:15 p.m.

    25    BY MR. ZAGER:



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     1           Q     Dr. Wells, before the break, we started

     2    looking at page 11 of your report, which has been

     3    marked as Exhibit 2, your original report.          Let's

     4    go ahead and take a look at the bottom of page 11.

     5                 Are you there?

     6           A     Yes, I am.

     7           Q     Okay.    The last full sentence says:       "To

     8    my knowledge, there's never been a serious

     9    investigation in whether Mallin-" -- I'm sorry,

    10    "whether AEC, Mallinckrodt, and/or Cotter allowed

    11    other entities to remove waste from SLAPS or Latty

    12    Avenue for use as fill in construction projects."

    13                 Did I read that correctly?

    14           A     Yes.

    15           Q     And, actually, right above that, you

    16    refer to this January 20, 1989, letter to the

    17    St. Louis Airport Authority.       Correct?

    18           A     Correct.

    19           Q     I just want to be clear, are you

    20    offering any opinions in this case that

    21    Mallinckrodt allowed waste to be taken from SLAPS

    22    and used as fill material in construction

    23    projects?

    24           A     No.    What I'm really doing here is to --

    25    to point out that that's another migration pathway



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     1    that we've observed at different kinds of sites,

     2    like uranium mine tailing sites.        And as I say

     3    here, you know, we really -- there doesn't appear

     4    to be any information about whether that happened

     5    or to what degree.

     6           Q      I don't want to belabor the point if

     7    you're not directing that at Mallinckrodt.

     8                  Is it fair to say that at this point in

     9    time you don't have any evidence that Mallinckrodt

    10    did anything inappropriate with the waste

    11    materials at SLAPS as far as allowing them to be

    12    taken offsite and used as fill material?

    13           A      I think the way I'd answer that is I --

    14    I don't have any information about that one way or

    15    the other.

    16           Q      Okay.   Let's go then to the next page,

    17    Exhibit 12 of your report, specifically opinion 3,

    18    which states:     "Past offsite effluent

    19    concentrations, air, water and sediment can be

    20    estimated at the boundaries of SLAPS and Latty

    21    Avenue using existing data and modeling."

    22                  Did I read that correctly?

    23           A      Correct.

    24           Q      Okay.   First, you mentioned modeling

    25    there.     Did you perform any modeling?



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     1           A     I performed some calculations, but I

     2    don't think I would call it modeling.

     3           Q     Okay.   The calculations you're talking

     4    about are referred to in your report?

     5           A      They are indeed.

     6           Q     Okay.   Did you rely on any modeling that

     7    was done by others?

     8           A      Yes, I did.

     9           Q     What modeling did you rely on that was

    10    done by others?

    11           A     I relied on modeling that was done

    12    actually by Dr. Till and his team in the 2018 RAC

    13    report.

    14           Q     Okay.   How did you use the modeling that

    15    was done by Dr. Till in the 2018 RAC report?

    16           A     Well, like, for example, for the Latty

    17    Avenue site, Dr. Till did an analysis of airborne

    18    flux of contaminants due to the waste drying

    19    operation.    And he didn't -- he had his own

    20    purposes.    He didn't calculate these effluent

    21    limitations or effluent concentrations at the

    22    fence line.

    23                 So I was able to use his modeling to

    24    derive some additional information that would be

    25    relevant to my report.



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     1           Q     All right.    That was specific to Latty

     2    Avenue?

     3           A     Right.

     4           Q     Did you use Dr. Till's modeling from his

     5    2018 report for anything related to SLAPS?

     6           A     Let me just review this work.        (Peruses

     7    document.)

     8                 No, I really didn't use any modeling

     9    results from Dr. Till's work on the SLAPS site.

    10           Q     Okay.    In the, I guess, second full

    11    paragraph that starts with "Briefly," you write:

    12    "Briefly, it is my opinion that effluent

    13    limitations for water may not have been exceeded,

    14    but effluent limitations for air were exceeded at

    15    both SLAPS and Latty Avenue."

    16                 Did I read that correctly?

    17           A     Yes.

    18           Q     All right.    Let's break that in -- into

    19    two parts.

    20                 First, where it says, "it is my opinion

    21    that effluent limitations for water may not have

    22    been exceeded," is that still your position?

    23           A     That is still my position.       I think I

    24    would -- if I was rewriting this, which I don't

    25    intend to do, I would -- I would say it a little



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     1    differently, which is we don't have enough

     2    information to determine that.        But -- so another

     3    way to put it would be the available evidence,

     4    which is pretty incomplete, doesn't show effluent

     5    limitation exceedances for water.

     6            Q    Okay.   You and I talked earlier about

     7    your position that the sediment content of water

     8    discharged offsite is not part of the limit for

     9    the water effluent releases, correct?

    10            A    That's my interpretation.

    11            Q    Do you have any data or measurements of

    12    the sediment that was allegedly released at the

    13    fence line from SLAPS?

    14            A    Well, there -- there is some data on

    15    that.    I mean, going back to the 1948 AEC report,

    16    they measured contaminant levels in what they

    17    called mud.    But then later on in the late '60s,

    18    there were studies that were done by Oak Ridge

    19    National Laboratory or its contractors that also

    20    looked into sediment concentrations.

    21                 And then subsequently, U.S. Army Corps

    22    of Engineers under the FUSRAP program collected a

    23    lot of data, not only near the fence line but also

    24    down gradient.

    25            Q    Okay.   The 1948 testing was done by the



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     1    Army -- I'm sorry, that was done by the Atomic

     2    Energy Commission, correct?

     3           A     I think that's correct.

     4           Q     Assuming that Mallinckrodt's operations

     5    at SLAPS did not start until they were under

     6    contract on July 20th, 1953, then the releases

     7    reported in the 1948 report would have occurred

     8    before Mallinckrodt was managing SLAPS, correct?

     9           A     I believe that is correct.

    10           Q     Okay.   You mentioned some testing in the

    11    1960s that was done by Oak Ridge.        Do you know

    12    when that was done?

    13           A     Let's see.    (Peruses document.)

    14                 I'm not seeing the report cited here.         I

    15    think it is cited, but there is -- there was a

    16    report about a characterization of ditches, and so

    17    I don't have the exact date.

    18           Q     Then you also talked about the Army

    19    Corps of Engineer data.      That would have been

    20    collected as part of the FUSRAP program, correct?

    21           A     Correct.

    22           Q     For any of that data other than -- well,

    23    let's exclude the -- the 1948 because we know that

    24    that was earlier.

    25                 But the Oak Ridge laboratory testing or



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     1    the Army Corps of Engineer FUSRAP testing, does

     2    any of that allow you to determine or quantify

     3    releases in a given year or a given 12-month

     4    period?

     5           A     I haven't been asked to do that.        As I

     6    sit here, I don't want to say that that's not

     7    possible because I -- I might be able to think

     8    about that and think of -- try to think of a way

     9    of reconstructing that kind of detailed

    10    information.    But as I sit right here, I -- I just

    11    think there's not enough time series data to be

    12    able to be that precise.

    13           Q     Okay.   Then with respect to the second

    14    part of that sentence where it talks about

    15    effluent limitations for air were exceeded at both

    16    SLAPS and Latty Avenue, looking specifically at

    17    SLAPS, I believe you're going to talk about

    18    releases of radon-222 and thorium-230; is that

    19    correct?

    20           A     Well, it's the -- my opinion that it's

    21    radium-230 that did exceed the effluent guideline.

    22                 I have some tabulations here of multiple

    23    elements, radionuclides.       It's all derived

    24    actually from a uranium measurement.

    25           Q     Rather than get bogged down on this



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     1    sentence, I'm just asking --

     2            A     Yeah.

     3            Q     -- the specific opinions that you have

     4    about effluent limitations for air being exceeded

     5    at SLAPS, those are then addressed in more detail

     6    in your report, fair?

     7            A     Yes, they are.

     8            Q     Okay.   Let's go to page 13 of your

     9    report.     In the first full paragraph you write:

    10    "I am not aware of any comprehensive surface water

    11    sampling from either the SLAPS site or Latty

    12    Avenue prior to removal of the waste piles."

    13                  Did I read that correctly?

    14            A     Yes.

    15            Q     All right.   What surface water sampling

    16    have you seen from SLAPS prior to the -- the waste

    17    piles being removed?

    18            A     There's surface water sampling, again

    19    conducted in 1948, and then there are annual

    20    monitoring reports that include sampling of water

    21    and air through the '60s.       I haven't seen every

    22    single one, but I think that there are annual

    23    reports that were produced regarding the SLAPS

    24    site.

    25            Q     Okay.   So when you say that you haven't



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     1    seen comprehensive surface -- for surface water

     2    sampling, what do you believe you have not seen?

     3                 MR. McCLAIN:    Objection.

     4                 THE WITNESS:    Well, what I haven't seen

     5    is the kind of sampling that Army Corps of

     6    Engineers, you know, broadly conducted much later.

     7    So because surface water, like many environmental

     8    media, is super variable in terms of its ability

     9    to transport contamination, you -- one needs a

    10    fairly robust sampling program or monitoring

    11    program in order to fully characterize the nature

    12    of a release or a potential release.

    13                 So we have some scattered data, but, you

    14    know, it -- as -- as I answered your last question

    15    or -- or a few questions ago, it's really not

    16    enough to get a good handle of what the

    17    concentrations were in a given year, when the

    18    waste piles were still there, what were they like

    19    during the rainy season as opposed to the dry

    20    season, things like that.

    21    BY MR. ZAGER:

    22           Q     Okay.   So you just simply don't have

    23    enough -- you haven't seen enough data, although

    24    there is some testing data, fair?

    25           A     There is some testing data, and we also



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     1    know from after the fact that there's, you know,

     2    contamination down Coldwater Creek.         So that tells

     3    us a little something about the mass flux, but

     4    I -- I would generally agree with your question.

     5            Q    Okay.   In your review of materials in

     6    this case, did you find anything where the Atomic

     7    Energy Commission was critical of the level or

     8    quantity of testing that Mallinckrodt was

     9    performing of the water or of the air?

    10            A    I didn't see any documentation of that

    11    sort.

    12            Q    Okay.   You -- you mention in that same

    13    paragraph later, and you're talking about some

    14    testing that was done in 1948, that the -- the

    15    measurement corresponds to 7,000, I guess it would

    16    be, micrograms per liter, which vastly exceeds the

    17    current drinking water standard for uranium of

    18    30 micrograms per liter.       Is that correct?

    19            A    Correct.

    20            Q    All right.    You're certainly not saying

    21    that the current drinking water standard applied

    22    to anything that Mallinckrodt did back from '53 to

    23    '66, are you?

    24                 MR. McCLAIN:    Object to the form of the

    25    question.



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     1                 THE WITNESS:    That's not what I'm really

     2    saying here.    What I'm saying here is that of the

     3    sparse data that we do have, that there are

     4    indications that there was a lot of contamination,

     5    you know, flowing down that creek, at least at

     6    times, and we don't have enough information to

     7    fully reconstruct that mass flux.

     8    BY MR. ZAGER:

     9           Q     You mentioned that the measurement

    10    corresponds to 7,000 micrograms per liter.          What

    11    was the standard at that time?

    12           A     To my knowledge, there would not have

    13    been a drinking water standard for uranium at that

    14    time, at least not nationwide.

    15           Q     What was the standard under the 1960

    16    10 CFR 20.106 standard?

    17           A     Well, that's where it starts to get a

    18    little complicated.      There -- there isn't a

    19    standard as expressed in these units.         See, these

    20    are mass units, and the standards in 10 CFR

    21    Section 20 are in activity units of individual

    22    radionuclides, and so there -- there actually is

    23    not a standard for just total uranium measured as

    24    a mass, as a concentration.

    25           Q     Did you take the 7,000 micrograms per



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     1    liter that was reported in the AEC testing from

     2    1948 and break that out for any particular

     3    radionuclides so that you could compare it to the

     4    20.106 release limits?

     5           A     No, I didn't do that.

     6                 (Exhibit No. 7 was marked for

     7                 identification.)

     8    BY MR. ZAGER:

     9           Q     I'm going to hand you what I marked as

    10    Exhibit 7.

    11                 Just go ahead and take a look at that,

    12    and tell me if you recognize that document.

    13           A     (Peruses document.)

    14                 Yeah, this looks like the 1948 sampling

    15    document that we've been talking about.

    16           Q     That's dated November 1st, 1948?

    17           A     That's correct.

    18           Q     Okay.    Down at the bottom of the cover

    19    page, is it marked "Confidential"?

    20           A     It is.

    21           Q     Is there any suggestion on here that

    22    this report was sent to -- strike that.

    23                 Is there any type of carbon copy or

    24    anything like that that lists Mallinckrodt as

    25    being a recipient of this report?



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     1                 MR. McCLAIN:    Objection to the document.

     2    It's its own best evidence.

     3                 THE WITNESS:    There is actually no

     4    recipients at all that are, you know, listed on

     5    this report.

     6                 MR. McGAHREN:     What number is this one?

     7                 MR. ZAGER:     It's No. 7.

     8                 MR. McGAHREN:     Thank you.

     9    BY MR. ZAGER:

    10            Q    Let's go to the second page of

    11    Exhibit 7.

    12                 Down below the numbers or the numbered

    13    paragraphs, it says:      "However, no final

    14    conclusion should be drawn from these samples."

    15                 Did I read that correctly?

    16            A    I'm sorry, I'm looking on the second

    17    page.    Maybe you're looking at the page that's

    18    labeled number 2, because I -- I don't see that.

    19            Q    Can I see your -- yeah, there you go.

    20    Right underneath -- you see 1 and 2?

    21            A    Oh, yes.    Okay, I'm with you.

    22            Q    Do you know why the government was

    23    saying that no final conclusion should be drawn

    24    from these samples?

    25            A    No, I -- I don't know why they would



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     1    have said that.

     2           Q     In other words, this would show that

     3    they were releases into the creek in 1940 -- 1948

     4    or prior, correct?

     5           A     Correct.

     6           Q     Do you know if the government continued

     7    to do additional testing after this report that

     8    you relied on?

     9           A     I'm trying to think back through the --

    10    the documentation.      You know, they -- they say

    11    here on this very same page that more samples

    12    should be taken under different weather

    13    conditions.    I didn't see any evidence that that

    14    was done.

    15           Q     Do you know if they made any changes to

    16    the site based on this testing or subsequent

    17    testing of water samples?

    18           A     Well, as -- as we talked about earlier,

    19    I know that at some point in the history of the

    20    site, they did install a sedimentation basin.

    21           Q     I believe you told us earlier that this

    22    particular report doesn't say one way or the other

    23    how they tested the water or whether or not they

    24    removed any type of sediment; is that correct?

    25           A     I don't believe it does.



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     1            Q    Okay.   You can set that aside.

     2                 MR. McCLAIN:    Or the fact that it was

     3    tested under unusual conditions.        It does say

     4    that.

     5                 I don't understand why they tried to

     6    sample during a flood.

     7    BY MR. ZAGER:

     8            Q    All right.    Let's go down to the bottom

     9    of page 13 of your report.

    10            A    Okay.

    11            Q    There you talk about some testing that

    12    was done and some data that was collected after

    13    the waste piles were removed, correct?

    14            A    At the bottom of page 13.

    15            Q    Where -- where you reference your

    16    Table 1.

    17            A    I -- I know I talk about some samples

    18    that were taken after the waste piles were

    19    removed, but I don't see it on page 13.

    20                 Oh, at the very bottom.      Yeah.

    21            Q    It says:    "Thus, in my opinion, the data

    22    included on Table 1 is reasonably representative

    23    of water concentrations from both sides that

    24    prevailed after the waste piles were removed but

    25    before the FUSRAP remedial actions had been



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     1    complete."

     2                 Did I read that correctly?

     3           A     Yes.    Thank you.

     4           Q     Then in Table 1, just generally explain

     5    to me what it is you included in that table.

     6           A     Table 1 provides a summary of the

     7    effluent limitations as published in Section 20 of

     8    10 CFR.    And it does some unit conversions.

     9                 And then on the right-hand side, that's

    10    a tabulation of the -- some of the sampling data

    11    that I was able to find that had been collected

    12    after the waste piles had been removed.

    13           Q     Okay.    So in the middle three columns,

    14    we have effluent limitations for water.         The one

    15    on the far right-hand side is picocuries per --

    16           A     Liter.

    17           Q     -- liter.    Oops, liter.

    18                 Then to the right of that, you have

    19    actual measurement data?

    20           A     Correct.

    21                 And then the -- the letter footnotes

    22    under the column "Source," that's where I tried to

    23    show where that measured data came from.

    24           Q     Is it fair to say that Table 1 then

    25    would be showing the average annual concentrations



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     1    of material that was running offsite after 1966

     2    when the site -- when the material was removed

     3    from SLAPS?

     4                 MR. McGAHREN:     Objection.    Form.

     5                 THE WITNESS:    I don't want to go so far

     6    as to say that it's representative of an average.

     7    I just don't think we have enough information

     8    about that.    I -- I used the term "reasonably

     9    representative."

    10                 And I'm not trying to be wishy-washy,

    11    but what we're trying to do here is reconstruct an

    12    environment that frankly wasn't very well

    13    documented.    So I'm going to stick with that

    14    terminology that it's "reasonably representative."

    15    I don't want to give a sense that there's some

    16    kind of statistical precision that I'm offering

    17    up.

    18    BY MR. ZAGER:

    19           Q     Okay.   But it is the average of the data

    20    that you have for each annual period.         Fair?

    21           A     No, these -- these are discrete

    22    monitoring results.

    23           Q     Okay.   So these are individual

    24    measurements that you're then just comparing to

    25    the 10 CFR release limit?



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     1           A     That's right.     And I will say that in

     2    some of these reports, there were multiple samples

     3    that were reported, and in those cases, I actually

     4    reported the maximum concentration that -- that

     5    was tabulated.

     6           Q     Okay.   So after the -- the waste was

     7    removed in approximately 1966, I think we're in

     8    agreement that Mallinckrodt was no longer

     9    operating the site at that time, correct?

    10           A     That's my understanding is that they

    11    stopped operating in about 1966.

    12           Q     And Table 1 shows that after that point

    13    in time when Mallinckrodt was no longer operating

    14    the site, there was still some release of

    15    material from -- to the extent these apply to

    16    SLAPS, there was release of material from SLAPS.

    17           A     The -- the answer is yes.

    18           Q     And I believe what you told us was for

    19    the period of time when the waste materials were

    20    still being warehoused at SLAPS, we just don't

    21    have enough data to be able to calculate any type

    22    of a annual average or release for purposes of

    23    comparing that to the 10 CFR water effluent

    24    limitations, fair?

    25           A     That's not exactly the way I would put



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     1    it.

     2           Q      Okay.   Go ahead and put it in your own

     3    words.

     4             A    Okay.

     5           Q      I believe we talked about this -- this

     6    earlier.     I thought that's what you said before,

     7    but certainly explain it in your own words.

     8             A    Okay.   Well, I just want to make a

     9    couple points, and that is that the effluent

    10    limitations in Section 20, 10 CFR, they're not

    11    average annual concentrations.        So those are --

    12    those are just discrete, you know, concentration

    13    limitations or activity limitations.

    14                  I didn't try to reconstruct any kind of

    15    annual concentration timeline.        There's a little

    16    bit of data from the SLAPS site from the period in

    17    which the waste piles were present.         That little

    18    bit of data does not indicate an exceedance.          So

    19    my -- I'm not sure exactly what my language is in

    20    here, but my language is that I don't have

    21    evidence that there were exceedances of these

    22    water limitations during that period of time.

    23             Q    Okay.   Let's step back.    I want to ask

    24    you something about 20.106.       Is it your

    25    understanding that Appendix B that has the



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     1    effluent limitations for water and air, that that

     2    is not supposed to be an annual average release

     3    rate; that you could actually violate 20.106 by

     4    just a single test that exceeds the release limit?

     5             A    That's my understanding.

     6           Q      All right.   Let's take a look at

     7    page 14, your section on radon releases from

     8    SLAPS.

     9                  You have some measurement data there in

    10    the first paragraph; is that correct?

    11           A      That's correct.

    12           Q      Looking at your footnote, it appears

    13    that all of the radon measurement data would have

    14    been from 1948, correct?

    15           A      I'm -- I'm just pausing because that --

    16    that's what I'm citing here.       I can't say sitting

    17    here whether there are other radon measurements at

    18    different times, because certainly there would

    19    have been.

    20           Q      But if we look at that paragraph titled

    21    "Radon Releases from SLAPS," you cite two

    22    footnotes, 34 and 35; is that correct?

    23           A      That is correct.

    24           Q      Okay.   And then the first items that are

    25    listed there are -- were the 1948 AEC radon



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     1    samples taken in the airport area; is that

     2    correct?

     3           A     Correct.

     4           Q     We've already talked about how

     5    Mallinckrodt's contract for SLAPS started in

     6    July 20th, 1953.     Obviously, the 1948 testing

     7    preceded that, correct?

     8           A     Correct.

     9           Q     Other than the 1948 testing data, do you

    10    have any other testing data or measurements for

    11    radon releases from SLAPS?

    12           A     So that's not something that -- that I

    13    was asked to do.     There are additional radon

    14    measurements.    I haven't tabulated them.        It's --

    15    that's not part of my opinion here.

    16                 You know, my original mandate was to

    17    evaluate the available data and -- and compare

    18    that against the 10 CFR Section 20 effluent

    19    limitations.    So I -- it just isn't something

    20    that's part of this report.

    21           Q     Okay.   As far as this report, Exhibit 2,

    22    is concerned, then the only radon measurement data

    23    that you have for SLAPS is the 1948 report?

    24           A     That's the only data that I'm relying on

    25    for this opinion that the effluent limitation was



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     1    exceeded.

     2           Q     Okay.   So then the effluent limitation

     3    would have been exceeded in 1948, correct?

     4           A     Correct.

     5           Q     Can you identify any year after 1948 for

     6    which there would have been an effluent limitation

     7    exceeded for radon at SLAPS?

     8           A     Well, it's my opinion that as long as

     9    the waste material remained on the site, these

    10    measurements would have been representative of the

    11    sorts of radon emissions that were occurring

    12    across that entire time.

    13           Q     Okay.   We'll get to that, but let me

    14    back up first to -- let's talk first about

    15    measurements.

    16                 Do you have any measurement data after

    17    1948 for radon releases from SLAPS?

    18           A     Well, once again, I -- it wasn't, you

    19    know, within my scope of work to compile that --

    20    that data, so it's not cited in this report.

    21           Q     Okay.   I appreciate that.      I think

    22    that's -- that's a fair response.        You only do

    23    what you're asked to do.

    24                 But, nonetheless, given that you've

    25    looked at the material, there's this opinion in



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     1    here.

     2            A    Yes.

     3            Q    I just want to know is there any other

     4    testing data that I need to be talking to you

     5    about, after 1948?

     6            A    You know, there is additional testing

     7    data that I'm aware of.      We could pull it out and

     8    talk about it, but this is the basis for this, you

     9    know, fairly constrained opinion.

    10            Q    Okay.   The basis for this fairly

    11    constrained opinion is the 1948 testing.

    12            A    And my opinion that that's

    13    representative of the kinds of radon emissions

    14    that would have continued as long as the waste

    15    piles were there.

    16            Q    What radionuclides at SLAPS were capable

    17    of producing radon?      And specifically, we're

    18    talking about radon-222, correct?

    19            A    We are.

    20                 Well, it's -- you know, radium-226 is

    21    the radionuclide that forms radon-222.

    22            Q    Do you know what material -- and again,

    23    we've talked about how the material out there was

    24    classified using largely alphanumeric

    25    designations.



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     1                 What material by alphanumeric

     2    designation had radium-226 in it?

     3           A     You know, I don't have the precise

     4    concentrations or activity levels in my head, but

     5    all the materials contained some degree of

     6    radium-226 and -- and its parent product

     7    thorium-230.

     8           Q     Okay.

     9           A     They did have different -- different

    10    mixes.

    11           Q     With respect to your position that

    12    the -- the wastes were, I believe you state,

    13    "broadly representative" -- strike that.

    14                 With respect to your position that the

    15    1948 testing or measurements are broadly

    16    representative of emissions from SLAPS up

    17    through 1966, did you perform any type of

    18    calculations based on the individual makeup of the

    19    material?

    20           A     No, I didn't.     This is -- this is one

    21    part of my report where I was relying on

    22    measurements and not on calculations.

    23           Q     Okay.   You write in your report on

    24    page 14:    "Although material progressively

    25    removed" -- strike that.



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     1                 "Although material was progressively

     2    removed from the site starting in the 1950s, a

     3    large volume of waste remained at SLAPS until it

     4    was transferred to HISS in 1966."

     5                 Did I read that correctly?

     6           A      Yes.

     7           Q     Are you aware of any material that was

     8    removed from SLAPS from the time of the 1948

     9    testing that you reference in your report up until

    10    July 20th, 1953, that would have reduced radon

    11    emissions from SLAPS?

    12           A     Well, I don't -- I don't remember the

    13    exact date, but, you know, one of the emission

    14    sources was the drummed waste that was called the

    15    K-65 waste.    And I am aware that -- that some or

    16    all of that waste was removed back to the downtown

    17    site, and then apparently the -- the drums were

    18    returned back to SLAPS.

    19           Q     Where did the actually K -- where did

    20    the actual K-65 material go?

    21           A     I don't know.

    22           Q     Do you know what the radionuclide

    23    content was of the K-65 material?

    24           A     I mean, I -- I broadly know that it

    25    was -- it was very high, relatively speaking, in



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     1    radium-226 and some other radionuclides.

     2            Q    So to put this in perspective, the K-65

     3    was heavily -- or had a high content of

     4    radium-226, correct?

     5            A    Right.

     6            Q    The direct daughter product in the decay

     7    series from radium-226 is radon-222, correct?

     8            A    Correct.

     9            Q    You said that you understand that the

    10    K-65 material was moved to the downtown site at

    11    some point, and then you don't know where it went,

    12    correct?

    13            A    Right.

    14            Q    The removal of the K-65 from SLAPS would

    15    have reduced the production of radon at SLAPS,

    16    correct?

    17            A    It would have reduced the production of

    18    radon at SLAPS.     It wouldn't necessarily have

    19    reduced the concentrations in air at the fence

    20    line.

    21            Q    Why is that?

    22            A    Well, because all the other waste

    23    materials were -- were still there, and this -- I

    24    mean, sure, there would be some possibly

    25    unmeasurable change, but the other waste



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     1    materials, which occupied a much larger area and

     2    also were uncontained, also were producing

     3    radon-222.

     4            Q    But you can't quantity the amount of

     5    radon-222 being produced by the non-K-65

     6    materials, fair?

     7            A    I can't -- I can't specify precisely

     8    what the difference would be.

     9                 (Exhibit No. 8 was marked for

    10                 identification.)

    11    BY MR. ZAGER:

    12            Q    I'm going to hand you what I marked as

    13    Exhibit 8.

    14                 Take a look at Exhibit 8 and tell me if

    15    you recognize that document.

    16            A    I do recognize this document.        This is a

    17    1948 document about radon samples at the airport

    18    site.

    19            Q    Okay.   But this is the actual testing

    20    information that you relied on with respect to

    21    your opinion that there were exceedances of the

    22    federal regulatory limit for radon at SLAPS,

    23    correct?

    24            A    That is correct.

    25            Q    Okay.   Let's take a look at the second



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     1    page of the document, which is actually the -- the

     2    letter.    Do you see that?

     3           A     Yes, I do.

     4           Q     Okay.   This is on letterhead from the

     5    United States government, correct?

     6           A     Correct.

     7           Q     The first full paragraph there says:         "A

     8    survey was made at the airport area in order to

     9    determine the concentration of radon in the air,

    10    the source of this contamination being the K-65 in

    11    and around the storage shed."

    12                 Did I read that correctly?

    13           A     Yes.

    14           Q     Okay.   Let's go then to, I guess it

    15    would be, the third page of Exhibit 8.

    16                 That's a table that lists their

    17    readings, correct?

    18           A     Let's see.    Yes, it is.

    19           Q     Okay.   These are the -- this is the data

    20    that you cite in your report, correct?

    21           A     It -- the value of 210 picocuries per

    22    liter is -- is cited here, yeah.        That's the

    23    source.

    24           Q     And so if we look up above, we see that

    25    they took measurements at passageway number 1



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     1    shed, passageway number 2 shed, passageway

     2    number 3 shed; is that correct?

     3           A     Correct.

     4           Q     The percent of tolerance for those

     5    measurements was very high, including one of them

     6    that was 2,380 percent or times the tolerance.

     7           A     Correct.

     8           Q     Those are in the shed area.       Fair?

     9           A     That's fair.

    10           Q     All right.    Is it your understanding

    11    that the K-65 was actually stored in the shed?

    12           A     That's my understanding, it was stored

    13    in or maybe around a shed.

    14           Q     Okay.

    15           A     Yeah.

    16           Q     Then the -- the number that you cite in

    17    your report for the 210 percent of tolerance says

    18    200 feet north of passageway number 2.         Is that

    19    correct?

    20           A     Right.

    21           Q     Do you know where that was located

    22    actually on the property?

    23           A     You know, I can't -- I can't think of

    24    exactly which report further cites this data

    25    because I don't think -- oh, yeah, this does have



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     1    a little map.    So we can see this on the map.

     2    This is sample R -- 10-R51.       And R51 is shown here

     3    on sort of the north side of the site.

     4                 (Counsel conferring.)

     5    BY MR. ZAGER:

     6           Q     Doctor, I'm going to hand you a

     7    highlighter.    Could you just mark where you

     8    believe that sample was collected from on the map

     9    that's contained in Exhibit 8.

    10           A     Yeah, let me just make sure I gave you

    11    the right number.

    12                 MR. SODEN:    I'm not sure they'll want

    13    colored.   You'd probably better use a pen.

    14                 THE WITNESS:    (Witness complies.)      Okay.

    15    BY MR. ZAGER:

    16           Q     Can I see -- can I see what you marked?

    17           A     Yeah.

    18           Q     Okay.   So according to the description,

    19    then that would be approximately 200 feet away

    20    from the sheds where the K-65 was stored, correct?

    21           A     I think that's about right.

    22           Q     Okay.

    23                 (Exhibit No. 9 was marked for

    24                 identification.)

    25    BY MR. ZAGER:



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     1           Q     Next I'm going to hand you what I marked

     2    as Exhibit 9.

     3                 Have you ever seen this document?

     4           A     I'm not sure.     Can you tell me what this

     5    table is from?     It seems to be an excerpt from a

     6    report.

     7           Q     I don't recall.

     8           A     I don't -- you know, there are a lot of

     9    big voluminous documents, so I don't want to say

    10    I've never seen this, but I -- it doesn't look

    11    familiar to me.

    12           Q     Okay.    If you look at the second line

    13    down in the table, it says:       "K-60" -- "K-65

    14    Radium-bearing residue."

    15                 Did I read that correctly?

    16           A     Right.

    17           Q     Okay.    And then if we go over and you

    18    look at -- I guess at the top, it's got, you know,

    19    "April 1959," "June 1960," "November 1965."

    20                 The tonnage for each of those years for

    21    the K-65 radium-bearing residue is zero across the

    22    board, correct?

    23           A     That's what it says, yes.

    24           Q     Okay.    Then if we look over to the right

    25    column, it says "Disposition," correct?



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     1            A    Right.

     2            Q    Then if you go down to radium -- I'm

     3    sorry, the K-65 radium-bearing residue, it says

     4    '48 and '49, and then number 7, which corresponds

     5    at the bottom to Lake Ontario, New York storage

     6    site.

     7                 Is that correct?

     8            A    That's what it says.

     9            Q    Okay.    Do you have any reason to

    10    disagree that the K-65 that was stored at SLAPS

    11    was removed to the Lake Ontario, New York storage

    12    site in 1948 and 1949?

    13            A    Well, once again, I -- I testified

    14    earlier I didn't know its ultimate disposition.

    15    But, yeah, I -- I do agree that the record shows

    16    that this material -- which, by the way, was

    17    stored in drums, closed drums -- was removed from

    18    the SLAPS site.

    19            Q    Closed drums or disintegrating drums?

    20            A    Well, that's a good point.       Yeah, they

    21    were reported as -- as being damaged.

    22            Q    Okay.    Given that we have testing from

    23    1948 that states that they are looking at the

    24    radon being produced by the K-65, and we know --

    25    or this document tells us that the K-65 material



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     1    was moved offsite in 1948 and '49, would you agree

     2    with me that that testing data in 1948 is not

     3    representative of what would have occurred in '50

     4    through '66?

     5            A    I don't completely agree with that, no.

     6    I mean, certainly in 1948, the report we're

     7    talking about, there were radon samples that

     8    were -- or analyses that were taken right in the

     9    shed and, you know, right around the drums.

    10    Clearly that's indicative of emissions from the

    11    K-65 material.

    12                 But this -- this sample that I'm talking

    13    about was on the property line, and so there would

    14    have been, you know, turbulent flow and a mixture

    15    of radon from all the sources on the site.

    16            Q    Okay.   What was the prevailing wind

    17    direction at SLAPS?

    18            A    I don't know the prevailing wind

    19    direction.

    20            Q    Do you know what portion of the

    21    radium-226 material that was on site -- strike

    22    that.

    23                 Can you state to me to a reasonable

    24    degree of scientific certainty the amount of any

    25    radon-222 release from SLAPS for the period of



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     1    time, say, from 1950 up to 1966?

     2            A    Well, just as for the -- our discussion

     3    of water, I don't believe that we have enough

     4    information to reconstruct something like an

     5    annual flux.

     6                 But I stick by my contention that this

     7    measurement made at the fence line or near the

     8    fence line in 1948 is indicative -- I use the term

     9    "broadly representative" -- of emissions

    10    through 1966 when the remainder of the waste was

    11    removed.

    12            Q    Even though you don't know what portion

    13    of the remaining material contained radium-226?

    14            A    Well, it all contained radium-226.

    15            Q    You don't know the percentage of the --

    16    of the material on site after the K-65 left, you

    17    don't know what percentage of that was radium-226?

    18            A    We can easily look that up.       I mean,

    19    that -- that kind of information is known, but

    20    I -- as we sit here now, no, I don't.

    21            Q    And you didn't put that in your report,

    22    fair?

    23            A    There's a little bit of -- of that

    24    because we talk a little bit about the mean

    25    concentrations in some of the residues, but I



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     1    don't talk about the K-65.

     2           Q     You relied on certain information from

     3    the RAC report, but you did not rely on their

     4    calculation of radon flux at years after 1948.

     5    Correct?

     6           A     Yeah, that's -- that's correct, because

     7    what they came up with was a flux, as I recall,

     8    and I was really -- because of my assignment, I

     9    was really looking for an activity concentration.

    10           Q     Just to be clear then, is it your

    11    opinion -- are you -- do you intend to offer the

    12    opinion that from 1950 to 1966 that -- that there

    13    were exceedances of the 10 CFR 20.160(a)

    14    limitation on releases of radon-222?

    15           A     At the SLAPS site?

    16           Q     Yeah.

    17           A     If asked, I would -- I would say, yes,

    18    that is my opinion.

    19           Q     The basis for that is the 1948 testing

    20    and your belief that there was other radium-226

    21    material on site.

    22           A     That's correct.

    23           Q     Could you take RAC's flux calculations

    24    and calculate out the activity concentration so

    25    that you could compare that to the 20.106



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     1    standard?

     2           A     One -- yeah, one could probably do that.

     3    Yeah, I -- I -- I did not do that.        I would need

     4    to take a closer look at their calculation, which

     5    I didn't study in detail, for SLAPS.         But it's my

     6    expectation that one could do that.         There would

     7    be a degree of uncertainty, as I talk about in my

     8    report and we've talked about here, but I think

     9    that could probably be done.

    10           Q     Okay.   Let's go ahead and take a look at

    11    page 15 of your report.      There you have a section

    12    entitled "Air Releases from SLAPS."

    13                 And on there and on the next page, you

    14    have some tables and information that you pulled

    15    together.    Why don't you just go ahead and

    16    generally explain to me how it is that you went

    17    about calculating or evaluating air releases from

    18    SLAPS for these opinions.

    19           A     Okay.   That's a fair question.

    20                 This analysis is based on a measurement

    21    of total uranium in air taken in 1960.         And in so

    22    many words, what I do in this report is show how

    23    from that measurement it's possible to develop

    24    reasonable estimates of the effluent

    25    concentrations of other radionuclides at the



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     1    fence line.

     2            Q     Okay.   So on page 15, you have a -- a

     3    chart there, and if I understand correctly, you

     4    took two tables from RAC's 2018 report and

     5    combined them into one.      Fair?

     6            A     That's -- yeah, that's basically

     7    correct.     There's -- there's nothing in this table

     8    that I calculated myself.       This is just a kind of

     9    a reference table showing the weighted average

    10    activities of the different radionuclides.

    11            Q     Is it fair to say that -- to kind of sum

    12    up this table, what you have here is, if we had a

    13    pie chart, you're figuring out -- well, strike

    14    that.

    15                  If we had a pie chart, what RAC did was

    16    kind of figure out what slices of -- of the total

    17    pie would be individual radionuclides?

    18            A     It's actually kind of the other way

    19    around.     We had information on the -- on the

    20    composition of these different wastes, which were

    21    stored more or less separately.

    22                  And what RAC has done here is they've

    23    taken that information, along with information

    24    about the amount, about how much of each of these

    25    things there was at the site, and they've



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     1    calculated, in essence, an average across all the

     2    wastes.

     3           Q     Okay.    So let's go to page 16 of your

     4    report.    Then you -- you take some total uranium

     5    measurement data from the 1960 annual testing

     6    report; is that correct?

     7           A     Correct.

     8           Q     Okay.    You write:   "Four samples were

     9    collected near the SLAPS property line, and the

    10    highest concentration of uranium detected reported

    11    as 4.5 times 10 to the negative 14" -- that would

    12    be microcuries?

    13           A     It is.    It's -- it's a funny unit,

    14    microcuries per cubic centimeter.

    15           Q     Okay.    So there -- there was sampling

    16    data, and you took the highest measurement that

    17    they had in that data, and then you performed some

    18    calculations based on that, correct?

    19           A     That's right.

    20           Q     Earlier I think you told us that under

    21    10 CFR 20.106(a), and specifically Appendix B that

    22    has the effluent limitations, that it's your

    23    belief that those limitations apply to the maximum

    24    release, correct?

    25           A     Well, they apply to any release.



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     1    They're -- they're not meant to be some kind of

     2    annual average.      I think before we were talking

     3    about an annual average --

     4           Q     Correct.

     5           A     -- and it's my -- it's my belief that

     6    that's not what they're referring to.

     7           Q     Maybe I was clumsy.

     8                 So when you apply the limits that are

     9    stated in 20.106, Appendix B, if you have a

    10    maximum concentration measurement that exceeds

    11    that, then that's a violation in your opinion.

    12    It's not an average.

    13           A     That's correct.

    14           Q     Okay.    So based on that understanding,

    15    you took -- from these four samples that you

    16    report collected in the 1960 offsite testing, you

    17    took the highest measurement, and then you figured

    18    out what the activity would be from the various

    19    nuclides that make up that measurement.

    20           A     Yeah, that's what I did.

    21           Q     Okay.    It specifically looks like you

    22    looked at uranium-238, uranium-235 -- strike that.

    23    That's not right.

    24                 The total U is made up of the three

    25    types of uranium, correct?



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     1           A     That's right.     It's kind of a two-step

     2    process.   So the first thing I did was estimate

     3    the -- kind of the speciation of the uranium

     4    species.

     5           Q     Okay.   So you take this 4.5 times 10 to

     6    the negative 14.     Walk me through what you do from

     7    there so I can understand it.

     8           A     So the table that's listed on page 16 --

     9           Q     Mm-hmm.

    10           A     -- that's the first step of this process

    11    where we speciate across the three dominant

    12    uranium isotopes.      And really all I did here is

    13    I -- I made an assumption that the uranium in the

    14    waste on this site is present in its natural

    15    isotopic abundances.      So that's what's shown on, I

    16    guess that would be, the second column.         That's

    17    just out of the literature.       I think you could

    18    look at Dr. Till's report and find the very same

    19    numbers in there.

    20           Q     That's the specific activity?

    21           A     No, it's not the specific activity.

    22    It's the mass fraction in nature.

    23           Q     Okay.   Okay.

    24           A     So if you just crack open a rock, this

    25    is -- this is how the uranium species would



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     1    differentiate.

     2           Q      Okay.

     3           A      Then I did use the specific activity of

     4    each of those isotopes to create an activity

     5    ratio.     So this total uranium measurement was in

     6    units of activity.      The activity ratio is what

     7    allows me to kind of allocate that total amount,

     8    the 4.5 times 10 to the minus 14, across these

     9    three uranium isotopes.

    10           Q      Okay.

    11           A      So that's an assumption that I think is

    12    reasonable that the uranium on the site is present

    13    in approximately its natural isotopic abundance.

    14           Q      Okay.    And then -- so you said it was

    15    two steps.    So that sounds like step 1.

    16                  And then you are going to start breaking

    17    it out into individual radionuclides, which I

    18    think takes us to Table 2, correct, at the back of

    19    your report?

    20           A      Ones that are other than uranium.

    21           Q      Right.

    22           A      Yeah.    Yeah, that's correct.

    23           Q      Okay.    So explain Table 2, "Effluent in

    24    Air for SLAPS," to me.

    25           A      Isn't it obvious?    I know I'm not



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     1    supposed to tell jokes.

     2                 So you recall we were talking about the

     3    table that I included on page 15 that provides the

     4    weighted average of the activities of the

     5    important radionuclides in all the wastes that

     6    were present at the site.

     7                 So this is -- this is kind of the key

     8    here.    What I -- once I had an estimate of the

     9    activity of uranium-238 that I was able to derive

    10    from that measurement that was actually total

    11    uranium, so it had to be corrected for

    12    uranium-238, then the activity of all the other

    13    radionuclides is a constant ratio with respect to

    14    uranium-238.

    15                 So I could basically calculate -- as an

    16    example, you'll see the very first line -- well,

    17    let's do the second line, thorium-230.         If you

    18    scroll across to the column that is labeled "As a

    19    percent of U-238."     If we look at the weighted

    20    activity fractions of the materials from the SLAPS

    21    site, you can do the simple math that the activity

    22    of thorium-230 is 1,013 percent of the activity of

    23    uranium-238.

    24            Q    Okay.

    25            A    And then there's one last thing, not to



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     1    belabor the point.     There's an assumption here

     2    that's typically made for studies of dust and

     3    contaminants in air, that the contaminants in

     4    those airborne particulates are present in the

     5    same abundances and ratios as the source.          Because

     6    the -- that weighted activity information is about

     7    the waste piles.

     8           Q     Okay.   So the result then is, if we go

     9    to Table 2, the far right column labeled

    10    "Picocuries perimeter cubed," that tells you the

    11    amount of that radionuclide in the measurement

    12    that was taken back in 1960, correct?

    13           A     To -- yeah, to a degree of reasonable,

    14    you know, scientific certainty, that's my opinion.

    15           Q     And to be clear, that's -- that starts

    16    with that maximum measurement of 4.5 times 10 to

    17    the negative 14?

    18           A     That was the maximum measurement for

    19    that reporting period.

    20           Q     Okay.   So then we compare the right

    21    column, "Picocuries to the meter cubed," to the

    22    far right column in -- in the second grouping,

    23    "Effluent Limitations for Air," correct?

    24           A     That's correct.

    25           Q     All right.    That one in parentheses,



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     1    "Picocuries to the meter cubed," that is the

     2    limit -- the effluent limit in air from 10 CFR

     3    20.106(a), Appendix B.      Fair?

     4           A      Yeah, that's right.     Those three columns

     5    aren't really new data.      I'm just converting to

     6    consistent units.

     7           Q     Okay.   So the reason why you have the

     8    "thorium-230 soluble" highlighted is because,

     9    based on this process that you just did, it's your

    10    opinion that the thorium-230 release exceeded the

    11    limit for soluble 230, fair?

    12           A     Correct.

    13           Q     Okay.   If we look at the rest of these

    14    radionuclides, because they're not shaded, they

    15    did not exceed the 10 CFR 20.106 effluent

    16    limitation, fair?

    17           A     That was my finding for this particular

    18    dataset.

    19           Q     Okay.

    20                 (Exhibit No. 10 was marked for

    21                 identification.)

    22    BY MR. ZAGER:

    23           Q     I'm going to hand you what I marked as

    24    Exhibit 10.

    25                 What is Exhibit 10?



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     1           A     Exhibit 10 is titled "Environmental

     2    Monitoring Report Part 2, Year 1960" from

     3    Mallinckrodt.

     4           Q     Okay.    This is the testing data that you

     5    relied on for the calculations that we just

     6    discussed and that are memorialized in Table 2 of

     7    your report, correct?

     8           A     That's correct.

     9           Q     Okay.    If you go down to the -- the

    10    Bates-labeled page MLCT_TParty 515.

    11           A     515.

    12           Q     Right.

    13           A     Okay.

    14           Q     That was the actual data -- the --

    15    strike that.

    16                 On Bates label page 515, that contains

    17    the actual data that you used, correct?

    18           A     That's correct.

    19           Q     Okay.    We talked earlier about some

    20    water testing data.      That's actually reported

    21    right above for the airport site, correct?

    22           A     Yes, it is.

    23           Q     Okay.    If we look at this Bates label

    24    page 515, we see that 4.5 high concentration

    25    measurement, but they also provided the average,



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     1    correct?

     2            A     They do.

     3            Q     All right.   It looks like the average is

     4    about 65 percent less?

     5            A     The average is 1.6 for that particular

     6    site, north of site, and I think they mention here

     7    that they collected six samples.

     8            Q     Okay.   As opposed to the four.

     9                  You did not use the average measurement

    10    in your calculations that we just talked about,

    11    fair?

    12            A     That's right, I didn't.

    13                  (Exhibit No. 11 was marked for

    14                  identification.)

    15    BY MR. ZAGER:

    16            Q     All right.   Let me hand you next what I

    17    have marked as Exhibit 11.

    18                  We have been talking a lot about 10 CFR

    19    20.106.     That's contained in Exhibit 11; is that

    20    correct?

    21            A     Let's see.   It does appear to be, yeah.

    22            Q     Okay.   Is -- let's go ahead and go to, I

    23    guess, page -- there's actually page numbers up --

    24            A     Okay.

    25            Q     -- on some of the right corners.       Go to



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     1    8599.

     2            A     Okay.   All right.

     3            Q     This contains the specific page that

     4    we've been talking about, which is section --

     5    or this page contains the specific section we've

     6    been talking about extensively, which is

     7    Section 20.106, correct?

     8             A    That's correct.

     9            Q     Okay.   If you go down, you see (a)

    10    there, and if you go down to the bottom, it says:

    11    "For purposes of this paragraph, concentrations

    12    may be averaged over periods not greater than one

    13    year."

    14                  Did I read that correctly?

    15            A     Yes.

    16            Q     Okay.   I believe we've talked about it

    17    now extensively, you did not use averages when you

    18    were calculating out whether or not there was an

    19    alleged exceedance of thorium-230 soluble.          Is

    20    that fair?

    21            A     That's correct.

    22            Q     Is there any reason why you did not use

    23    the average based on what's stated there in the

    24    standard?

    25            A     Well, first of all, that -- that



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     1    standard says that averages over a year may be

     2    used.    It doesn't say it must be used.       I didn't

     3    think that we had enough information -- we talked

     4    a little bit earlier at the very beginning of the

     5    day about using averages and 95 percent, you know,

     6    UCLs.

     7                 In -- in general, if you're going to try

     8    to use an average concentration, there has to be a

     9    robust enough body of data to provide a reliable

    10    estimate of the average, and I just -- it's my

    11    opinion that we just don't have that for these

    12    time periods and for these media.

    13            Q    So there -- there were six measurements

    14    for that particular location as opposed to the

    15    four that you reported, correct?

    16            A    Well, the -- the reference to four

    17    locations has to do with the --

    18            Q    Right.

    19            A    -- four different locations, not the

    20    number of measurements at each location.

    21            Q    Okay.    Fair enough.

    22                 But for the measurement location that

    23    you used 4.5, which was the maximum measurement,

    24    there were actually a total of six measurements

    25    done at that point, correct?



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     1            A    That's the way I interpret that table,

     2    yeah.

     3            Q    Okay.   Does 20.106 state a certain

     4    number of measurements that you have to have in

     5    order to be able to average it under the standard?

     6            A    No, I don't believe it does.       And I -- I

     7    think the way I would answer that is, if an

     8    average can be reliably calculated, it's

     9    permissible, but it's not required.

    10            Q    Okay.   But who gets decide -- to decide

    11    whether or not to use the average as opposed to

    12    the one-time measurement maximum?

    13            A    Well, I mean that's kind of an interplay

    14    between the license holder and -- and the

    15    regulator.    And in my case, for this purpose of

    16    trying to reconstruct some information from after

    17    the fact, I made that call.

    18            Q    Okay.   Are you aware of the Atomic

    19    Energy Commission ever stating that six

    20    measurements was not sufficient to use for an

    21    average?

    22            A    I don't -- I'm not aware that they speak

    23    to that.

    24            Q    Okay.   And again, in the report provided

    25    by Mallinckrodt for its 1960, they actually did



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     1    provide an average, though, correct?         And there's

     2    a column for it and there's a number in there.

     3           A     Yeah, I -- I'll submit to you that it's

     4    a little unclear what those -- what those values

     5    need -- mean.    But that would be my interpretation

     6    that that's the average across the six samples

     7    that were collected.

     8                 But, you know, the text of -- well,

     9    there really isn't any text to this report.          It

    10    doesn't specifically say that's what that is, but

    11    it does -- it is described or labeled on the

    12    column as average.

    13           Q     Okay.   If there were a total of six

    14    tests and 4.5 was the highest, then that would

    15    mean the other five tests were all lower than 4.5,

    16    correct?

    17           A     Yes.

    18           Q     All right.    The other thing that you do

    19    in your opinion that there was an exceedance of

    20    the thorium-230 effluent limitation is you used

    21    the measurement for soluble, correct -- or the

    22    limit for soluble, correct?

    23           A     Correct.

    24           Q     What is the limit for insoluble?        Is it

    25    more or less than the soluble limit?



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     1           A     It tends to be more than the soluble

     2    limit.

     3           Q     Is that for every radionuclide?

     4           A     I -- I haven't looked through the entire

     5    table, but -- but it certainly is a -- seems to be

     6    the pattern.

     7           Q     I should have probably had it while you

     8    were there, but if -- well, let's go ahead and go

     9    Appendix B of 20.106.

    10           A     Okay.   I'm with you.

    11           Q     Okay.   So the -- the standard that you

    12    used or the -- the limit that you used for soluble

    13    thorium-230, according to Table 2, column 1, which

    14    is the air for unrestricted sites, is -- is it 8

    15    times 10 to the negative 14?

    16           A     I'm sorry, which --

    17           Q     Well, I'll tell you what --

    18           A     -- compound are we looking at?

    19           Q     What was the limitation that you used

    20    for soluble thorium-230?

    21           A     The limitation I used was 8 times 10 to

    22    the minus 14 microcuries per milliliter.

    23           Q     Then the effluent limitation for

    24    insoluble thorium-230 is 3 times 10 to the

    25    negative 13 microcuries per milliliter, correct?



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     1           A     Boy, I'm not trying to be difficult, but

     2    I -- I can't read that.

     3           Q     Okay.   Well, I want you to assume that

     4    the limit for soluble -- strike that.

     5                 I want you to assume that the limit in

     6    1960 for insoluble thorium-230 was 3 times 10 to

     7    the negative 13 microcuries per milliliter.          Okay?

     8           A     3 times 10 to the minus 13.

     9           Q     Yeah.   And if you want a piece of paper

    10    or anything like that to -- to write that down or

    11    anything, we can certainly do that.

    12           A     Okay.

    13           Q     Between the soluble limit and the

    14    insoluble limit that I just provided you, which

    15    would allow a larger release of material?

    16           A     The insoluble effluent limitation would

    17    allow a larger release of material.

    18           Q     Okay.   In fact, it would allow a larger

    19    release of material by an order of magnitude,

    20    correct?

    21           A     Approximately an order of magnitude,

    22    yes.

    23           Q     Okay.   In your report, though, you use

    24    the soluble thorium-230.       Why did you use that --

    25    that limit as opposed to the insoluble limit that



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     1    allowed more release?

     2           A     Well, there were a couple of reasons I

     3    did that.    I did look into that, and I wanted to

     4    be sure that I was using the right value.          And I

     5    talk about that in the report that -- let's see.

     6    (Peruses document.)

     7           Q     If it helps you, I think you are

     8    probably looking for page 12.

     9           A     That's right.

    10                 There's a 1979 survey that was done by

    11    DOE where they referred to the soluble effluent

    12    limits as a comparative guide.        And then I also --

    13    I also applied, you know, kind of a precautionary

    14    principle, that we -- we didn't really have

    15    detailed quantitative information about whether

    16    these materials were best classified as soluble or

    17    insoluble.    So in order to be conservative, more

    18    protective of human health and the environment, I

    19    made an assumption that they should be classified

    20    as soluble.

    21           Q     Okay.   We can agree, though, that the

    22    issue in this case -- this isn't a cleanup case,

    23    correct?

    24           A     That's correct.

    25           Q     The FUSRAP program has already done



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     1    remediation out there, correct?

     2            A    I mean, they have done remediation.         You

     3    know, I haven't made any kind of --

     4            Q    Okay.

     5            A    -- efforts to evaluate the completeness

     6    of it, but I get that.

     7            Q    I understand that.

     8                 But, nevertheless, what you're doing in

     9    this case is a retrospective evaluation for

    10    Mallinckrodt's activities back in the 1950s and

    11    '60s to determine whether or not they violated the

    12    federal regulations, correct?

    13                 MR. McCLAIN:    Object to the form of the

    14    question.    That's not the standard.

    15                 THE WITNESS:    Well, I -- I stand by the

    16    way I describe my work in my report and these

    17    opinions, but what I was looking at is

    18    reconstructing effluent concentrations at or near

    19    the fence lines.

    20    BY MR. ZAGER:

    21            Q    Okay.   Let's come at it from this angle

    22    then.    So you mentioned the DOE 1979 report.

    23    We'll come back to that.

    24                 What chemical form was the thorium-230

    25    in at SLAPS?



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     1           A     You mean like what mineralogical form

     2    was it in?

     3           Q     Yeah, what chemical -- chemical form

     4    would it be in?      Yep.

     5           A     Well, the chemical form is thorium-230.

     6    In terms of what sort of mineralogical form it

     7    is -- it was in, I don't know.

     8           Q     Okay.    What mineralogical or chemical

     9    forms of thorium-230 would be soluble?

    10           A     Well, so this is a different kind of

    11    solubility that we're talking about.         This is --

    12    what we're really talking about here is whether or

    13    not these materials remain in particulate form if

    14    they get into your body and -- and are excreted

    15    fairly rapidly, or whether or not some of that

    16    material in a sense dissolves.

    17           Q     Right.    But if we were to go to a book

    18    on thorium-230, it would list out the different

    19    chemical forms of it and talk about solubility.

    20                 I'm just -- which of those forms would

    21    be soluble in water, for instance?

    22           A     Well, broadly, salts are more soluble in

    23    water, and things like silicates are less soluble

    24    in water.

    25           Q     Okay.    But with respect to thorium-230,



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     1    I mean can you -- can you tell me any chemical

     2    form of thorium-230 that is soluble in water?

     3           A     So this is just kind of a matter of

     4    degree.    I mean, all of these things are soluble

     5    in water to -- to some degree, and the reason you

     6    have a radium standard in drinking water is

     7    because it's a little bit soluble, but soluble

     8    enough that it can cause a problem.         Same thing

     9    with uranium.

    10                 So, frankly, all these things are, on

    11    the grand scheme of things compared to something

    12    like table salt, are pretty sparingly soluble.

    13           Q     Is there any chemical form of 230 that

    14    is insoluble in water?

    15           A     Now, once again, no.      There -- there's

    16    always some degree of solubility from a mineral

    17    into water that can be lesser or greater.

    18           Q     For instance, have you heard of thorium

    19    dicarbonate?

    20           A     I've heard of it.

    21           Q     Is it soluble in water or not?

    22           A     Well, it -- it's a mineral that's -- I

    23    would call it sparingly soluble.        I mean, it's --

    24    it's the kind of thing where if you were to crush

    25    up that mineral and put it in water, yes, a little



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     1    bit of that compound would dissolve into water.

     2           Q     Okay.    Thorium dioxide, is that soluble

     3    in water?

     4           A     Once again, these -- thorium dioxide, I

     5    don't know the exact solubility.        We can easily

     6    look it up.     But these things are --

     7                 MR. McCLAIN:    Well, then just take time

     8    and look it up.      Don't guess.    This is not a --

     9                 THE WITNESS:    Okay.

    10                 MR. McCLAIN:    This is not a --

    11    BY MR. ZAGER:

    12           Q     Maybe we can -- maybe we can cut it off

    13    at the pass here a little bit.        You don't know

    14    what the chemical form was of the thorium-230 out

    15    at the SLAPS site, fair?

    16           A     I don't know the mineralogical form.

    17           Q     Okay.    With respect to its solubility of

    18    whatever this unknown chemical form was of the

    19    thorium-230 at the SLAPS site, you haven't done

    20    any testing or analysis into that, have you?

    21           A     I haven't done any testing.       I -- I made

    22    an assumption that these materials are, while

    23    sparingly soluble in water, they are capable of

    24    dissolving in water.      I'm not a physiologist.

    25    I -- I don't want to talk about, you know, what



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     1    happens in the body, but things are even more

     2    soluble in, you know, stomach acids.

     3           Q     Did you -- okay.     When you talk about

     4    solubility -- strike that.

     5                 When you talk with solubility under

     6    these standards, we're talking about whether or

     7    not it's soluble in the human body.         Is that fair?

     8           A     I believe that's correct.

     9           Q     Okay.   Did you look up any ICRP guidance

    10    documents to see what they recommend as far as

    11    whether to characterize thorium-230 that's in the

    12    environment as soluble or insoluble?

    13           A     No, I didn't.

    14           Q     Do you know what a dose coefficient is?

    15    I understand you don't do dose work, but you

    16    understand what a dose coefficient is?

    17           A     I do, yeah, as a layperson.

    18           Q     Did you look up any ICRP guidance

    19    documents on dose coefficients related to

    20    thorium-230 to see how they characterize it to

    21    let -- to let you know whether or not it should be

    22    characterized as soluble or insoluble?

    23           A     No.

    24           Q     You mentioned the DOE report in 1979.

    25    Did they do any type of chemical analysis to say,



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     1    yes, this thorium-230 was soluble as opposed to

     2    insoluble?

     3           A      I don't think so.

     4           Q     Do you know what their basis was for

     5    saying that it was -- or characterizing it as

     6    soluble?

     7           A      The --

     8                 MR. McGAHREN:     Objection to form.

     9                 THE WITNESS:    I don't know -- I don't

    10    know the basis for their conclusion of that sort.

    11                 MR. ZAGER:     Okay.

    12                 (Exhibit No. 12 was marked for

    13                 identification.)

    14    BY MR. ZAGER:

    15           Q     I'm going to hand you what I marked as

    16    Exhibit 12.

    17                 MR. McGAHREN:     This is 12?

    18                 MR. ZAGER:     Yep.

    19    BY MR. ZAGER:

    20           Q     Have you had a chance to take a look at

    21    that real quickly?

    22           A     (Peruses document.)      Yes, I have.

    23           Q     Okay.     What is Exhibit 12?

    24           A     So Exhibit 12 appears to be the -- a

    25    copy of the 1979 radiological survey of the former



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     1    AEC St. Louis Airport Storage Site.

     2           Q        Okay.    With respect to your paragraph on

     3    page 12 of your report where you talk about the

     4    issue of solubility versus insolubility of the

     5    thorium-230, in footnote 31 you cite "DOE 1979

     6    Radiological Survey of the St. Louis Airport

     7    Site."       Is that correct?

     8             A      That's correct.

     9           Q        Specifically you cite Table 19, right?

    10           A        Right.

    11           Q        Okay.    Is that Exhibit 12?

    12           A        That's the report, yeah.

    13           Q        Okay.    Let's go ahead and turn to --

    14    it's page 58, based on the page number at the top.

    15           A        Okay.

    16           Q        Okay.    You refer to Table 19.   Let's go

    17    to page 60 of Exhibit 12.

    18           A        Okay.

    19           Q        Okay.    And down below, the bottom line

    20    on that table says:        "10 CFR 20 guideline," and if

    21    we go to thorium-230, they use the picocurie per

    22    limit -- or picocurie per liter limit of 2,000; is

    23    that correct?

    24           A        That's right.

    25           Q        Okay.    And if you go back to, I guess it



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     1    would be, page 58, you see Table 17, correct?

     2           A      Right.

     3           Q     Okay.     There the bottom line says:

     4    "10 CFR guideline," and you go over and there's a

     5    "thorium-230" column, correct?

     6           A      Yes.

     7           Q     Okay.     And down at the bottom, that says

     8    "80," and then they give an "S" for soluble,

     9    correct?

    10           A     Correct.

    11           Q     All right.     And if we look at some of

    12    the -- strike that.

    13                 So then if you go down to the number B,

    14    it says:   "More restrictive guide is given.

    15    Soluble" -- or "S equals soluble, I equals

    16    insoluble."    Correct?

    17           A     Correct.

    18           Q     Okay.     So they're just using the most

    19    conservative limit, correct?

    20           A     That's correct, and that's -- that's

    21    consistent with what I decided to do.

    22           Q     Okay.     Actually, let's go a little bit

    23    -- go back in the document, Exhibit 12, to

    24    page 17.

    25           A     17?



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     1           Q     Yep.

     2           A     Okay.

     3           Q     Down in the middle of the page, there's

     4    a heading that says "Concentrations of Long-Lived

     5    Radionuclides in Air."       Is that correct?

     6           A     Correct.

     7           Q     Okay.    And then if you go to the last

     8    sentence in that paragraph, it says:         "Also shown

     9    in Table 17 are the more restrictive concentration

    10    guides from 10 CFR, Appendix B, for airborne

    11    radionuclides."      Correct?

    12           A     Let's see.      We're right in the middle of

    13    the page.

    14           Q     Yeah, last -- last sentence.

    15           A     Yes.

    16           Q     Yep.    Okay.   So they didn't do any type

    17    of testing of the thorium-230 out there, fair?           At

    18    least not for solubility.

    19           A     That -- that's right.      They did testing

    20    for -- for thorium-230 but not for solubility,

    21    as -- as far as I can tell.

    22           Q     But their general principle there was

    23    just for any of these radionuclides we're testing,

    24    whether we use the limit for soluble or insoluble,

    25    we're going to err on the side of caution and use



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     1    the most restrictive.

     2             A      That's the way I -- I read this, and

     3    that's -- that's consistent with the methodology I

     4    used.

     5            Q       Would you agree with me that based on

     6    your calculations that we talked about and that

     7    are memorialized in Table 2 of your report, if we

     8    apply the standard for insoluble thorium-230,

     9    there is not a violation, is there?

    10                    MR. McCLAIN:   Object to the form of the

    11    question, assumes facts not in evidence.

    12                    THE WITNESS:   Well, I can't do the exact

    13    math in my head, but the answer would be that

    14    that's correct, that wouldn't be a violation.

    15                    I don't think that's the appropriate way

    16    to do it, but if we were hypothetically to look at

    17    only the insoluble limitations, then at least for

    18    this set of calculations, there would not be.

    19    BY MR. ZAGER:

    20            Q       Okay.   I just want to make sure I'm

    21    clear.       For SLAPS with respect to Mallinckrodt,

    22    the alleged exceedances of the radiation safety

    23    regulations found in 10 CFR Part 20 that you've

    24    identified are the radon-222 and the thorium-230;

    25    is that correct?



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     1           A     That's correct.

     2           Q     You didn't identify any other

     3    exceedances of the limits in 20.106 with respect

     4    to SLAPS, correct?

     5           A     That's correct, although I will also say

     6    I didn't analyze every bit of data.         I haven't

     7    been asked to do that, but there's -- there is --

     8    as sparse as it is, there is other data, so I

     9    haven't done an exhaustive analysis of that.

    10           Q     Okay.   And that's fine.

    11                 But as far as we sit here, based on your

    12    two reports and -- with the date of

    13    October 19th -- October 17th, 2019, the effluent

    14    exceedances that you allege or you opine occurred

    15    were the radon-222 and the thorium-230, correct?

    16           A     Those are the quantitative effluent

    17    limitations that I've identified.

    18                 MR. ZAGER:    All right.    Let's --

    19    let's -- I'll try to do this fairly quickly.          Do

    20    you want a break?     Are you good?     Do you want to

    21    take a --

    22                 THE WITNESS:    What time are we getting

    23    to be?

    24                 MR. McGAHREN:     It's getting to be 3:00.

    25                 MR. ZAGER:    It's 2:48.



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     1                 THE WITNESS:    I don't need a break right

     2    now, but in the next 10 or 15 minutes maybe.

     3                 MR. ZAGER:     There you go.    Okay.

     4    BY MR. ZAGER:

     5           Q     You have a section in your report called

     6    "Notes on Allocation"; is that correct?

     7           A     Yes.

     8           Q     And it starts on page 19 of your report?

     9           A     Yes.

    10           Q     Great.    You apply in this section what

    11    are called the Gore factors; is that correct?

    12           A     That's correct.

    13           Q     Okay.    Are you under the impression that

    14    the Gore factors are applicable in a Price-

    15    Anderson Act case?

    16                 MR. McCLAIN:    Object to the form of the

    17    question that this is a Price-Anderson Act case.

    18    Nobody but this judge thinks so.

    19                 MR. McGAHREN:     Objection to the

    20    objection.

    21                 MR. ZAGER:     I'll join in the objection

    22    to the objection.

    23    BY MR. ZAGER:

    24           Q     But go ahead.

    25           A     Can I object?



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     1            Q    Yeah.

     2            A    Well, I don't have an opinion about its

     3    relevance with respect to Price-Anderson cases.           I

     4    do have an opinion that Gore factors are broadly

     5    relevant in cases where one is trying to conduct

     6    some type of allocation of contamination.

     7            Q    Okay.   Are you aware of the Gore factors

     8    ever being used in a personal injury case like

     9    this?

    10            A    I -- I don't know if I would know that.

    11    But in my own anecdotal experience, I -- I

    12    can't -- I can't think of having done it myself in

    13    a personal injury case.      I've done it before on

    14    conventional, you know, sites.

    15            Q    Okay.   On page, I guess it's 19, you've

    16    got a reference there that under the scheduling

    17    order, you were asked for organ doses attributable

    18    to Cotter's operations at Latty Avenue and

    19    Mallinckrodt's operations at SLAPS.         Is that

    20    correct?

    21                 MR. McGAHREN:     What page?    I'm sorry.

    22                 MR. ZAGER:    It's at the bottom of

    23    page 19.    It's the first sentence under "Notes of

    24    Allocation."

    25                 THE WITNESS:    I'm -- I'm just trying to



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     1    be a stickler here.

     2    BY MR. ZAGER:

     3           Q      Good.

     4             A    I wasn't asked about that.

     5           Q      Frankly, that's where you -- that's

     6    where I was going.     You didn't calculate any type

     7    of organ dose, correct?

     8             A    No.

     9           Q      All right.   So, in other words, your

    10    allocation is not based on any type of dose to any

    11    individual plaintiff or any hypothetical person,

    12    is it?

    13           A      I'll -- I'll let it speak for itself,

    14    but it really isn't talking about people.

    15           Q      Okay.   The Gore factors that you -- have

    16    you only seen the Gore factors used in CERCLA

    17    cases?

    18           A      Let me think about that.

    19           Q      Or a state CERCLA case, state version

    20    CERCLA.

    21           A      I'm not sure if that's true.      I mean

    22    when -- whenever there's a dispute about multiple

    23    responsible parties having to divvy up cleanup

    24    responsibilities or -- or some other consequences

    25    of contamination, I've seen Gore factors used.           So



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     1    I don't think sitting here that I've only seen it

     2    limited to CERCLA cases.       This is a CERCLA case,

     3    but --

     4           Q     You think this is a CERCLA case?

     5           A     Well, the -- the north St. Louis sites

     6    are a Superfund site.

     7           Q     I just want to be clear, though, this

     8    particular case for which you're giving your

     9    deposition, you understand it's not a CERCLA case.

    10           A     Oh, I -- I don't really know that, and I

    11    don't think that's relevant to my opinions.

    12           Q     Okay.   With respect to -- this is on

    13    page 20 of your report.      With respect to these

    14    Notes on Allocation, you appear to be using the

    15    time period for Mallinckrodt from 1946 to '66,

    16    correct?

    17           A     That's correct.

    18           Q     You're not -- I think we established

    19    earlier, though, that you're not offering the

    20    opinion that Mallinckrodt is responsible for that

    21    period from 1946 to 1953, when they actually

    22    became under contract for SLAPS.

    23           A     Well, let me clarify what I was asked to

    24    do here.   I was asked to evaluate a potential

    25    allocation scheme under the assumption that any



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     1    party that was active or operating at a site could

     2    be considered fully responsible.        So that was kind

     3    of an -- an assumption that I was asked to

     4    incorporate into this allocation note.

     5           Q     But you didn't allocate any

     6    responsibility to the Atomic Energy Commission

     7    that operated SLAPS from 1946 to July 20th, 1953.

     8           A     That's right.     I was -- I was asked not

     9    to evaluate allocations for folks that aren't

    10    party to this case.

    11           Q     Okay.   So you agree that they would have

    12    contributed to offsite releases, but you didn't

    13    allocate fault to it, fair?

    14                 MR. McCLAIN:    Object to the form of the

    15    question.

    16                 THE WITNESS:    My only problem with that

    17    question is "fault" -- the word "fault."          I don't

    18    think I used that word in my report.         But, no,

    19    I -- I didn't explicitly allocate any

    20    responsibility to -- to that agency.

    21    BY MR. ZAGER:

    22           Q     You also didn't for Continental Mining

    23    or Continental Metals or, frankly, the -- the

    24    Airport Authority, correct?

    25           A     That's correct.



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     1           Q     Do you have any evidence that any of the

     2    plaintiffs in this case were exposed to radon from

     3    this site?

     4           A     I haven't done any kind of analysis with

     5    respect to the actual plaintiffs.        So I -- it's

     6    just out of my wheelhouse.

     7           Q     Okay.   The same would be true for the

     8    thorium-230?

     9           A     The -- the only reason I'm pausing is

    10    because, even though it's obvious those -- those

    11    aren't opinions that I have, I have some knowledge

    12    of the kind of levels that are found downstream

    13    and things like that.      So I -- I don't expect

    14    anyone would ever ask me that, and I would

    15    probably answer this way, which is I'm not a

    16    toxicologist; I don't have an opinion about that.

    17           Q     Okay.   With respect to your, I guess,

    18    chart on page 22, where you talk about pre-1966,

    19    1966 to 1973, and post-1973, are those allocations

    20    there where you have 100 percent to SLAPS, zero to

    21    HISS; 90 percent to SLAPS, 10 percent to HISS; and

    22    then 90 percent to SLAPS, 10 percent for HISS --

    23    all that's respectively -- are those based on any

    24    type of calculations of the concentrations that

    25    were released at any particular time?



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     1            A      No.    This is based on -- on operational

     2    time.       This is based on time.

     3            Q       And it's not broken out by all

     4    potentially responsible parties, including the

     5    AEC, Continental Mining, Continental Metals, or

     6    the Airport Authority, correct?

     7            A       Yeah, that wasn't -- that wasn't my

     8    charge here.         I was asked to look at allocation

     9    for the parties that are subject to this case.

    10            Q       Okay.   All right.

    11                    (Exhibit No. 13 was marked for

    12                    identification.)

    13    BY MR. ZAGER:

    14            Q       Next I'm going to hand you what I marked

    15    as Exhibit 13.

    16                    Go ahead and take a look at that, and

    17    tell me if you recognize that document.

    18            A       Yes, I do.    This is my supplemental

    19    expert report.

    20            Q       Okay.   The opinions in your supplemental

    21    report -- just to try to speed this up a little

    22    bit, the supplemental opinion number 1.         Do you

    23    see that?

    24            A       I do.

    25            Q       All right.    That's directed at Cotter,



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     1    not Mallinckrodt; is that fair?

     2                 MR. McGAHREN:     Object.

     3                 THE WITNESS:    That's correct.

     4    BY MR. ZAGER:

     5           Q     The -- the second, I guess it's,

     6    full sentence under supplemental opinion 1 says:

     7    "Since completion of my expert report, I have

     8    learned that in 1970 the Division of Air Pollution

     9    Control of the St. Louis County Health Department

    10    found the drying operation to be in violation of

    11    county regulations."

    12                 Is that correct?

    13           A     Correct.

    14           Q     Okay.   Did you, in reviewing those

    15    St. Louis County Health Department records, find

    16    any criticisms by the County of Mallinckrodt's

    17    operation at SLAPS?

    18           A     I didn't do a complete search of all

    19    their records, but I didn't -- did not come across

    20    that, no.

    21           Q     Okay.   Let's go then to supplemental

    22    opinion number 2.

    23                 With the objection of -- for Cotter's

    24    counsel, that also is directed at Cotter, not

    25    Mallinckrodt, correct?



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     1            A      That's correct.

     2            Q      Okay.   Let's go then to supplemental

     3    opinion number 3:       "Defendants' possession, use

     4    and/or transfer of waste at SLAPS and Latty Avenue

     5    caused excessive radiation to be released in the

     6    form of contaminated sediments into Coldwater

     7    Creek and tributary ditches."

     8                   Did I read that correctly?

     9            A      Yes.

    10            Q      Okay.   We've already talked about your

    11    opinion -- or you expressed some statements about

    12    the ALARA principle, correct?

    13            A      Correct.

    14            Q      We've talked about 10 CFR 20.106 and the

    15    effluent limitations and your opinions about

    16    exceedances of that for radon and thorium-230

    17    using the soluble limit, correct?

    18            A      At the SLAPS site, right.     Correct.

    19            Q      Is there anything new in this

    20    supplemental opinion related to Mallinckrodt

    21    beyond those issues that we just discussed?

    22            A      I wouldn't say there's anything new

    23    here.       Because my initial report, I -- I was

    24    focusing on the -- the judge's order, I -- there's

    25    some language in my original report that talks



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     1    about contaminated sediments and -- you know, and

     2    Coldwater Creek, but there's not a -- an official

     3    opinion.   And so this is just a way of creating an

     4    official opinion about impacts to Coldwater Creek.

     5           Q     Okay.     Your official opinion about

     6    Coldwater Creek is that you believe that there was

     7    sediment in the creek, correct, from -- from the

     8    SLAPS site?

     9           A      Contaminated sediments in the creek,

    10    that's correct.

    11           Q      For any given year from July of 1953 to

    12    February 14th of 1966, have you been able to

    13    quantify any releases of sediment from SLAPS?

    14           A      You know, we've talked about this before

    15    with other media.       I just don't think there's

    16    enough data that -- that was collected such that

    17    you could quantify those releases.

    18                  I do believe that the releases were

    19    occurring, but I don't think I or -- I don't think

    20    with the data that we have available that we could

    21    quantify that in an annual way.

    22           Q      Okay.    Your two reports and your

    23    opinions related to Mallinckrodt are limited to

    24    SLAPS, correct?       In other words, you didn't form

    25    any opinions about any other site or facility



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     1    operated or owned by Mallinckrodt.

     2            A     That's correct.    We -- we talked a

     3    little bit about the haul roads.        There's some --

     4    there's some verbiage in my report about the haul

     5    roads, and I stand by that, but that would be it.

     6            Q    Okay.   Going back to the sediment issue,

     7    the sediment in Coldwater Creek, you haven't been

     8    able to quantify or identify any releases by

     9    party; in other words, by Mallinckrodt or the

    10    Atomic Energy Commission or by potentially

    11    releases that occurred when the St. Louis Airport

    12    Authority was responsible for that site.          Is that

    13    fair?

    14            A    It's not quite fair to say that I

    15    haven't been able to do that.       I -- I didn't try

    16    to do that.

    17            Q    Okay.   There's also some references, I

    18    think you talked about mud in the ditches.          That's

    19    not actually in Coldwater Creek, correct?          And

    20    that would be retained in the ditch itself.

    21            A    Well, it was sampled from the ditch, but

    22    those ditches are tributaries to the creek, so

    23    there -- some of that sediment is on its way to

    24    the creek.

    25            Q    But some of it would stay retained in



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     1    the ditch as well.

     2           A     Some of it would.

     3           Q     It would then be cleaned up by FUSRAP?

     4           A     Hopefully.

     5                 MR. ZAGER:    I may have a few follow-ups,

     6    but in the interest of time, I'm going to pass the

     7    witness to Mr. McGahren.

     8                 Thank you very much.

     9                 THE WITNESS:    Thank you.

    10                 MR. McGAHREN:     Take a break.

    11                 THE VIDEOGRAPHER:     Going off the record.

    12    The time is 3:03 p.m.

    13                 (Recess.)

    14                 THE VIDEOGRAPHER:     Going on the record.

    15    The time is 3:10 p.m.

    16                          EXAMINATION

    17    BY MR. McGAHREN:

    18           Q     Dr. Wells, my name is John McGahren.

    19    I'm with Morgan, Lewis & Bockius, and I represent

    20    Cotter Corporation.

    21                 Are you familiar with Cotter

    22    Corporation?

    23           A     Yes.

    24           Q     And you recognize you're still under

    25    oath here?



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     1           A     Yes.

     2           Q     I'd like you to open up Exhibit 2, your

     3    resume again.

     4           A     Okay.   I'm with you.

     5           Q     You identified the former Sylvania site

     6    in Hicksville, New York, correct?

     7           A     Correct.

     8           Q     And there you represent -- you identify

     9    representative project experience at the former

    10    Sylvania site, correct?

    11                 THE REPORTER:     I'm sorry, I couldn't

    12    hear you.

    13    BY MR. McGAHREN:

    14           Q     I said, there you recognize -- or you

    15    represent project experience on the former

    16    Sylvania site, correct?

    17           A     Correct.

    18           Q     Okay.   This was an actual project that

    19    you conducted at the Sylvania site?

    20           A     This was actually a litigation support

    21    project, so I was assessing the site investigation

    22    remediation work conducted by others.

    23           Q     Okay.   And on your list of depositions

    24    and trial testimony, 2009, DePascale, do you see

    25    that in your CV?



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     1           A     Yes.

     2           Q     Is that the same thing?

     3           A     Yes, it is.

     4           Q     So basically your -- your experience

     5    with respect to the Sylvania site is you were an

     6    expert in litigation; is that correct?

     7           A     That's correct.

     8           Q     Did you actually testify at trial?

     9           A     Yes.

    10           Q     You did.    Did Dr. Everett -- excuse

    11    me -- is Mr. Everett a doctor?        Does he have a

    12    Ph.D.?

    13           A     He is, yeah.    He has -- I think he has a

    14    couple of them.

    15           Q     Did Dr. Everett also testify?

    16           A     He did, yes.

    17           Q     He did.    Okay.   Did you submit a joint

    18    report?

    19           A     I believe that's correct, yeah.

    20           Q     Okay.   And on what subject did you

    21    testify?

    22           A     I testified -- my role was principally

    23    look- -- describing the nature and extent of

    24    contamination that remained after the site had

    25    been redeveloped, and the degree to which workers



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     1    in that redeveloped facility might be exposed

     2    to -- to contaminants by the mechanism of vapor

     3    intrusion principally.

     4            Q      Okay.   So your experience on that site

     5    had nothing to do with radionuclides, correct?

     6            A      Well, there were radionuclides at the

     7    site.       We took a careful look at that, but we --

     8    we realized that for this time frame we were

     9    looking at that that was not likely a driving

    10    force of chemical exposure.

    11            Q      You testified that your role was to look

    12    at vapor intrusion; is that correct?

    13            A      That's correct, among other things.       The

    14    other thing that I did a lot of work on was just

    15    evaluating the nature and extent of contamination

    16    at the site.

    17            Q      Is vapor intrusion an issue with respect

    18    to radionuclides?       Are they volatile?

    19            A      They're -- well, radon is, but the way

    20    we generally think about vapor intrusion, we

    21    generally think about the VOCs or volatile organic

    22    chemicals.

    23            Q      And in your report and testimony, you

    24    were looking at volatile organic chemicals,

    25    correct?



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     1           A     For the vapor intrusion assessment,

     2    that's correct.

     3           Q     Which was your sole role in it, correct?

     4           A      No, my other role was to evaluate the

     5    nature and extent of contamination, including

     6    radionuclides, in the subsurface that persisted in

     7    this property in the redeveloped state.

     8           Q     Did you detail your evaluation of the

     9    nature and extent of radionuclides in your expert

    10    report in that case?

    11           A     We took a close look at that, but I -- I

    12    don't think there's a really detailed discussion

    13    of that in the expert report, no.

    14           Q     The Gallagher & Kennedy litigation

    15    support work, again, that was not project work.

    16    That was litigation related, correct?

    17           A     That's correct.     I've subsequently done

    18    a little project work out there, but the -- the

    19    case that we're talking about was litigation

    20    support.

    21           Q     What's the name of that site?

    22           A     It's called Whittaker-Bermite.

    23           Q     Okay.   Is it in Santa Clarita,

    24    California?

    25           A     Yes.



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     1           Q     Okay.    And the radioactive compound

     2    there was depleted uranium?

     3           A     Yes.

     4           Q     What is depleted uranium?

     5           A     Depleted uranium is -- is uranium that's

     6    not excessively radioactive, and it's used in --

     7    as I understand it, in military operations for

     8    things like armor plating on tanks.

     9           Q     Okay.    I'm asking you specifically why

    10    they call it depleted uranium.

    11           A     Oh.    Well, I don't know the details of

    12    the chemical processing, but it's depleted of

    13    highly radioactive isotopes.

    14           Q     Which isotopes?

    15           A     I'm not sure specifically.

    16           Q     Okay.    So you're here testifying in a

    17    case involving radiation exposures, and you don't

    18    know what depleted uranium is; is that correct?

    19           A     Well, depleted uranium isn't a compound

    20    of concern at -- at this site.        And as I said

    21    before, I'm -- I'm an expert in contaminant fate

    22    and transport.      I'm not a nuclear chemist.      But I

    23    am an expert in the mechanisms by which

    24    contamination of any chemical type is transported

    25    and distributed in the environment.



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     1           Q      And yet you're opining on subjects like

     2    solubility of radio- -- radioactive isotopes like

     3    thorium-230, correct?

     4                  MR. McCLAIN:   Only because he was asked.

     5    BY MR. McGAHREN:

     6           Q      Do you really have expertise concerning

     7    solubility of thorium-230?

     8                  MR. McCLAIN:   Object to the form of the

     9    question.     It's not for him to determine his

    10    expertise.

    11                  THE WITNESS:   Well, I have enough

    12    expertise to make the call that that was the

    13    appropriate parameter to utilize in Table 2 of

    14    10 CFR Section 20.     So, you know, this -- making

    15    that call is not about quantifying the solubility

    16    of a compound.     It's interpreting a regulation and

    17    applying it to the real world.

    18    BY MR. McGAHREN:

    19           Q      Talking about the Whittaker-Bermite

    20    site, you've identified radioactive materials

    21    there.     What percentage of the cleanup costs were

    22    involved in radioactive materials that you

    23    evaluated?

    24           A      I don't have an exact number on that,

    25    but it would probably be something on the order of



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     1    10 percent for screening of the site and then

     2    removal.

     3           Q     Wasn't the Whittaker-Bermite site

     4    primarily a perchlorate site?

     5           A     Well, that was the most glamorous

     6    contaminant because it had migrated a couple of

     7    miles and had impacted a couple of water supply

     8    wells for Santa Clarita.       But there were really a

     9    multitude of contaminants at that site, including

    10    volatile organic compounds.       There was a very

    11    large amount of soil vapor extraction that was

    12    conducted, and that wasn't about perchlorate.

    13    There were metals and there was depleted uranium.

    14    There was also unexploded ordnance.

    15           Q     Did the cleanup costs at the

    16    Whittaker-Bermite site exceed $250 million, to

    17    your -- to your knowledge?

    18           A     I don't know what the final cleanup cost

    19    was.

    20           Q     But you believe roughly 10 percent of

    21    that or at least 25 million was expended on

    22    cleanup of depleted uranium; is that correct?

    23           A     I don't know what the total cost was.

    24    I -- I can tell you about our -- our cost

    25    estimates, and that's an approximate -- that's an



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     1    approximate evaluation or assessment of the

     2    depleted uranium part.      But I don't -- you know,

     3    it's -- the cleanup has gone on for many, many

     4    years, and I don't know what the total cost was.

     5           Q     Were there any NRC licenses involved in

     6    the Whittaker-Bermite site?

     7           A     Not that I know of.

     8           Q     Any AEC licenses?

     9           A     Not that I know of.

    10           Q     Was any processing of nuclear material

    11    conducted at that site?

    12           A     There was fabrication of -- of elements

    13    of missiles and tanks and things like that that

    14    included depleted uranium.       I don't know if I'd

    15    call that processing.      I think I'd call it

    16    fabrication.    There was also testing of weapons.

    17           Q     And to your knowledge, was the depleted

    18    uranium processed in any manner at that site or

    19    just tested in -- in ammunition?

    20           A     To my knowledge, it was -- it was

    21    fabricated and tested.

    22           Q     And then your other experience on sites

    23    involving nuclear facilities was Hanford when you

    24    were a graduate student?

    25           A     Correct.



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     1           Q     What were -- who were the other members

     2    of that board?     Were there people that actually

     3    graduated from graduate school?

     4           A      Most of the members of the board were

     5    faculty members, and then there were a handful of

     6    graduate students.

     7           Q     And what was the role of the graduate

     8    students?    Was it a learning experience for them

     9    or were they actually advising the State of

    10    Washington?

    11           A     We were collectively advising the State

    12    of Washington.     I think, as is often the case with

    13    graduate students, our role was to do a lot of the

    14    work that the faculty members had -- you know, had

    15    asked of us.

    16           Q     And the other experience you described

    17    was with respect to a facility in Idaho, correct?

    18           A     Correct.

    19           Q     And what exactly did you do there that

    20    had anything to do with nuclear materials or

    21    processing of nuclear materials?

    22           A     Well, what we were helping out INEL with

    23    was devising and implementing vadose zone

    24    monitoring strategies for -- for waste facilities.

    25           Q     For volatile organic compounds again?



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     1            A    No, for -- for anything, including

     2    radionuclides.     Really what we're testing is --

     3    what we're talking about there is monitoring the

     4    chemistry and the flow of water above the water

     5    table.

     6            Q    Where in your resume specifically is

     7    that identified?

     8            A    I don't think that's in my resume.         You

     9    know, this -- this resume just has representative

    10    project experience.      It doesn't have every single

    11    project.

    12            Q    Which company were you working for when

    13    you did this work?

    14            A    I was working for Metcalf & Eddy at that

    15    time.

    16            Q    Any other experience on nuclear

    17    manufacturing sites or facilities that held

    18    licenses from either the AEC or the --

    19                 THE REPORTER:     I'm sorry, I couldn't --

    20    BY MR. McGAHREN:

    21            Q    -- licenses from either the AEC or the

    22    NRC?

    23            A    No.

    24            Q    Now, you've relied on a report in

    25    forming your opinions prepared by Risk Assessment



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     1    Corporation, correct?

     2           A     I -- I relied on some of the

     3    calculations that they made in that report, yes.

     4           Q     Who is Risk Assessment Corporation?

     5           A     Well, it's a -- it's a company -- I

     6    think the senior author on that report is

     7    Dr. Till.    It's a -- it's a company that provides

     8    environmental consulting, and in particular, risk

     9    evaluations.

    10           Q     Do you know Dr. Till?

    11           A     No, I don't.

    12           Q     Are you familiar with his qualifications

    13    and experience?

    14           A     I -- I've looked at his resume.

    15           Q     So that's all you -- you read the

    16    report?

    17           A     I have.

    18           Q     Okay.   Why did you choose that source to

    19    base your calculations on?

    20           A     I chose that source because it -- it

    21    contained some analyses and calculations that were

    22    useful in conducting my analysis of -- of trying

    23    to find a way to estimate concentrations in air

    24    and water along the fence line of these

    25    facilities.    So it was information that was useful



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     1    in formulating my own opinions.

     2            Q    Was that a peer-reviewed report that was

     3    published in some scientific journal or treatise?

     4            A    To my knowledge, that is essentially an

     5    expert report in either this case or a related

     6    case.

     7            Q    Do you know if Dr. Till and his team

     8    represent any of the litigants in this case?

     9            A    I don't precisely know who -- who they

    10    might represent.

    11            Q    In the case that they wrote that report

    12    for, did they represent Mallinckrodt?

    13            A    I mean, we can -- we can look that up.

    14    I'm sure they say, but I -- I don't specifically

    15    know.

    16            Q    You don't think that's important to

    17    know?

    18            A    Well, I think it's important to look at

    19    the credentials of -- of the author, to look at

    20    their methodology, which I did, and I -- I found

    21    it to be useful.

    22            Q    Now, you conducted an allocation in your

    23    expert report in this case, correct?

    24            A    Correct.

    25            Q    And who was that allocation between,



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     1    which parties?

     2           A     That allocation -- well, the -- it's

     3    between for the SLAPS site and the HISS site, and

     4    I'm associating releases from those sites with

     5    Cotter for HISS or Latty Avenue and Mallinckrodt

     6    for SLAPS.

     7                 MR. McGAHREN:     I'm sorry.    Could you

     8    read back that answer?

     9                 (Whereupon, the requested record

    10                 was read.)

    11    BY MR. McGAHREN:

    12           Q     Okay.   So basically is it fair to say

    13    that you've used Mallinckrodt's expert to base

    14    your calculations on with respect to releases from

    15    the Latty Avenue site, correct?

    16           A     I -- well, once again, I don't

    17    explicitly know who Dr. Till was working for.           But

    18    it is true that I relied on his work for my

    19    assessment of air emissions from the waste drying

    20    operation at the Latty Avenue site.

    21           Q     Do you know if Dr. Till was being paid

    22    by Mallinckrodt?

    23           A     I -- I don't know who was paying

    24    Dr. Till.

    25           Q     Do you know if he -- strike that.



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     1                 Do you know how much Dr. Till and his

     2    team were paid to prepare their report by

     3    Mallinckrodt?

     4                 MR. McCLAIN:    He says he doesn't know

     5    that Mallinckrodt paid him, so how could he know

     6    how much Mallinckrodt paid him?

     7                 MR. McGAHREN:     You can answer.

     8                 MR. McCLAIN:    So, I mean, the same

     9    answer.

    10    BY MR. McGAHREN:

    11           Q     You can answer my question.

    12                 MR. McCLAIN:    He doesn't know.

    13                 THE WITNESS:    I -- I don't know who paid

    14    Dr. Till, and I don't know how much.

    15    BY MR. McGAHREN:

    16           Q     Okay.   Do you consider that to be good

    17    scientific practice to rely upon a biased expert's

    18    report in preparing your calculations?

    19                 MR. McCLAIN:    Well, how does he know

    20    he's -- he's biased?

    21                 MR. ZAGER:    Object to the form.

    22                 THE WITNESS:    I didn't find his report

    23    to be biased.    We spoke a little bit earlier that

    24    I don't agree with every single assumption and --

    25    and analysis in that report, but I -- I didn't



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     1    find that report to be biased, at least the parts

     2    that I relied upon that I looked at in great

     3    detail.

     4    BY MR. McGAHREN:

     5           Q     Is it fair to say, though, that that is

     6    not a peer-reviewed report that was published in

     7    any scientific journal --

     8                 MR. McCLAIN:    Stipulated.

     9    BY MR. McGAHREN:

    10           Q     -- paper or treatise?

    11                 MR. ZAGER:    Object to the form,

    12    compound.

    13                 MR. McCLAIN:    It's stipulated.

    14                 I -- don't worry about answering it.

    15    I've already stipulated it's not peer-reviewed.

    16    BY MR. McGAHREN:

    17           Q     You can answer the question, sir.

    18                 MR. McCLAIN:    Why if I've stipulated to

    19    it?   It's not in dispute.

    20                 MR. McGAHREN:     Because I want his

    21    answers.

    22                 THE WITNESS:    To my knowledge, that

    23    report was not published in a peer-reviewed

    24    journal.

    25    BY MR. McGAHREN:



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     1           Q     Did Dr. Till author that report by

     2    himself?

     3           A      No, he describes a team that assisted

     4    him.

     5           Q     Do you know any members of the team?

     6           A      No, I don't.

     7           Q     Do you know their qualifications and

     8    experience?

     9           A      No.

    10           Q      Did they do modeling in that report?

    11           A      They did some modeling in that report,

    12    yes.

    13           Q      What type of modeling?

    14           A      Well, they did a variety of modeling.

    15    They did some modeling on resuspension of

    16    sediments that would have been released along the

    17    haul routes.

    18           Q      Did you -- sorry, finish your answer.

    19           A      Yeah.   They did modeling of the

    20    emissions from the drying operation at the Latty

    21    Avenue site.     And then I know they did a bunch of

    22    exposure modeling, which is not my area of

    23    expertise.

    24           Q      And you may have been asked this

    25    question earlier, but I don't recall your answer.



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     1    Are there parts of that report that you can

     2    identify specifically now that you disagree with?

     3           A     Well, at the -- at the risk of repeating

     4    myself, we talked earlier about his assumption

     5    about the grain size distribution of the waste

     6    materials.    And I don't want to go so far as to

     7    say I disagree with it, but I think I possess some

     8    information that he might not have had that would

     9    have allowed one to refine that estimate of grain

    10    size distributions.      The end result of doing so,

    11    which would have been to make some corrections to

    12    the grain size distribution that he used in his

    13    report toward the finer grain sediments, it

    14    actually would have increased his modeling results

    15    for airborne transport and deposition.

    16                 So, that's one of the uncertainties in

    17    this analysis that kind of works in -- in the

    18    direction of underestimating the results.

    19           Q     And you testified earlier your basis for

    20    that was data from the West Lake site; is that

    21    correct?

    22           A     Correct.

    23           Q     Okay.   Was material that was at the West

    24    Lake site dried by Cotter at Latty Avenue?

    25           A     No.



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     1           Q     Okay.

     2           A     Not to my knowledge.

     3           Q     So the information you relied upon was

     4    for material that was never run through the dryer,

     5    correct?

     6           A     That's correct, it wasn't run through

     7    the dryer.    But let me just -- let me just say, I

     8    didn't rely on that for my own calculations.          I

     9    actually used the coarser grain estimates that

    10    Dr. Till tabulated.

    11           Q     You just testified a few moments ago

    12    that you have information to refine Dr. Till's

    13    estimate.    What is that information?

    14           A     That information is descriptions in

    15    boring logs from the West Lake Landfill site

    16    investigation.

    17           Q     But again, that's material that was

    18    never run through the dryer, correct?

    19           A     That's material that wasn't run through

    20    the dryer, that's correct.

    21           Q     So it would have no bearing on emissions

    22    from the dryer and your fence line calculations at

    23    Latty Avenue, correct?

    24           A     Well, it has a bearing on -- on the

    25    material properties of waste coming out of



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     1    Mallinckrodt.    So we -- we don't have specific

     2    information about each waste type and as to

     3    whether or not they had different physical

     4    characteristics, so we're making an estimate of

     5    the average grain size distribution of all the

     6    wastes.

     7            Q    Who -- when you say the word "we," who

     8    are you referring to?

     9            A    Well, Dr. Till did that, and I did the

    10    same.

    11            Q    So you're -- when you say "we," you mean

    12    yourself and Dr. Till?

    13            A    I mean, we -- we both arrived at that

    14    conclusion independently.

    15            Q    Okay.   What did you look at to try and

    16    investigate the properties of the materials when

    17    they were sitting on SLAPS?

    18            A    Well, I looked at the totality of the

    19    historical reports about operations at the site

    20    and -- and descriptions of the waste material.

    21            Q    So you -- can you identify specifically

    22    reports?    Are they only the reports that are

    23    annotated in your initial and supplemental expert

    24    reports?

    25            A    Yes.



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     1           Q     You didn't look at anything else.

     2           A     No, nothing that I relied on.

     3           Q     Now, you used the term "grain size" when

     4    you were describing the material, correctly --

     5    correct?

     6           A     I did use that term, yes.

     7           Q     You don't use the term "particle size,"

     8    do you?

     9           A     You mean ever?

    10           Q     In your testimony today, you've used the

    11    word "grain size," correct?

    12           A     That's correct, because what we were

    13    talking about earlier is the grain size

    14    distribution of the source material.

    15           Q     Mm-hmm.

    16           A     When we talk about airborne deposition

    17    and transport, then we talk about particle size.

    18    It's really -- we're talking about the same thing,

    19    but there's a slight difference in the

    20    terminology.

    21           Q     Are you an air modeler?

    22           A     Air modeling is -- is in my expertise.

    23    I'm not the guy that sits down and runs the model.

    24           Q     How is it in your expertise?

    25           A     It's an analytical scientific tool that



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     1    I use in the course of my professional practice.

     2           Q        What about, have you run AERMOD?

     3             A      I don't personally run AERMOD, but

     4    I've -- I've directed the use of AERMOD, and I've

     5    worked on a number of projects where AERMOD is

     6    employed.

     7           Q        When you say you've directed the use of

     8    AERMOD, in what sense have you directed it?

     9    Identifying source terms?

    10           A        Yeah, working usually with a team,

    11    including, you know, a nuts and bolts modeler, to

    12    define what we might call the conceptual site

    13    model:       What -- what actually is it that we're

    14    trying to model here and how best to implement

    15    that within the numerical model.

    16           Q        But you actually hand that work off to

    17    an air modeler, an expert air modeler, correct?

    18           A        In the projects that I direct, I direct

    19    how the model is to be constructed, what the input

    20    parameters are, oftentimes with input from team

    21    members, and then I leave it to a modeler to

    22    actually construct and run the model.

    23                    MR. McGAHREN:   Could you read back that

    24    answer, please?

    25                    (Whereupon, the requested record



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     1                 was read.)

     2    BY MR. McGAHREN:

     3           Q     What input parameters are you referring

     4    to specifically?

     5           A     Well, I mean, it depends on -- on the

     6    case, but let's -- let's take, for example, the

     7    Chemetco case that we talked about a little bit

     8    earlier.   What we would do there is we would build

     9    in a source term for a stack emission, and we

    10    would have information not only about the mass

    11    emissions rate but also information about particle

    12    sizes.

    13           Q     Are you a chemical engineer?

    14           A     No, I'm not.

    15           Q     Do you have expertise in chemical

    16    engineering?

    17           A     No, I'm a -- I'm an environmental

    18    geologist.

    19           Q     Do you have expertise in reverse

    20    engineering of chemical process?

    21           A     No, I don't.

    22           Q     Do you believe Mallinckrodt was running

    23    a chemical process downtown which resulted in

    24    these waste materials?

    25                 MR. ZAGER:    Object to the form.



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     1                 THE WITNESS:    I -- I don't really have,

     2    you know, an opinion about that.        That's outside

     3    my area of expertise.

     4    BY MR. McGAHREN:

     5           Q     So you have no expertise with respect to

     6    the process that generated these wastes that were

     7    put at SLAPS, correct?

     8           A     That's correct.     I -- you know, I have

     9    certain knowledge of -- of what Mallinckrodt was

    10    doing, but I'm not a chemical engineer and I don't

    11    have expertise in that area.

    12           Q     Okay.   Do you know if Dr. Till is a

    13    chemical engineer?

    14           A     We can double-check his resume, but I

    15    believe he is.

    16           Q     Are you familiar with whether or not he

    17    has expertise in reverse engineering chemical

    18    processes?

    19           A     I wouldn't have any knowledge of that.

    20           Q     Okay.   Do you know if any member of his

    21    team is a chemical engineer?

    22           A     I -- I would suggest to you that for at

    23    least my part of this work, that's not necessary

    24    to have a chemical engineering background, but

    25    I -- I really don't know the background of his



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     1    team members.

     2           Q     You've identified grain size as an

     3    important parameter, correct?

     4           A     Correct.

     5           Q     So how do you arrive at grain size?          You

     6    just use Dr. Till's numbers?

     7           A     Well, what -- what -- I looked for grain

     8    size analysis.     I mean, it's not that hard to

     9    measure, grain size analysis for a solid.          So I

    10    looked for grain size analyses.        I didn't find any

    11    in the technical records.

    12                 It turns out, as I read Dr. Till's

    13    report, he -- he did too.       He looked for actual

    14    grain size measurements, and by my reading of his

    15    report, he didn't find that either.         So what he

    16    decided to do was to go to the literature and find

    17    grain size analyses from uranium mine tailings,

    18    and utilized that measured data as reasonably

    19    representative of the grain size distribution of

    20    the waste material at SLAPS and Latty Avenue.

    21           Q     What are uranium mine tailings?

    22           A     Uranium mine tailings are the waste

    23    product from the processing of uranium ore.

    24           Q     Have you had -- ever had experience with

    25    a uranium mill and processing of uranium ore?



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     1            A    I've never worked at a uranium mill, no.

     2            Q    My question was have you had any

     3    experience with that?

     4            A    I'm not sure what the difference is.

     5    I've not worked at uranium mill sites.

     6            Q    Well, people could have experience with

     7    respect to uranium mills but not worked there.           So

     8    you have no experience with uranium mills,

     9    correct?

    10                 MR. McCLAIN:    Object to the form of the

    11    question.    It's vague and ambiguous.

    12                 THE WITNESS:    I -- I've got a fair

    13    amount of experience at mine sites and -- and

    14    tailing sites, but not uranium mill sites.

    15    BY MR. McGAHREN:

    16            Q    What's your experience with mine sites

    17    and tailing sites?     Is it all outlined in your CV?

    18            A    I'm not sure if it's all outlined in my

    19    CV.   One project that I'm working on right now

    20    that I've -- I've worked on for a few years is

    21    evaluating environmental impacts of a proposed

    22    mine and tailings facility in Arizona.

    23            Q    Which one is that?

    24            A    It's the proposed Resolution Copper

    25    mine.



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     1           Q     In Arizona?

     2           A      Correct.

     3           Q     Would you characterize the material that

     4    came out of Mallinckrodt's downtown processes as

     5    uranium mill tailings?

     6                 MR. ZAGER:    Object to the form and

     7    foundation.

     8                 THE WITNESS:    They're not specifically

     9    uranium mill tailings, but they're waste materials

    10    from the processing of uranium ores.

    11    BY MR. McGAHREN:

    12           Q     But they're not uranium mill tailings,

    13    correct?

    14           A     I'm -- I'm not sure that that's a term

    15    of art, but I -- I wouldn't have called them

    16    uranium mill tailings.

    17           Q     Do you know why Dr. Till chose uranium

    18    mill tailings for his particle size analysis?

    19           A     He concluded, and I -- I also concluded,

    20    that that's a reasonable proxy for waste materials

    21    from mineral processing.

    22           Q     Now, you're saying "he."       Are you sure

    23    that Dr. Till specifically opined on that in his

    24    report; is that correct?

    25           A     Oh, as opposed to a team member --



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     1           Q     Correct.

     2           A     -- of his?    I'm assuming that the work

     3    in that report is Dr. Till's -- that Dr. Till

     4    is -- is standing behind the conclusions and the

     5    analysis in that report.

     6           Q     And what does that mean?

     7           A     That means that I'm -- I'm assuming that

     8    Dr. Till's responsible for the findings in that

     9    report.

    10           Q     Why are you assuming that?

    11           A     Because he's the senior author.

    12           Q     But he may not be an expert with respect

    13    to any particular topic in that report, correct?

    14           A     I would -- I would suggest that within

    15    the realm of the legal definition of "expert,"

    16    that that's not up to me.

    17           Q     Well, I'm not asking you for a legal

    18    opinion on an expert.      You relied on Dr. Till,

    19    correct?

    20           A     I relied on some of the calculations and

    21    data compilation that Dr. Till reported.

    22           Q     But you don't know which part of this

    23    report is Dr. Till's work product versus some

    24    other member of the team, correct?

    25           A     Well, once again, I'm making an



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     1    assumption, which I think is reasonable, that --

     2    that this represents Dr. Till's opinions.          I

     3    recognize that he had other people helping him,

     4    but it's my assumption that this is Dr. Till's

     5    analysis that he stands behind.

     6           Q     And the entire team was working for

     7    Mallinckrodt in preparing this report, correct?

     8           A     Well, I think we talked about this

     9    before.    I don't specifically know who all

    10    Dr. Till was working for.

    11           Q     Do you know why they modeled the Latty

    12    Avenue dryer?

    13           A     Well, I know what kind of results they

    14    were trying to get.      They were -- they were --

    15    they were looking for mass release rates.          So as

    16    to why they decided to do that, I don't know.

    17                 What I looked at was the methodology

    18    that they used, and I found it to be sound.

    19           Q     Which aspects of the report did you find

    20    to be sound?

    21           A     Well, what we were just talking about

    22    now is Dr. Till's analysis of emission rates from

    23    the Latty Avenue drying operation.

    24                 MR. McGAHREN:     What's the next exhibit

    25    number?



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     1                 THE REPORTER:     14.

     2    BY MR. McGAHREN:

     3           Q     Okay.   Dr. Wells, I'm marking a document

     4    for identification as Exhibit 14.

     5                 (Exhibit No. 14 was marked for

     6                 identification.)

     7    BY MR. McGAHREN:

     8           Q     I'm going to hand you this document.

     9                 And hand one to your counsel.

    10                 Now, you testified that you didn't agree

    11    with Dr. Till with respect to the particle size

    12    analysis, correct?

    13           A     No, that's not exactly what I testified

    14    to.   I said I thought I had some additional

    15    information that would be relevant to that.          I

    16    believed that his use of the particle size

    17    distribution was reasonable under the

    18    circumstances that we didn't have direct

    19    measurements.

    20           Q     But you testified earlier that he used

    21    more of a percentage of sand; is that correct?

    22           A     That's correct.

    23           Q     Sand size particles.

    24           A     That's correct.

    25           Q     And you disagreed with that.



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     1           A     I don't actually disagree with it.         I --

     2    I look at it this way:      I look at that as a

     3    conservative estimate, because if you were to run

     4    these calculations using a grain size distribution

     5    that included more finer grained sediments, you

     6    would -- you would actually get higher

     7    concentrations in the air.

     8                 So I looked at it as a conservative

     9    assumption, one that could be refined in the

    10    future should we actually turn up some actual

    11    measurements of grain size distributions, but that

    12    under the circumstance is a reasonable assumption

    13    to make.

    14           Q     You relied on this particular document

    15    that I've marked as Exhibit 14, correct?

    16                 Have you seen that document before?

    17           A     Yes, I have.

    18           Q     Okay.   And you relied on that document,

    19    correct?

    20           A     Yes.

    21           Q     Can I refer you to page 5 of the

    22    document.    This is an NR -- excuse me, an AEC

    23    inspection report, correct?

    24           A     This is the report that's dated

    25    November 17th, 1970, and it is an inspection



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     1    report.

     2            Q    Okay.   So these are observations of AEC

     3    inspectors that were made while the material was

     4    on the Latty Avenue site, correct?

     5            A    That's my understanding of this report,

     6    yes.

     7            Q    And -- and let me refer you to page 5.

     8            A    Okay.

     9            Q    Procedure -- under Procedures,

    10    No. 23, if you go down to about five lines up, the

    11    AEC inspectors write:      "The approximately particle

    12    size of the newly dried material appears to be

    13    somewhat like sand or cinders."

    14                 Do you have any reason to disagree with

    15    that?

    16            A    I don't have any reason to disagree

    17    that -- you know, that that's the observation

    18    of -- of the inspector who, to my knowledge, was,

    19    you know, not a geologist or -- or a soil

    20    scientist.

    21                 I see that -- I saw that citation.

    22    There is sand in this material.        There are sand

    23    size grains in this material.       So from that

    24    perspective, I look at that as -- as a qualitative

    25    observation.    What we were talking about earlier



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     1    is the, really, the relative abundance of sand

     2    size particles versus other sizes.

     3            Q    But you didn't conduct any independent

     4    analysis with respect to particle size, correct?

     5                 MR. McCLAIN:    Independent analysis?       I

     6    object to form of the question.

     7    BY MR. McGAHREN:

     8            Q    Independent analysis of Dr. Till and his

     9    team.

    10            A    The -- the independent analysis I

    11    undertook was to look for myself in the historical

    12    record for actual measurements that one could use,

    13    and I -- I didn't find any.       To my knowledge,

    14    there -- they weren't taken.

    15            Q    You did review records about who moved

    16    the material from SLAPS to Latty Avenue, correct?

    17            A    Yes.

    18            Q    Was that Cotter?

    19            A    To my knowledge, that was not Cotter.

    20            Q    Was Cotter the licensee with respect to

    21    that material when it was moved?

    22            A    When it was moved, no, it's -- it's my

    23    understanding they were not the licensee.

    24            Q    Okay.   So is it fair to say that Cotter

    25    had nothing to do with any releases that occurred



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     1    at SLAPS or when that material was being

     2    transported -- loaded and transported from SLAPS

     3    to Latty Avenue?

     4                 MR. McCLAIN:    Object to the form of the

     5    question, calls for a legal conclusion.

     6                 THE WITNESS:    I think that does call for

     7    a legal conclusion.      You'll see in my allocation

     8    scheme, I -- I in fact do not allocate

     9    responsibility for releases to Cotter for the

    10    period of time when the wastes were solely on

    11    SLAPS.

    12    BY MR. McGAHREN:

    13           Q     And is that because you found no

    14    involvement by Cotter?

    15           A     I didn't look for any involvement of

    16    Cotter, but I didn't -- I'm not aware of any on

    17    the SLAPS site.

    18           Q     You didn't find any, correct?

    19           A     Correct.

    20           Q     Whether you looked or not, you don't

    21    have anything, correct?

    22                 MR. McCLAIN:    Hold on.    Object to the

    23    form of the question.      If he didn't look for it,

    24    he wouldn't have anything.

    25                 THE WITNESS:    Well, I guess it kind of



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     1    depends on what involvement means.        I mean at some

     2    level there's involvement because the -- the

     3    material was originally at SLAPS, and Cotter was

     4    involved with processing and handling of that very

     5    same material.     But I'm -- I don't believe that

     6    Cotter operated SLAPS or operated at SLAPS.

     7    BY MR. McGAHREN:

     8           Q     Do you have any information to suggest

     9    that any Cotter or -- any representative of Cotter

    10    or contractor of Cotter was ever on SLAPS?

    11           A     I don't think I would know that.        I

    12    don't have any information about that.

    13           Q     But there was an initial license

    14    represented today from 1963, correct?

    15           A     Correct.

    16           Q     And which company was that?

    17           A     I think this was Continental Mining and

    18    Milling.

    19           Q     Did you consider them in your

    20    allocation?

    21           A     I did not.

    22           Q     Why not?

    23           A     Well, because what I was requested to do

    24    is, is provide an allocation scheme for the two

    25    different sites and to assume that the parties



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     1    involved, since they were operating on -- on these

     2    respective sites, that they could be responsible

     3    for all of those releases.       So that was kind of an

     4    assumption that I was asked to make going into

     5    this analysis.

     6           Q     So counsel directed you to do that,

     7    correct?

     8           A     That was -- that was an assumption that

     9    counsel asked me to make.

    10           Q     So my -- the answer to the prior

    11    question is "yes," correct?

    12           A     That's correct.

    13           Q     Do you think that's fair?

    14                 MR. McCLAIN:    Object to the form of the

    15    question.

    16                 THE WITNESS:    Well, I'm not -- I'm not

    17    an expert on fairness.      I also know from, you

    18    know, more than 25 years of experience that a lot

    19    of these environmental rules aren't fair.          So I

    20    didn't -- I don't have an opinion about fairness.

    21    BY MR. McGAHREN:

    22           Q     What are the Gore factors called?

    23           A     What are they called?

    24           Q     Yes.

    25           A     I call them the Gore factors.



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     1           Q     What are they, though, in the context of

     2    the CERCLA statute?

     3           A     Well, they're -- as I say in my report,

     4    they're -- they're actually not contained in the

     5    CERCLA statutes.

     6           Q     They're contained in the legislative

     7    history, correct?

     8           A     That's correct.     That's my understanding

     9    of that.

    10           Q     And they were suggested by a

    11    representative of Al Gore at the time, correct?

    12           A     That's correct.

    13           Q     And they were considered to be included

    14    in the statute as equitable factors, correct?

    15           A     I really don't know about the

    16    legislative history.      What I -- what I know is

    17    that subsequently folks in my profession have come

    18    to use the Gore factors as a tool for trying to

    19    allocate responsibility at contaminated sites.

    20           Q     And you only relied on one, correct, the

    21    first one?

    22           A     That's right.

    23           Q     The degree of involvement of the party,

    24    correct?

    25           A     Well, yeah, that's correct.



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     1           Q     Okay.   And in your analysis using

     2    equitable factors suggested by former

     3    Representative Gore, you did --

     4                 MR. McCLAIN:    Former Vice President.

     5                 MR. McGAHREN:     I'm referring to what he

     6    was at the time.     He was also a former

     7    Representative.

     8                 MR. McCLAIN:    And he was elected

     9    President, but that's beside the point.

    10    BY MR. McGAHREN:

    11           Q     Well, let me -- let me ask the question

    12    again.

    13                 You -- you did not consider the degree

    14    of involvement of parties who also handled these

    15    materials and caused releases.        Correct?

    16           A     Well, no, I -- I believe I did

    17    incorporate degree of involvement.        The -- the

    18    amount of time that the waste piles were present

    19    on each site is -- as I state in my report, is a

    20    proxy for degree of involvement.

    21           Q     Did you consider the degree of

    22    involvement of the United States Atomic Energy

    23    Commission?

    24           A     No, I didn't.

    25           Q     Did you consider the degree of



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     1    involvement of the Army Corps of Engineers

     2    Manhattan District?

     3           A     No.   I was asked to make an assumption

     4    that the parties in this case, Mallinckrodt and

     5    Cotter, were or could be considered responsible

     6    for the entire allocation from the respective

     7    sites.

     8           Q     And do CERCLA allocations that utilize

     9    Gore factors consider orphan parties?

    10           A     They can.    I mean, you know, I think, as

    11    you probably know, there -- there isn't exactly

    12    strict regulatory guidance on how to apply the

    13    Gore factors.      So really, I look at the Gore

    14    factors and -- and other forms of allocation as

    15    tools that you can use and apply to different

    16    sites, taking into consideration what kind of

    17    information is -- is achievable and what kind of

    18    information is -- is lost.

    19           Q     But there were other parties who were

    20    involved with these materials for whom you didn't

    21    consider their degree of -- of involvement,

    22    correct?

    23           A     I understand that.     I was not asked to

    24    evaluate their degree of allocation or

    25    involvement.



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     1            Q      You testified earlier about the fact

     2    that you don't know how samples were analyzed for

     3    concentrations of radionuclides in water in 1948,

     4    correct?

     5            A      I think what we were specifically

     6    talking about is filtering out of sediments.

     7            Q      In your experience, when did filtration

     8    of water samples become an issue?

     9            A      Well, this predates my experience, but

    10    my understanding of the field is that as long

    11    as -- as soon as folks came to understand that

    12    there could be contamination partitioned into both

    13    water and/or sediments, that filtration became an

    14    issue, and that the -- the general standard

    15    protocol when you're collecting a water sample is

    16    to collect only the water.

    17                   As a matter of fact, I mean this is

    18    modern times, but we even have guidelines for

    19    monitoring wells that even before they're

    20    filtered, they shouldn't be too sediment laden.

    21            Q      Now, the standard protocols that you

    22    just testified about, whose standard protocols are

    23    they?       EP -- EPA's?

    24            A      That's correct.

    25            Q      Okay.   When was EPA -- when did EPA come



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     1    into existence?

     2           A     Oh, gosh.    Well, EPA came into existence

     3    in about 1970.

     4           Q     I believe it was 1972, but --

     5           A     Okay.

     6           Q     -- roughly around the same time.

     7           A     Yeah.

     8           Q     So EPA's protocols didn't even exist

     9    back when these samples were being analyzed,

    10    correct?

    11           A     That's correct.     But it's my

    12    understanding that as long as environmental

    13    samples of water have been taken, there's been an

    14    understanding that that's two different things:

    15    Collecting an unfiltered particle laden sample

    16    versus a sample that contains only water that is

    17    either filtered or comes from, say, a water body

    18    like the ocean that probably doesn't have any

    19    sediment laden in it.

    20           Q     But sitting here today, you don't know

    21    whether the samples that you testified about

    22    earlier from 1948 and 1960 were filtered or

    23    unfiltered samples, correct?

    24           A     That's right.     And I -- and I, you know,

    25    discuss that as -- as an unfortunate uncertainty.



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     1           Q     You referred to ALARA a number of times

     2    in your testimony today, correct?

     3           A     Yes.

     4           Q     When did that acronym come into being?

     5           A     I don't know exactly when it came into

     6    being, but it's incorporated into the federal code

     7    by 1960.

     8           Q     Which federal code?

     9           A     You'll find language like -- speaking

    10    about ALARA in 10 CFR Section 20.

    11           Q     In what year?

    12           A     I believe as early as 1960.

    13           Q     The word "ALARA" appears in 10 CFR

    14    Part 20 in 1960; is that correct?

    15           A     Well, I can't say for sure that they use

    16    that acronym, but that term is used.         It's used as

    17    a description of kind of the -- the basis or the

    18    desire of the subsequent quantitative effluent

    19    limitations.

    20           Q     Sitting here today, though, you can't

    21    tell me when that term was coined in federal

    22    regulations and where it appeared, correct?

    23           A     That's right, I don't know exactly when

    24    it appeared.

    25           Q     You can't even tell me which agency



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     1    coined it, can you?

     2           A     No, I can't.

     3           Q     Now, you testified earlier about the

     4    fact that you used a single data point max

     5    concentration in your calculations, correct?

     6           A     Which calculations are we discussing?

     7           Q     I believe there were calculations that

     8    you were referring to with respect to uranium data

     9    at SLAPS.

    10           A     Yes, I believe that's correct.

    11           Q     You would agree, though, that the

    12    regulations that existed at the time allowed

    13    licensees to use annual averages, correct?

    14           A     Once again, I -- I agree that that's

    15    what the language says, that averages of no

    16    greater than a year may be used.

    17           Q     Environmental data tends to be variable,

    18    correct?

    19           A     Yes, it does.

    20           Q     Okay.   Don't average concentrations

    21    factor that in?

    22           A     That's one of the things -- one of the

    23    reasons we use averaging.       But once again, there

    24    has to be enough data -- we call that,

    25    statistically speaking, a sample -- to be actually



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     1    representative of the population.        And by

     2    population, we mean the -- the sort of

     3    impossible-to-achieve analysis of every single

     4    moment.     So there has to be a big enough dataset

     5    in order to calculate a mean.

     6           Q      Says who?

     7           A      Well, that's just statistical practice.

     8           Q      Well, I'm not talking about statistical

     9    practice.     I'm talking about the regulations in

    10    10 CFR Part 20.     Do you see that anywhere in those

    11    regulations?

    12           A      No, I don't, but, you know, the term

    13    "average" is intrinsically statistical.

    14           Q      So if I have -- Mallinckrodt had six

    15    samples that you were looking at earlier, correct?

    16           A      That's correct.

    17           Q      The regulations would explicitly allow

    18    Mallinckrodt to use the average of those six

    19    samples, correct?

    20                  MR. McCLAIN:   Object to the form of the

    21    question.

    22                  THE WITNESS:   I don't really have an

    23    opinion about that.       I mean, it does allow the use

    24    of averages.     I would contend that that's not

    25    enough data to be representative of an average,



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     1    but other people might have different opinions.

     2    BY MR. McGAHREN:

     3           Q     Can't you have an average of two

     4    numbers?

     5           A     Well, you've got to think about what the

     6    purpose of an average is.       The purpose of an

     7    average is to say something meaningful about the

     8    real world, about -- about the truth.         And if you

     9    have a variable -- if you have a variable thing

    10    that you're trying to measure -- we just talked

    11    about how a lot of this environmental data is

    12    quite variable.     If you have a lot of variability

    13    in your dataset, you need a lot of data in order

    14    to collect a reliable average that's reasonably

    15    representative of the truth.

    16                 So, let's take an example.       If we go to

    17    Alaska, and I measure the temperature on

    18    December 3rd and then again on December 5th, and

    19    take the average, that's not going to be a very

    20    representative average annual temperature in

    21    Alaska, because I missed the summer.         What you

    22    would need is a measurement every day or at least

    23    every week in order to have a reasonable average

    24    estimate for a dataset that's highly variable.

    25           Q     Do you know if the current -- under the



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     1    current NRC regulations, licensees are allowed to

     2    use average data?

     3           A     I believe that language is still in

     4    there, yes.

     5           Q     Where is it, do you know?

     6           A     I think it's still in 10 CFR Section 20.

     7           Q     You're certain it was in 1960, though,

     8    correct?

     9                 MR. McCLAIN:    Object to the form of the

    10    question.    He said he thought.

    11    BY MR. McGAHREN:

    12           Q     Let me -- let me rephrase the question.

    13    Is it your testimony that the 1960 regulations

    14    allowed annual averages in calculating effluent

    15    exceedances?    Yes or no?

    16                 MR. McCLAIN:    Well, he doesn't have to

    17    answer it yes or no.      It can be "I don't remember"

    18    or it can be "I'd have to look."        He doesn't have

    19    to answer "yes" or "no."

    20                 MR. McGAHREN:     Nice job coaching, Ken.

    21                 MR. McCLAIN:    Well, I mean, it gets

    22    tiresome when you give directions to witnesses

    23    that don't have to be followed.

    24                 THE WITNESS:    Well, it's not really my

    25    testimony, but I -- I do understand that that



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     1    language was in the code in 1960.

     2    BY MR. McGAHREN:

     3           Q     But you disagree with it?

     4           A     No, I don't disagree with it.        It -- it

     5    says averages may be utilized.

     6                 So there's two points to that.        One is

     7    averages don't have to be utilized.         And the

     8    second one is, I read into the reference to an

     9    average that the average needs to be reliable, so

    10    there needs to be enough data to reliably collect

    11    an average or calculate an average.

    12           Q     You didn't look at metals in terms of

    13    doing any calculations or analyses other than

    14    metals that happen to be radionuclides in this

    15    particular report that you prepared?

    16           A     I did look at metals.      They're not

    17    described in this report because I was asked to

    18    provide opinions that were specifically relevant

    19    to the judge's scheduling order, and that -- that

    20    wasn't talking about metals.

    21           Q     Do you have opinions with respect to

    22    exposures of any of these four plaintiffs to

    23    metals other than radionuclides?

    24           A     I actually don't render opinions about,

    25    you know, exposures.      So the answer is no.



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     1           Q     Okay, let me rephrase the question.          I'm

     2    glad you clarified that.

     3                 Do you provide any calculations or do

     4    you quantify in any way metals concentrations in

     5    air or other media in your report?

     6           A     Other than the radionuclides that we've

     7    talked about --

     8           Q     Correct.

     9           A     -- the answer is no.

    10           Q     Okay.   Do you have opinions about that

    11    at this time?

    12           A     I don't have any formal opinions.        I

    13    mean, it's possible that I could be asked about

    14    the fate and transport of metals.        I have studied

    15    the historical record about metals at these sites.

    16    I know that they've been -- a handful of metals

    17    have been named as constituents of concern.

    18                 I also recognize that they are generally

    19    not the -- considered to be the risk or cleanup

    20    drivers.   So I don't have any --

    21                 MR. McGAHREN:     I'd like to strike

    22    that -- move to strike that answer as

    23    nonresponsive.

    24    BY MR. McGAHREN:

    25           Q     I asked you if there were any



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     1    calculations or did you in any way quantify

     2    concentrations of metals other than radionuclides

     3    in your reports.

     4             A    No, I didn't.

     5           Q      Your second opinion, at page 10 of

     6    Exhibit 2, reads:      "Contamination, including

     7    radiologic materials and metals, has escaped from

     8    the landfill."

     9                  What landfill are you referring to?        Are

    10    you referring to the buried demolition material on

    11    SLAPS?

    12                  MR. ZAGER:   Object to the form.

    13                  THE WITNESS:    Gosh, I -- I've never

    14    noticed that before, and I just have to

    15    acknowledge that that's -- that's a typo.          What I

    16    meant there is the waste piles.

    17    BY MR. McGAHREN:

    18           Q      Were you hired for the West Lake case

    19    first or for these four McClurg plaintiffs first?

    20           A      I was retained for the West Lake case

    21    first.

    22           Q      Okay.   So is this possibly a relic from

    23    your West Lake report?

    24           A      I'm afraid it might be, and I apologize

    25    for that.     That's not what I meant to say.



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     1            Q    Okay.    I just wanted to be clear what

     2    you were referring to.      So there your testimony is

     3    you're referring to the waste piles?

     4            A    Correct.

     5            Q    And you're referring to waste piles at

     6    SLAPS and Latty Avenue; is that correct?

     7            A    In opinion 2?

     8            Q    Yes.

     9            A    Yes.

    10            Q    Did you quantify any concentrations of

    11    radionuclides in media other than air?

    12                 MR. McCLAIN:    Can I have that question

    13    back?

    14                 (Whereupon, the requested record

    15                 was read.)

    16                 THE WITNESS:    I have a table that

    17    quantifies some concentrations in water, so I -- I

    18    did some quantitation of concentrations in water.

    19    BY MR. McGAHREN:

    20            Q    Can you point me to that table?

    21            A    Yeah.

    22            Q    Is it in Exhibit 2?

    23            A    Yes.    Let's see.   It's Table 1.

    24            Q    Table 1.    What you were testifying about

    25    earlier.



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     1           A      Yes.

     2           Q      Okay.   Is that the only place you did

     3    any kind of quantification of radionuclides in the

     4    media other than air?

     5           A      There is a discussion in the text that

     6    we talked about earlier about the uranium

     7    measurement, the total uranium measurement in

     8    water.     I don't think I'd call that quantifying

     9    because I'm just reporting, you know, data

    10    collected by others.      So with -- if we add that

    11    discussion in the text, then that's it.

    12           Q      Let's refer you to Table 1, the

    13    thorium-230 which you describe as soluble.          And

    14    over on the right side, you report the max

    15    concentration reported in near offsite surface

    16    water, picocuries per liter source.

    17                  The source refers to the source of the

    18    information; is that correct?

    19           A      Correct.   That's really a separate

    20    column.

    21           Q      Okay.   Now looking at the thorium-230

    22    row, your max concentration is "non-detect,"

    23    correct?

    24           A      That's correct.

    25           Q      So there were no detections of thorium



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     1    that you were able to find in surface water,

     2    correct?

     3           A     Of thorium-230, that's -- that's

     4    correct.

     5           Q     Do you know where the max U-238 sample

     6    was collected?

     7           A     I don't -- I don't recall specifically

     8    where it was collected, but it was close to but

     9    downstream of the SLAPS site.

    10           Q     So is it fair to say that these max

    11    numbers for U-238 and radium-226 pertain to SLAPS

    12    and not Latty Avenue?

    13           A     I didn't make that kind of evaluation,

    14    so I -- I really don't have an opinion like that

    15    in this report.

    16           Q     Does the water flow -- Coldwater Creek

    17    water flow from SLAPS toward Latty Avenue?

    18           A     It does.

    19           Q     So Latty Avenue is downstream?

    20           A     It is.

    21           Q     And your sources say for U-238, you

    22    identify source D, which is DOE radiological

    23    survey at a St. Louis Airport site, and you were

    24    presented with that report today in your

    25    testimony, correct?



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     1           A     Correct.

     2           Q     That doesn't pertain to Latty Avenue,

     3    correct?

     4           A     The 1979 survey?

     5           Q     Correct.

     6           A     No, it doesn't.

     7           Q     It's for SLAPS, right?

     8           A     Right.

     9           Q     Okay.    And the same thing for your

    10    radium-226 max sample, that's a Bechtel report for

    11    the SLAPS site, correct?

    12           A     That's correct.

    13           Q     So that number doesn't pertain to Latty

    14    Avenue, correct?

    15           A     Well, that number is -- certainly that

    16    concentration was -- that sample was collected

    17    closer to the SLAPS site.

    18           Q     Upstream of the Latty Avenue site,

    19    correct?

    20           A     I believe it was.

    21           Q     Can I refer you to page 3 of your

    22    report.

    23           A     Yeah.

    24           Q     In the Summary of Opinions, you say:

    25    "Previous studies in modeling predictions have



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     1    shown the transport by windblown dust, transport

     2    of radon gas and air, surface water sediments,

     3    sediment transport.      And groundwater flow are all

     4    proven pathways for contamination to escape into

     5    the environment."

     6                 To what studies are you referring?

     7           A     I am referring to really the totality of

     8    studies that have been conducted, starting all the

     9    way back in 1948, the work that was done on behalf

    10    of Oak Ridge in the '60s, and then the work that

    11    was also done and documented in Army Corps of

    12    Engineer reports, in more recent era under the

    13    FUSRAP program.

    14           Q     Including ones that aren't identified in

    15    your report?

    16           A     No.

    17           Q     So only the ones that are identified in

    18    your report.

    19           A     I'm pretty sure that the documents that

    20    I rely upon for these opinions are cited in the

    21    report.

    22           Q     Which of these path- -- pathways have

    23    you confirmed in your report?

    24           A     Well, first of all, I'll say that that

    25    wasn't my objective necessarily to confirm all



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     1    these pathways, but I have confirmed discharges

     2    to -- to surface water, to surface water

     3    sediments, and discharges by airborne particulate

     4    transport, and transport of radon gas.         I think

     5    that's about it.

     6           Q     Have you -- strike that.

     7                 For which properties and plaintiffs at

     8    issue in this matter do you believe these pathways

     9    are complete?

    10           A     I believe these pathways -- well, by

    11    complete, I think what we're talking about is

    12    offsite impacts.     Is that what we're talking about

    13    by complete pathways?

    14           Q     Or exposure to the plaintiffs.

    15           A     I don't -- I don't have opinions about

    16    exposure to the plaintiffs.

    17           Q     Well, I'm not asking about the level of

    18    exposure.    I'm talking about the pathway of

    19    exposure.    Do you have opinions on that?

    20           A     I have -- I mean, I -- I'm not trying to

    21    be difficult, but I just want to be really clear.

    22                 You know, you won't see in this report

    23    what we might call exposure point concentrations

    24    that would be used in -- in a risk evaluation.

    25    What -- what I'm really looking at is the nature



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     1    of historical discharges across the property line.

     2    So I really haven't quantified exposure point

     3    concentrations.

     4           Q     Okay.   The only thing that you have

     5    quantified then are effluent concentrations for

     6    air at the property line; is that correct?

     7           A     I've also quantified --

     8           Q     No, that's -- you're not answering my

     9    question, sir.     I'm not asking also.

    10                 I'm asking, is the only thing you

    11    quantified exposure concentrations at the fence

    12    line in air?

    13           A     No.

    14           Q     No.   You tell me then.

    15           A     Okay.   I've also quantified based on

    16    available data surface water discharge

    17    concentrations.

    18           Q     And that was Table 1.

    19           A     And that was Table 1.

    20           Q     But you haven't done for that Latty

    21    Avenue, correct?

    22           A     That's correct, I haven't done that --

    23    well, I actually haven't done that in -- in a way

    24    that would specifically identify Latty Avenue

    25    versus SLAPS.



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     1           Q      You don't have any data or analysing --

     2    analysis in your report to quantify impacts on the

     3    plaintiffs' properties; is that correct?

     4             A    That's correct.

     5           Q      Do you know when Cotter became an AEC

     6    licensee?

     7             A    I -- I don't know the exact date, but it

     8    was late 1960s, I think.

     9           Q      Do you know if Cotter operated the dryer

    10    before 1970?

    11           A      I don't believe that Cotter was --

    12    Cotter employees were directly operating the dryer

    13    before 1970.

    14           Q      Did Cotter have any on-site involvement

    15    before 1970?     Do you have any information on that?

    16           A      What I have information on -- I don't

    17    have any information on -- on their on-site

    18    activities.     I know that they were involved from

    19    the beginning because they were receiving the

    20    waste.

    21           Q      What do you mean they were involved from

    22    the beginning?     Were they involved in 1963?

    23           A      No, they were involved from 1966, when

    24    it was anticipated that they would be receiving

    25    these wastes for reprocessing.



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     1           Q     What information do you have that

     2    suggests that they were anticipated to receive

     3    this material in 1966?

     4           A     I -- I recall reading that in one of the

     5    historical summaries.

     6           Q     Do you know if the 1963 license

     7    contemplated a processing plant by the licensee?

     8           A     Well, let's look at it.      I -- you know,

     9    I --

    10           Q     We have the --

    11           A     I said earlier that I -- I didn't review

    12    the licenses.

    13           Q     You don't think that was important?         You

    14    didn't review the licenses, but you're opining on

    15    standard of care with respect to the licenses; is

    16    that correct?

    17           A     I'm opining on standard of care with

    18    respect to the handling of hazardous materials.

    19           Q     But isn't the license the governing

    20    document for the handling of the materials during

    21    these operations?

    22           A     Well, the -- the license ensures that

    23    any standard of care that would be found in 10 CFR

    24    Section 20 would apply.      But, you know, these

    25    licenses are -- are very brief.        They don't --



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     1    they don't spell out complete standard of care.

     2           Q     Do you have the 1963 license in front of

     3    you?

     4           A     Let's see.    (Peruses document.)

     5                 Okay, I do.

     6           Q     Which exhibit --

     7           A     It's Exhibit 5.

     8           Q     Exhibit 5.    Thank you.

     9                 And who was the licensee in Exhibit 5?

    10           A     The licensee is Contemporary Metals

    11    Corporation.

    12           Q     And did you have -- do you have

    13    information that suggests there was any

    14    relationship or connection between Contemporary

    15    Metals Corporation and Cotter?

    16           A     I don't have any specific information

    17    about what their relationship might be.         I know

    18    that Cotter was the recipient of most of the

    19    material from Latty Avenue, but I don't know the

    20    nature of their relationships.

    21           Q     Okay.   Could you describe for me the

    22    licensing process that AEC utilized at the time

    23    frame when this license was applied for?

    24           A     No, I can't really.

    25           Q     Do you know if it involved an



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     1    application?

     2           A     Yes, it did involve an application.

     3           Q     Did you review the application for the

     4    '63 license?

     5           A     No, I didn't.

     6           Q     Did you review the application for any

     7    of the subsequent licenses for material at Latty

     8    Avenue?

     9           A     No.

    10           Q     Do you know if those applications

    11    provided procedures and health and safety

    12    parameters to the AEC?

    13           A     I -- I didn't review them, so I don't

    14    know what their contents are.

    15           Q     So let me just understand this.

    16                 You are opining on the standard of care,

    17    but you don't know the AEC licensing process, you

    18    didn't review the applications that were submitted

    19    to AEC, and you didn't even review the licenses,

    20    correct?

    21           A     That's correct.

    22           Q     All right.    Who was the next licensee

    23    after this 1963 license?

    24           A     Well, I -- I know the -- the

    25    predecessors to Cotter changed names or there were



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     1    different companies, but I don't recall the names.

     2            Q    Do you use that "predecessor" word in

     3    some sentence if there's an affiliation between

     4    Cotter and any of these prior licensees?

     5            A    I'm -- I'm just talking about temporal,

     6    you know, sequencing.

     7            Q    Okay.   So there's no legal significance

     8    to that word there.      You're just using it in a

     9    temporal sense, correct?

    10            A    I am.

    11            Q    Okay.   You don't know who the other

    12    licensees were?

    13            A    I don't recall their names as I sit

    14    here.

    15            Q    Did you evaluate any documentation

    16    concerning their operation of Latty Avenue?

    17            A    Well, I know that -- that these

    18    companies prior to Cotter assuming the license

    19    were involved with the operation of Latty Avenue.

    20    So from the context of reviewing inspection

    21    reports and reviewing historical information about

    22    the operation, that would fall into that category.

    23            Q    I'm not sure I understand your -- your

    24    answer.

    25                 MR. McGAHREN:     Can you read back that



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     1    answer?    Read the question and the answer, please.

     2                 (Whereupon, the requested record

     3                 was read.)

     4    BY MR. McGAHREN:

     5           Q     Did you find anything in your review

     6    that connected any of these prior licensees to

     7    Cotter?

     8           A     I don't have any knowledge of -- of

     9    contractual arrangements, but it's my

    10    understanding that Cotter was the receiver of

    11    these wastes as they were being shipped out of

    12    Latty Avenue, even before Cotter took over the

    13    operation of Latty Avenue.

    14           Q     When were the first materials shipped

    15    out of Latty Avenue?

    16           A     I might not recall exactly, but it would

    17    have been approximately, as I recall the

    18    documentation, 1968.

    19           Q     And do you know the entity that was

    20    shipping that material?

    21           A     No, I don't.

    22           Q     Do you know if they were a licensee?

    23           A     Well, I believe they were.

    24           Q     Do you know if they were inspected by

    25    the Atomic Energy Commission?



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     1           A      Well, we have some -- we have some

     2    documentation of some inspections, so it's my

     3    belief that they were on occasion inspected by

     4    AEC.

     5           Q      Can I refer you to page 11 of your

     6    report.

     7             A    Yeah.

     8           Q      In the middle of -- at page 11, you say:

     9    "Mallinckrodt would have been aware of this issue

    10    because AEC had observed and reported uncontrolled

    11    releases of contaminated sediment at least by

    12    1948."

    13                  What are you referring to specifically

    14    that Cotter would have been aware of?

    15                  MR. ZAGER:   Object to form.     You just

    16    mentioned Mallinckrodt there.

    17                  MR. McGAHREN:    I read the sentence.      My

    18    question did not use the word "Mallinckrodt."

    19                  THE WITNESS:    I -- I think it did.

    20                  MR. McGAHREN:    Read back the question.

    21    BY MR. McGAHREN:

    22           Q      I'm pointing you to a sentence you wrote

    23    which uses the word "Mallinckrodt."

    24           A      I -- I think you didn't read that

    25    exactly correctly.



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     1           Q     Well, let me rephrase the question.

     2           A     Okay.

     3           Q     Do you see the sentence I'm referring

     4    to?   It says --

     5           A     I do.

     6           Q     -- "Mallinckrodt and Cotter would have

     7    been aware of this issue."

     8           A     Yes.

     9           Q     What are you referring to that Cotter

    10    would have been aware of?

    11           A     What I'm referring to is contamination

    12    in creek sediments.

    13           Q     Because of this 1948 report?

    14           A     That's an example of -- of knowledge of

    15    this situation of offsite transport of

    16    contaminants.

    17           Q     Can we pull out that 1948 report?        I

    18    believe it's Exhibit 7.

    19                 That's the only report you reference to

    20    support your statement that Cotter would have been

    21    aware of it, correct?

    22           A     That's the only report that I'm

    23    referencing, yeah.

    24           Q     Okay.   And that report was drafted by

    25    the Atomic Energy Commission?



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     1            A    That's correct.

     2            Q    Okay.   Take a look at the front -- the

     3    first page of Exhibit 7.       Do you see at the

     4    bottom?

     5            A    Yes.

     6            Q    What does it say?

     7            A    It says "Confidential."

     8            Q    "Confidential."     Do you know -- it says

     9    in the middle here, "Declassified."         Do you see

    10    that?

    11            A    I do.

    12            Q    It was a classified document.        How --

    13    how can you be certain Cotter could have known

    14    anything about this document?

    15            A    Well, I don't have direct knowledge that

    16    Cotter would have known about this specific

    17    document, but it's kind of -- it's kind of common

    18    sense, I mean when -- when we see evidence that

    19    material is escaping from these sites -- for

    20    example, at the SLAPS site we have this evidence

    21    reported in 1948.     We have later evidence showing

    22    that steps were actually taken to prevent sediment

    23    from escaping that site.       When at the Cotter site,

    24    we have situations where, you know, waste material

    25    is -- is just visually observed to be sloughing



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     1    under fences and things like that, that there's a

     2    common sense element that folks would have

     3    recognized that contaminated material was

     4    escaping.

     5            Q    And what exactly did Cotter do here?         To

     6    your knowledge.     Did they remove material from the

     7    site?

     8            A    Well, Cotter at first received materials

     9    from the site.

    10            Q    For what purpose?

    11            A    For the purpose of reprocessing.

    12            Q    So they were looking to recover material

    13    from these wastes, correct?

    14            A    That's my understanding, in Canon City,

    15    Colorado.

    16            Q    Essentially they were recycling the

    17    materials, correct?

    18            A    That's one way to talk about it.        They

    19    were -- they were "reclaiming" is a -- is a

    20    term --

    21                 MR. McCLAIN:    Trying to make money.

    22                 THE WITNESS:    -- that we often use.

    23    Yeah, they were --

    24                 MR. McCLAIN:    They were trying to make

    25    money.



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     1                 THE WITNESS:    They were -- they were

     2    extracting value out of these wastes because they

     3    still contained, you know, pretty sizable levels

     4    of uranium.

     5                 And then starting about 1970, they

     6    operated the site.

     7                 MR. McGAHREN:     I -- I didn't want to

     8    interrupt your answer there.

     9                 But, Ken, that was probably the worse

    10    example of coaching that I've ever witnessed in

    11    30 years as a lawyer.       Please don't do that again.

    12    Thank you.

    13    BY MR. McGAHREN:

    14            Q    So --

    15                 MR. McCLAIN:    Suggesting that they were

    16    trying to make money is coaching him?         Isn't that

    17    true?    It's absolutely true.     All the evidence in

    18    the case are contracts back and forth about how

    19    much money Cotter was going to make reprocessing

    20    this information.     I don't think I was coaching

    21    him at all.    It's just stating a fact that's not

    22    in dispute.

    23                 MR. McGAHREN:     The witness was in the

    24    middle of answering my question.

    25                 MR. McCLAIN:    And he did.



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     1                 MR. McGAHREN:     It was inappropriate.

     2    BY MR. McGAHREN:

     3           Q     Do you have any knowledge of the

     4    contractual arrangements between Cotter and any

     5    other licensee of the Latty Avenue site?

     6           A     I think we covered that before.        I don't

     7    have any knowledge of the contractual arrangements

     8    between the parties.

     9           Q     So you didn't consider that in forming

    10    your opinions?

    11           A     No.

    12           Q     Okay.   You refer on page 11 of your

    13    report to "a troubling record of contaminated soil

    14    apparent -- apparently being used to build a ramp

    15    into a parking garage at the St. Louis Airport."

    16                 Do you see that?

    17           A     Yes.

    18           Q     Are you referring to Cotter there?

    19           A     I'm not really referring to anyone.         To

    20    my knowledge -- specifically.       To my knowledge,

    21    there isn't any record of an investigation as to

    22    how this event came about.       So I'm not allocating

    23    any blame or responsibility.       I'm just pointing

    24    out that this is the kind of thing that can happen

    25    when you look at uranium mine tailing sites.          It's



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     1    something that's -- that's found at uranium mine

     2    tailing sites.

     3                  So I'm not incorporating that into any

     4    kind of allocation.      I'm just citing it as an

     5    example whereby it appears that some of this

     6    material was used in a construction project.

     7           Q     From the airport site, correct?

     8           A      I don't know where it's from.

     9           Q     Well, doesn't this refer, the reference

    10    at footnote 29, "Letter to St. Louis Airport

    11    Authority"?

    12           A     Well, the parking garage is at the

    13    airport site, but as to where the fill material

    14    came from, I -- I'm not aware that anyone tracked

    15    that down.

    16           Q     Did you evaluate the operations of the

    17    airport itself in decommissioning the St. Louis

    18    Airport Site?

    19           A     No, I didn't.

    20           Q     You didn't.    Do you consider that

    21    relevant to your opinions?

    22           A     For the assignment that was presented to

    23    me, that was not relevant.

    24           Q     Why not?

    25           A     Well, for the purposes of allocation, I



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     1    think I've already mentioned this, that I was

     2    asked to evaluate the allocation for offsite

     3    releases from the various sites, assuming that

     4    Cotter and Mallinckrodt having operated it at

     5    their respective sites could be considered

     6    responsible for all of the releases from those

     7    respective sites.

     8           Q     Can your report be used to evaluate

     9    concentrations experienced by the plaintiffs in

    10    this case?

    11                 MR. McCLAIN:    Object to the form of the

    12    question.    By whom?

    13                 THE WITNESS:    I think we already talked

    14    about that too.     Can it be used?     It -- it

    15    probably could be used to evaluate the

    16    concentrations that were experienced by the

    17    plaintiffs.    I didn't do that, and to my

    18    knowledge, Dr. Clark didn't either.

    19    BY MR. McGAHREN:

    20           Q     Did Dr. Clark do his own independent

    21    assessment of exposure concentrations?

    22           A     Yes.

    23           Q     Did you review that?

    24           A     I did review his reports, yes.

    25           Q     Did you reach any opinions based on his



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     1    reports?

     2           A     Can you clarify that?      I'm not sure what

     3    you mean.    Are you asking about the opinions that

     4    are stated in my report having flowed from

     5    Dr. Clark's or is it something broader?

     6           Q     I'm -- I'm talking about, you know,

     7    information from Dr. Clark's report or opinions

     8    from his report, have they caused you to form any

     9    new opinions?

    10           A     No, they -- they reinforced my opinions

    11    that -- that there's offsite contamination that --

    12    you know, that was caused by releases from the

    13    SLAPS site and the Latty Avenue site.

    14                 I discussed earlier that I did review

    15    three of Dr. Clark's reports.       I came to

    16    understand the methodology that he used for

    17    arriving at those exposure point concentrations,

    18    and I believe that that was an appropriate and

    19    reasonable approach that he took.

    20           Q     Do you consider yourself an expert with

    21    respect to AEC regulations?

    22           A     I don't specifically consider myself an

    23    expert with respect to AEC regulations, but I do

    24    consider myself an expert in interpreting

    25    environmental regulations and applying those



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     1    regulations on behalf of clients at sites.

     2           Q     What's your experience with AEC

     3    regulations?

     4           A     Well, this is the -- this is I think the

     5    first project where I've applied AEC effluent

     6    limitation regulations.

     7           Q     First ever, correct?

     8           A     Correct.

     9           Q     How about NRC regulations, are you an

    10    expert with respect to NRC regulations?

    11           A     Once again, I'm not -- I'm not proposing

    12    that I'm a specific expert on NRC regulations, but

    13    through my 25-plus years of -- of work, I do

    14    consider myself an expert at interpreting federal

    15    and state environmental regulations, and helping

    16    clients understand and comply with them.

    17           Q     In your report, you opine that it's the

    18    1960 AEC regulations, 10 CFR Part 20, that apply

    19    to Cotter's operation at Latty Avenue; is that

    20    correct?

    21           A     Correct.

    22           Q     How did you reach that conclusion?

    23           A     Well, what we looked for was the

    24    earliest -- the earliest version of the

    25    regulations that would apply during the '60s.



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     1           Q     Why would you look at the earliest?

     2    Wouldn't you look at the regulations that were in

     3    effect at the time the operations occurred?

     4           A     Well, I think they were in effect.

     5           Q     So it's your opinion and testimony that

     6    it was the 1960 regulations that applied to

     7    Cotter's operations at Latty Avenue, correct?

     8           A     Well, specifically in terms of these

     9    effluent limitations, yes.

    10           Q     And not some subsequent regs, correct?

    11           A     That's correct.

    12           Q     Is that an opinion you reached on your

    13    own?

    14           A     That's an opinion -- that's really an

    15    assumption that I was given from counsel.

    16           Q     Do you know what part of the CFR

    17    NRC regulations are contained in?

    18           A     No, I don't.

    19           Q     How about EPA regulations, do you know

    20    what part of the CFR they're contained in?

    21           A     Those are generally contained in -- or

    22    they are contained in 40 CFR.

    23           Q     So you're familiar with the EPA regs but

    24    not the NRC regs?

    25                 MR. McCLAIN:    Object to the form of the



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     1    question.

     2    BY MR. McGAHREN:

     3           Q     Correct?

     4                 MR. McCLAIN:    Object to the form of the

     5    question.

     6    BY MR. McGAHREN:

     7           Q     You can answer.

     8           A     I'm more familiar with the EPA

     9    regulations, that's true.

    10           Q     Other than the 1948 AEC sampling report

    11    and exhibits that you were shown earlier today in

    12    your testimony, did you evaluate any offsite water

    13    sampling done by Cotter or its consultants?

    14           A     I don't believe so.

    15           Q     How did you determine what to review?

    16           A     Well, I was first given and then my --

    17    you know, then found on my own a -- a handful of

    18    documents, such as more recent Army Corps of

    19    Engineer reports.     I reviewed early on the RAC

    20    report, and those reports make references to

    21    earlier documents.

    22                 So I kind of followed a chain of

    23    becoming aware of the existence of certain

    24    documents and then tracking them down.

    25           Q     But you didn't review any specific



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     1    documents concerning Cotter's sampling of water;

     2    is that correct?

     3           A     I don't recall any -- any data of

     4    Cotter's sampling of water.

     5           Q     You didn't review any, correct?

     6           A     I -- you know, as I sit here, you know,

     7    there's thousands and thousands of pages.          I

     8    don't -- I don't recall any data like that.

     9           Q     If there was data like that, would it be

    10    relevant to your opinion?

    11           A     Well, I'm a data guy.      I -- you know, I

    12    welcome getting more data, and -- and if there was

    13    additional data that -- that would allow me or

    14    suggest to me that I should refine an opinion, I

    15    would be happy to do that.

    16                 You know, I'll point out that for the

    17    purposes of -- of this report, I was looking at

    18    comparing the concentrations that were known or

    19    calculated with the effluent limitations, and what

    20    I found was that I didn't have information that

    21    the water effluent limitations were exceeded.

    22                 So, from -- from that perspective, I,

    23    you know, made a conclusion, acknowledged that

    24    there's a limitation in the data that's available,

    25    and I moved on.



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     1           Q     Did you make an effort to summarize all

     2    available water sampling data from Coldwater Creek

     3    prior to removal of the piles?

     4           A      I was -- I was interested in finding all

     5    data from water sampling prior to removing the

     6    waste piles.    I can't say for certain that I found

     7    all that data.     I used the data that was available

     8    to me to formulate these opinions.

     9           Q     And what data was available to you?

    10           A     The data that's cited in the references

    11    in my report.

    12           Q     And where did you get that data?

    13           A     Well, once again, I retrieved a lot of

    14    those reports myself from FUSRAP website, from the

    15    EPA website, and then other data and reports I

    16    retrieved from Humphrey Farrington's document

    17    repository.

    18           Q     Do you have an index of what's on

    19    Humphrey Farrington's document repository that you

    20    reviewed?

    21           A     I'm not aware of any index.

    22           Q     Can I refer you to page 9 of your

    23    report.

    24           A     I'm with you.

    25           Q     Okay.   On page 9, you state that:



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     1    "Levels of contamination, principally thorium-230

     2    similar to those on the piles, were found in both

     3    areas."

     4                 Are you referring to the northern and

     5    eastern vicinity areas or properties?

     6           A     I'm just trying to find that sentence.

     7    Oh, I see.

     8                 Well, this is the -- in reference to --

     9    wait a minute.     This is in reference to a study on

    10    the Latty Avenue site.

    11           Q     But that statement, "Levels of

    12    contamination," you're referring to the northern

    13    and eastern vicinity properties; is that correct?

    14           A     I'm sorry, repeat the question.

    15           Q     The sentence that I read that says:

    16    "Levels of contamination, principal thor- --

    17    principally thorium-230, similar to those on the

    18    pile, were found in both areas," you're referring

    19    to the northern and eastern vicinity properties;

    20    is that right?

    21           A     Correct.    Correct.

    22           Q     Did you review -- attempt to track back

    23    in time the genesis of the soluble versus

    24    insoluble effluent limits?

    25           A     No, I -- I really didn't do that.



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     1                 MR. McCLAIN:    You guys have to leave in

     2    a half hour, don't you?

     3                 MR. McGAHREN:     We'll get them out of

     4    here, don't worry.

     5                 THE WITNESS:    I don't want to gum

     6    things up, but I'd appreciate taking a short break

     7    when --

     8                 MR. McGAHREN:     Let's take --

     9                 THE WITNESS:    -- there's a good stopping

    10    point.

    11                 MR. McGAHREN:     Let's take a break now.

    12    That's fine.    I don't have that much more.

    13                 THE WITNESS:    Okay.

    14                 THE VIDEOGRAPHER:     Going off the record.

    15    The time is 4:55 p.m.

    16                 (Recess.)

    17                 THE VIDEOGRAPHER:     Going on the record.

    18    The time is 5:01 p.m.

    19                 MR. McGAHREN:     We're back on?

    20                 THE VIDEOGRAPHER:     Yes.

    21    BY MR. McGAHREN:

    22           Q     Dr. Clark, can you describe your

    23    methodology for calculating air releases and

    24    emissions of the fence line at Latty Avenue?

    25           A     Yeah.



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     1                 It's Dr. Wells.

     2            Q    Pardon me.    It's late in the day.

     3            A    It is.

     4            Q    Dr. Wells.    Sorry.   I got Clark on my

     5    mind.

     6            A    Good.    Your question was describe the

     7    methodology for estimating air emissions at Latty

     8    Avenue?

     9            Q    And effluent concentrations.

    10            A    And effluent concentrations, yes.

    11                 So that's discussed in my report

    12    starting on page 17, and I specifically looked at

    13    emissions related to the waste drying operation.

    14                 And this is one of those examples where

    15    Dr. Till's team had done some calculations that I

    16    was able to, first of all, review and determine

    17    that their methodology was reliable, and then use

    18    to calculate or estimate the effluent

    19    concentrations at the fence line.

    20            Q    So you didn't do the underlying

    21    calculations performed by Dr. Till and his team

    22    that you relied on, correct?

    23            A    I -- I did a number of calculations, but

    24    I did not -- I did not redo Dr. Till's

    25    calculations.



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     1           Q     You testified earlier that your copy of

     2    Dr. Till's report did not have the appendices,

     3    correct?

     4           A     At least it didn't have all the

     5    appendices, I believe.

     6           Q     Well, we've marked your report for

     7    identification -- or, excuse me, we have not

     8    marked Dr. Till's report.       Let's do that.

     9                 (Exhibit No. 15 was marked for

    10                 identification.)

    11    BY MR. McGAHREN:

    12           Q     So I've marked the report for

    13    identification as Exhibit 16 -- 15.

    14                 Is that the report you utilized?

    15           A     Yes, it certainly looks like it.

    16           Q     Okay.   And where did you get a copy of

    17    that report?

    18           A     I got a copy of that report from

    19    counsel.

    20           Q     And do you know if that was -- report

    21    was obtained by counsel off of the court's docket?

    22           A     I really don't have any knowledge of

    23    how -- how Humphrey Farrington came to have this.

    24           Q     Well, looking at that report that I've

    25    marked for identification as Exhibit 6 -- 15,



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     1    excuse me, did you have anything beyond what's in

     2    that exhibit?

     3           A     Well, the version you just gave me is

     4    like 300 pages long, so I -- you know, I certainly

     5    can't go through and verify that it's exactly the

     6    same, but I mean, I can certainly verify that it's

     7    the same report that I used.

     8           Q     Is it the same thickness roughly as the

     9    document you recall reviewing?

    10           A     I honestly never printed this report

    11    out.

    12           Q     Okay.   Let's go to the table of contents

    13    of Exhibit 15.

    14           A     Sure.

    15                 MR. ZAGER:    15 or 16?

    16                 MR. McGAHREN:     15.   I said 16, but

    17    it's 15.

    18    BY MR. McGAHREN:

    19           Q     Do you see the appendices there

    20    identified in the table of contents?

    21           A     Yes, I do.

    22           Q     Which of those appendices did you

    23    review?

    24           A     Well, my version of the report must have

    25    Appendix A because I -- I did review background



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     1    information, you know, the background and

     2    qualifications of -- of Dr. Till, but I believe

     3    that I -- my version did not have any of the other

     4    appendices.

     5           Q     So you thought you had Exhibit A?

     6           A     A --

     7           Q     Appendix A.

     8           A     Appendix A, yes.

     9           Q     Okay.   So you, sitting here today,

    10    definitely recall reviewing Appendix A; is that

    11    correct?

    12           A     I definitively recall reviewing

    13    Dr. Till's experience and qualifications.          And I

    14    see here that that's -- his curriculum vitae is

    15    listed in Appendix A, so I'm -- I'm pretty certain

    16    that that's where I reviewed his qualifications.

    17           Q     Pretty certain but not certain.        You

    18    might have got it off the internet or something?

    19           A     Well, there's also information about --

    20    about his qualifications in Section 1.         But, no, I

    21    know I didn't get it off the internet, so I'm

    22    pretty sure that I had a copy of Appendix A.

    23           Q     Did you have any of the information

    24    concerning the models that were run by Dr. Till

    25    and his team?



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     1           A     Yes.

     2           Q     What information was that?

     3           A     It's the information that's discussed in

     4    some detail in the body of this report.

     5           Q     So you had the information that's in the

     6    body of the report?

     7           A     Yes.

     8           Q     Okay.    So you -- you utilized this

     9    report in calculating your air emissions at Latty

    10    Avenue and your effluent guidelines.

    11                 Can you identify specifically what --

    12    what you used?

    13           A     Yes.    I'll show you Table 3 of my report

    14    is the calculations that I conducted for

    15    calculating or estimating the effluent

    16    concentrations of individual radionuclides from

    17    the drying operation.

    18           Q     Okay.    And where in Dr. Till's report

    19    were these numbers derived from?

    20           A     I can show you that.      Let me find my

    21    specific reference.

    22           Q     And I'd also like you to show me in your

    23    report where you identify it.

    24           A     Okay.    (Peruses document.)

    25                 Okay.    So if you'll go to page 17 of my



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     1    report, I discuss citing both Table 4-33 and

     2    Table 4-34.

     3           Q     Okay.    Let's go to 4-33.

     4           A     Yeah.

     5           Q     What did you use from Table 4-33?

     6           A     I used the -- the compilations provided

     7    here of PM10 releases from the dryer operation

     8    that's separated out by quarter and by waste type,

     9    in particular, the Congo raffinate versus the

    10    Colorado raffinate.

    11           Q     Okay.    So looking at Table 4-33, in the

    12    left column, it says "Year-end quarter," correct?

    13           A     Correct.

    14           Q     And you have quarters there from the

    15    third quarter of 1967 going down through the

    16    fourth quarter of 1968, Total Campaign, 1.          You

    17    have a subtotal there.

    18           A     Right.

    19           Q     Correct?

    20                 Who was operating the dryer during those

    21    quarters?

    22           A     I don't specifically know who was

    23    operating the dryer during those quarters.

    24           Q     Did you use information from those

    25    quarters to form your opinions regarding effluent



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     1    limits while Cotter was operating?

     2           A     Well, what I've done here is I've used

     3    this data to estimate effluent limits for each of

     4    these quarters.      I haven't allocated or made an

     5    opinion about who was operating at each of those

     6    times.

     7           Q     Okay.    And where in your table do you

     8    identify the exceedances in your report?

     9           A     The exceedances are shaded in the bottom

    10    part of Table 3.

    11           Q     Okay.    So you've identified exceedances

    12    in what's -- seems to be labeled as B of the

    13    Table 3 in your report?

    14           A     Correct.

    15           Q     Which says "Concentrations released,"

    16    and it lists "Radionuclides" underneath that,

    17    correct?

    18           A     That's correct.

    19           Q     Okay.    And with respect to -- which

    20    radionuclides did you identify exceedances?

    21           A     I identified principally thorium-230,

    22    but there are also estimated exceedances of

    23    protactinium-231.

    24           Q     Okay.    And when did those exceedances of

    25    protactinium-231 occur?



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     1           A     According to my calculations, in the

     2    second and third quarters of 1968.

     3           Q     Okay.   In your report you refer to

     4    10.25 tons on page 17.

     5           A     Yes.

     6           Q     How did you utilize that figure?

     7           A     In terms of the calculations that are --

     8    that are found in Table 3?

     9           Q     Correct.

    10           A     I used that as -- as really kind of a

    11    baseline.    So that -- that's an analysis that

    12    Dr. Till made, and I used that really as the

    13    total, the total amount of material that was

    14    released.    It's really no different than the data

    15    that's tabulated in Table 4.33.        So -- the data in

    16    Table 4.33 is -- is accurately reproduced at the

    17    top, along the top couple of rows of my Table 3.

    18    That's really where the mass or the tonnage comes

    19    in.

    20           Q     Did you use the 10 -- 10.25 figure in

    21    your calculations?

    22           A     Not specifically.     I mean, that's --

    23    that's just the total of these values that are

    24    summed up in Table 4-33.

    25           Q     What type of assumptions did your



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     1    calculations make?

     2                 MR. McCLAIN:    What type of assumptions?

     3    That's a pretty broad question.

     4                 MR. McGAHREN:     I'm trying to discover

     5    what assumptions he made.

     6                 MR. McCLAIN:    I understand, but I'm just

     7    saying that the question as stated is pretty broad

     8    without much direction.

     9                 Is there specific -- are there specific

    10    things you want to know?

    11    BY MR. McGAHREN:

    12           Q     Can you answer the question, sir?

    13           A     I can.

    14                 One of the assumptions we've already

    15    talked about, the assumption that the grain size

    16    distribution that was measured for uranium mine

    17    tailings would be appropriate and reasonable to

    18    use in this case.

    19                 Another assumption that I've made in

    20    these calculations is that the emission factors

    21    for mineral processing are appropriate for this

    22    kind of operation.     That's an assumption that

    23    Dr. Till made, and I considered that assumption

    24    and I concurred that that was reasonable.

    25                 All of these things are -- you know, all



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     1    these operations are different.        A gravel site is

     2    going to be different from a waste drying site.

     3    But there are emission factors and equations that

     4    are used for calculating air emissions, and that's

     5    an assumption I made, that those factors were

     6    appropriate for this operation.

     7            Q    But you didn't attempt to run AERMOD to

     8    actually take Dr. Till's information and do your

     9    independent calculations -- do any independent

    10    calculations?

    11            A    There are some independent calculations

    12    here.    And this isn't really AERMOD that Dr. Till

    13    was using.    These are equations from EPA guidance.

    14    But I did review Dr. Till's approach, I agreed

    15    that it was a reasonable approach, and I did use

    16    his results.

    17            Q    Did you assume the size of the site?

    18            A    I guess you could call that an

    19    assumption.    I mean I -- I incorporated the size

    20    of the site into my calculations.

    21            Q    How big a site did you incorporate into

    22    your calculations?

    23            A    That's tabulated here.

    24            Q    Show me where.

    25            A    Okay.   If you go to page 18 of my



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     1    report, I described the size of the Latty Avenue

     2    site as 10.46 acres.

     3           Q     Did you assume that the site was

     4    206 meters in length?

     5           A     Well, I assumed that that was a

     6    reasonable modeling length.       The -- the standard

     7    protocol is to take the square root of the size.

     8           Q     Did you assume it had a certain height?

     9           A     For my own calculations, I assumed that

    10    the air mass that I was evaluating had a thickness

    11    of 10 meters.

    12           Q     Did you assume any instant distribution

    13    of contamination through this box that you

    14    created?

    15           A     I assumed a uniform distribution.

    16           Q     Instantly, correct?

    17           A     Instantly?

    18           Q     Yes.

    19           A     Well, continuously.      I mean, we can look

    20    at that as an average really, but for the purposes

    21    of these calculations, I -- I assumed uniform

    22    mixing.

    23           Q     Would you describe this as a box model?

    24           A     Sure.   I would describe this as a box

    25    model.



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     1           Q     Does the site actually have that shape?

     2                 MR. McCLAIN:    Come on.

     3                 THE WITNESS:    Well, it has those -- it

     4    has those dimensions.      I mean it is 10.46 acres,

     5    or was.    So it's not -- it's not precisely a box;

     6    you know, a four-sided box.       But it's a reasonable

     7    assumption for calculating the volume of air

     8    that's blowing over the site, and that's what I

     9    was using these dimensions for.

    10    BY MR. McGAHREN:

    11           Q     Did you make any assumptions concerning

    12    temperature?

    13           A     There's -- there's no explicit

    14    assumptions about temperature in my calculations.

    15           Q     Did you perform any validation on your

    16    box model?

    17           A     Well, I mean, I would be -- I would have

    18    been happy to do that, but this is a situation

    19    oftentimes when we're stuck with doing modeling,

    20    what we're trying to do is fill in data gaps,

    21    either temporal or spatial data gaps.         So we -- we

    22    don't have a lot of measurements from the time

    23    that the dryer was operating of particulate

    24    concentrations at the fence line.        As a matter of

    25    fact, I'm not aware of any.



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     1                  So I would be pleased to be able to do

     2    some validation, but I couldn't find any data to

     3    validate against.

     4           Q      Why didn't you use a Gaussian plume

     5    model?

     6             A    Well, what I was trying to do is -- is

     7    come up with a reasonably achievable estimate of

     8    these effluent limitations.       There are, you know,

     9    lots of ways that this could have been done.          A

    10    Gaussian plume model would have been much more

    11    complex, but -- and I thought about doing, you

    12    know, different types of approaches.         But what I

    13    decided was that given the uncertainties with

    14    regard to the paucity of data, that more complex

    15    modeling or calculation efforts might seem more

    16    precise, but they really wouldn't be more

    17    accurate.

    18             Q    But your calculations were based on a

    19    Gaussian plume model run by Dr. Till, correct, or

    20    his team?

    21             A    Well, it was -- it was based on a series

    22    of calculations that were estimating emissions

    23    from a mineral processing facility.

    24             Q    Can you identify any other project

    25    involving a regulatory agency where you used this



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     1    methodology for evaluating compliance?

     2           A     Yeah, I've used comparable

     3    methodologies.     One example is I've faced the

     4    challenge in the past of needing to calculate the

     5    mass of contamination in some -- some area, say,

     6    groundwater contamination in a plume or a soil

     7    contamination at a site, and we use very similar

     8    calculations like this where we're trying to get a

     9    reasonable estimate considering the limitations

    10    that we have on the data.

    11           Q     How about for a hot, high velocity point

    12    source, have you ever used it for that purpose?

    13           A     No, I haven't.

    14           Q     Have you ever heard of anyone using it

    15    for that purpose?

    16           A     Well, I'm not sure the -- the actual

    17    source is relevant, because what I'm doing here

    18    is, is I'm converting the results of a more

    19    complex analysis into the concentration units that

    20    we needed to compare against the effluent

    21    limitations.

    22                 So if I think of Exide lead, we actually

    23    did something kind of similar to that, but I don't

    24    know if that falls into your category of a hot

    25    point source, but although there are fugitive



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     1    emissions, these were, you know, emissions out of

     2    a stack, and they were high temperature emissions.

     3                 And one of the things that -- that I did

     4    as part of my assignment for Exide is try to

     5    understand, given the amount of emissions, the

     6    amount of lead in emissions that we know or could

     7    estimate had occurred over the operational life,

     8    what sort of mass, how many tons, how many

     9    kilograms of lead could there be or even should

    10    there be out in the neighborhood where

    11    contaminated soils were found.

    12                 So it's a different kind of box, but

    13    it's still a box model.

    14           Q     So you applied this box model at the

    15    Exide site in California; is that correct?

    16           A     Yes.   I mean, it's not the exact same

    17    model because we were looking for a different

    18    endpoint.

    19           Q     And you submitted this analysis to a

    20    regulatory agency?

    21           A     No, it's not submitted to a regulatory

    22    agency.    It's -- it's something I -- that I worked

    23    on on behalf of the Technical Advisory Committee.

    24    It's something that we discussed at advisory

    25    meetings and public meetings, but it's not in a



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     1    report.

     2            Q    Okay.   But my question pertained to

     3    submissions to regulatory agencies for purposes of

     4    determining compliance.      Did you not understand

     5    that?

     6                 MR. McCLAIN:    You know, John, the way

     7    you say things, it's kind of insulting sometimes.

     8                 MR. McGAHREN:     No, I'm just trying to

     9    make sure he understands my question.

    10                 MR. McCLAIN:    When you say, Didn't you

    11    understand that? it's condescending and it's rude.

    12    We've been here a long time, and we don't need

    13    that kind of comment this late in the day.

    14    BY MR. McGAHREN:

    15            Q    I apologize if you feel that I was rude

    16    to you, sir.    That wasn't my intent.       I want to

    17    make sure that you understand my question.

    18                 My question is very specifically

    19    tailored toward whether or not you've done this

    20    type of analysis and submitted it to a regulatory

    21    agency for purposes of establishing compliance.

    22            A    I've done this kind of analysis for

    23    different purposes at sites that were regulated by

    24    various agencies, but not for the purposes of

    25    compliance.



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     1           Q     And that's the purpose of your analysis

     2    here, correct?

     3           A     Well, the way I would look at it is the

     4    purpose of -- of this analysis is to arrive at an

     5    estimate of concentrations.       And then from there,

     6    there's a second step, which is, is this in

     7    compliance or is it not?

     8                 So my purpose was to take the

     9    information that we have available, as sparse as

    10    it is, and -- and arrive at a scientifically

    11    reasonable estimate of these effluent

    12    concentrations.

    13           Q     Did you perform your analysis for any

    14    radionuclides other than radon, thorium-230 and

    15    protactinium-241?

    16           A     Yes.    I performed this analysis for the

    17    whole list of radionuclides that are tabulated on

    18    Table 3.

    19           Q     Okay.    But the ones I mentioned are the

    20    ones where you opine that they exceeded the

    21    relevant effluent limitation for air at Latty

    22    Avenue, correct?

    23           A     Can you read your list again?

    24           Q     My list included radon, thorium-230, and

    25    protactinium-241.



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     1           A     Oh.   That's correct.

     2                 MR. McCLAIN:    Now, John, you expressed

     3    concern that if we went beyond 5:30, that you

     4    would not be offering your best testimony.          Are

     5    you all right?

     6                 MR. McGAHREN:     I'm almost done, Ken.

     7                 THE WITNESS:    I would love to get out --

     8    out of here by about 6:00, but I'm doing fine.

     9                 MR. McGAHREN:     We'll definitely be out

    10    of here, unless these folks have more questions,

    11    by 6:00.

    12    BY MR. McGAHREN:

    13           Q     How far apart are the SLAPS and the

    14    Latty Avenue site?

    15           A     I don't know the exact distance, but

    16    they're maybe two miles apart.

    17           Q     Could you pull up your supplemental

    18    report, Dr. Wells.     I think it's marked for

    19    identification already as Exhibit 13.

    20           A     Oh, here it is.

    21           Q     Can I refer you to page -- Section 2.         I

    22    don't think it's paginated.

    23           A     Yes, I'm with you.

    24           Q     You say there -- in the first paragraph,

    25    about six lines down:      "Some of the material was



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     1    then dried and shipped to Cotter Corporation's ore

     2    processing milling in Canon City, Colorado."

     3                    Do you see that?

     4            A       Yes.

     5            Q       Do you know -- did you look at, by mass,

     6    the volume of materials that were shipped to Canon

     7    City?    Or the percentage of materials shipped to

     8    Canon City?

     9            A       No, I -- I didn't specifically know

    10    that.       I mean -- I mean, my understanding is that

    11    all of the waste materials that were stored at

    12    Latty Avenue site, except the leached barium

    13    sulfate, were transported to Cotter's facility.

    14            Q       Let me refer you to supplemental opinion

    15    number 1 on -- it's not on a page.        It's just says

    16    "Supplemental Opinion 1."

    17            A       Sorry about that.   I'm not sure why it's

    18    not paginated.

    19            Q       You refer there to the Division of Air

    20    Pollution Control of the St. Louis County Health

    21    Department.      Do you see that?

    22            A       Yes.

    23            Q       Now, I thought you testified earlier,

    24    but I wasn't clear just because I didn't hear the

    25    answer, did you review their files?



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     1           A     No.   I reviewed this -- well, a

     2    description of this violation.

     3           Q     Okay.   So you reviewed historic

     4    correspondence; is that correct?

     5           A     That's correct, in the form of a

     6    bimonthly monitoring report that was submitted in,

     7    I think it was 1970, to Cotter.

     8           Q     Okay.   When this letter was sent to

     9    Cotter, do you know how long it took Cotter to

    10    respond to the St. Louis County Health Department?

    11           A     Well, I know that they were asked to

    12    respond within five days.       I -- I don't think I

    13    have any information as to whether they met that

    14    tight deadline, but I know that the RETA letter

    15    from 1970 does specify that they responded

    16    promptly.

    17           Q     Within the five-day time frame, correct?

    18           A     I don't think it says that, but --

    19    but -- so I don't know specifically know if they

    20    responded within five days.

    21           Q     Okay.   You say the November 1970 report

    22    is the only bimonthly report from RETA that's been

    23    uncovered during discovery for this case; is that

    24    correct?

    25           A     Well, that's the only bimonthly report



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     1    that I'm aware of.

     2            Q    It's the only one you reviewed?

     3            A    Correct.

     4            Q    Okay.   So you don't know if there are

     5    others or not; is that correct?

     6            A    That's really what I'm trying to say

     7    here in this report.

     8            Q    You say the facility received a notice

     9    of noncompliance from AEC in 1968.        Do you see

    10    that?

    11            A    Yes.

    12            Q    Are you referring to inspection reports

    13    that were written by AE -- AEC inspectors?

    14            A    In that case, yes, that's a 1968

    15    inspection report that I'm referring to.

    16            Q    Okay.   Are you familiar with the AEC's

    17    enforcement process?

    18            A    Not in any detail, no.

    19            Q    Are you familiar with it at all?

    20            A    Well, I'm -- I'm familiar that they used

    21    inspections.    You know, that they use inspections

    22    to -- to evaluate sites, they identify problems,

    23    and then they, among other things, look to see

    24    upon their next inspection if those problems have

    25    been corrected.



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     1           Q     Can you describe for me the steps that

     2    the AEC took for citing a licensee for a

     3    violation?

     4           A     I haven't seen any documentation about

     5    what steps, if any, they took after -- after

     6    citing these noncompliance events.

     7           Q     And you don't have any professional

     8    experience with respect to that process?

     9           A     I just don't have an opinion about that

    10    process.

    11           Q     Well, you described the facility

    12    receiving a notice of noncompliance.

    13           A     Correct.

    14           Q     What do you -- what do you mean when you

    15    say a "notice of noncompliance"?

    16           A     Well, what I mean by that is there's --

    17    there's language in this inspection report that

    18    says that the facility is not in compliance.

    19           Q     Did they send the inspection report to

    20    the licensee, do you know?

    21           A     I would assume so.     But I know I'm not

    22    meant to assume, so the answer is I don't know.

    23           Q     You say further down:      "The facility

    24    also received notices of noncompliance from the

    25    Atomic Energy Commission in 1966 and '67."



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     1                 Do you see that?

     2            A    Yes.

     3            Q    Are you referring to the same thing, an

     4    inspection report that you reviewed?

     5            A    Those are inspection reports, yes.

     6            Q    Okay.   Who was operating the facility in

     7    1966?

     8            A    I don't specifically know.

     9            Q    Do you know who the licensee was?

    10            A    Well, we -- we have this license

    11    information.    So I -- I believe the licensee would

    12    have been Contemporary Metals.

    13            Q    But your opinion is that Cotter

    14    committed multiple violations related to hazardous

    15    material management, and you're using '66 and '67

    16    inspection reports to support your opinion,

    17    correct?

    18            A    Correct.

    19            Q    Why is that?

    20            A    Well, because I'm guided by an

    21    assumption that Cotter is or may be held

    22    responsible for activities at the site during the

    23    operational period of the Latty Avenue site.

    24    That's -- that's an assumption that I'm using in

    25    this report.



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     1            Q    What is the basis for that assumption?

     2            A     The basis for that assumption is that --

     3    really the similar basis to my allocation scheme.

     4    I was -- I was asked to assume that operators at a

     5    site could be held responsible for all releases

     6    or -- or violations over the operational period of

     7    that site.

     8            Q    And, again, what is the basis for that

     9    assumption?    Is it something that counsel told you

    10    or --

    11            A    Yes.

    12            Q    Okay.   Can I refer you to your third

    13    supplemental opinion.

    14            A    Yes.

    15            Q    On the second page of that opinion,

    16    which I -- I don't have a page number, but it

    17    starts at the top, it says "Scheduling Order."

    18                 Do you see that?

    19            A    Okay.   Yeah.

    20            Q    It's the second to last page of the

    21    supplemental report.      Two lines down, it says:

    22    "It is my opinion that releases of contaminated

    23    soil and sediment into Coldwater Creek and its

    24    tributary ditches meet the definition of the

    25    'release of excessive radiation' as defined in



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     1    10 CFR Section 20."

     2                 What is the basis for that opinion?

     3           A     The basis for that opinion is that these

     4    releases were in excess of -- resulted in

     5    contamination that was in excess of background,

     6    and also was the result of releases that were

     7    really not in compliance with the regulatory

     8    requirement to keep releases as low as reasonably

     9    achievable.

    10           Q     Is there anywhere in the regulations

    11    that pertained at the time Cotter was operating

    12    the facility that talk about releases in excess of

    13    background?

    14           A     Not that I'm aware of.

    15           Q     So this is just purely your opinion.         It

    16    has nothing to do with the regulations, correct?

    17           A     This is my opinion of -- of the

    18    definition of "excessive radiation."

    19           Q     So any release above background is a

    20    violation of the regulations in your opinion; is

    21    that correct?

    22           A     Well, any release above background that

    23    also exceeds effluent limitations or that exceeds

    24    the narrative description of -- of release

    25    requirements; this, you know, as low as reasonably



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     1    achievable.

     2                  So there -- there are a couple of steps

     3    there.     Not any molecule that leaves a site is

     4    necessarily a violation.       I -- I acknowledge that.

     5           Q      With respect to Cotter's operation of

     6    the Latty Avenue facility from 1970 on, did you

     7    identify any such -- any evidence or documents or

     8    information evidencing releases that you define as

     9    "excessive radiation"?

    10           A      I would define the releases of

    11    thorium-230 in air as meeting that definition of

    12    "excessive radiation," because it exceeds the

    13    effluent limitation in accordance with my

    14    calculations.

    15           Q      Any others?

    16           A      Those are all that I would be aware of.

    17           Q      Okay.   And those releases are based on

    18    your box model calculation, which is also premised

    19    on Dr. Till's team's work and calculations,

    20    correct?

    21           A      That's correct.    And it's my opinion

    22    that that's a reasonable approach for making such

    23    a calculation.

    24           Q      And again, you -- you cite in your

    25    supplemental opinion number 3:        "Mallinckrodt and



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     1    Cotter would have been aware of this issue because

     2    AEC had observed and reported uncontrolled

     3    releases of contaminated sediment at least by

     4    1948."

     5                   Is that based upon your opinion that

     6    Cotter reviewed the 1980 -- '48 report?

     7             A     No, I don't have a specific opinion

     8    about whether or not they reviewed that specific

     9    report.      But I do have an opinion that they should

    10    have been or would have been aware of offsite

    11    releases that resulted in contamination into the

    12    creek.

    13             Q     They were aware -- your opinion is that

    14    they were aware of releases by prior operators of

    15    Latty Avenue?      Is that your opinion?

    16             A     No, that's not specifically my opinion,

    17    but that -- that the operational practices from

    18    each of these sites resulted in contamination

    19    extending off the property, and that both entities

    20    should have been aware of that.

    21             Q     Do you know if there was contamination

    22    extending off of the Latty Avenue property before

    23    Cotter stepped foot on the site?

    24             A     Yes, I believe there was.     Well, I don't

    25    know exactly when Cotter stepped foot on the site,



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     1    so I -- I guess I really should correct my answer.

     2    I -- I don't know the answer to that question.

     3           Q     Okay.   Bear with me a second.       I don't

     4    think I have anything else at this time.

     5                 Oh, let me refer you to page 21 of your

     6    report.

     7           A     Okay.   I'm on page 21.

     8           Q     The first full paragraph begins "In some

     9    cases."    If you go down about six lines where

    10    you're talking about allocation, it says, over on

    11    the right side of that sixth line, "... apply in

    12    the Coldwater Creek because the very same

    13    materials were stored at each site, although they

    14    were stored at each site at different times."

    15                 Is that correct?     Or do you want to

    16    modify your testimony -- or your opinion?          Excuse

    17    me.

    18           A     No, that's -- that's correct.        The same

    19    materials -- I mean the materials that ended up at

    20    Latty Avenue came from SLAPS.       So it's the very

    21    same materials.

    22           Q     Okay.   So that's the sentence you're

    23    referring to?

    24           A     Yes.

    25           Q     You're not saying that there weren't



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     1    additional materials at SLAPS, correct?

     2           A     I'm not saying that.

     3           Q     So, like, for example, the K-65 waste,

     4    you're not saying that was at Latty Avenue, are

     5    you?

     6           A     I'm not saying the K-65 waste was at

     7    Latty Avenue.    I'm not prepared to make that same

     8    distinction about the drums.       I know that the

     9    drums that were stored -- at least many of the

    10    drums that were used to store the K-65 waste

    11    were returned back to the SLAPS site.

    12                 I also know that Latty Avenue had a drum

    13    storage site.    I haven't seen any specific

    14    description of where those drums came from or --

    15    or what was in them, but -- and it's not really,

    16    you know, related to my specific opinions, but it

    17    seems to me that that's -- from the knowledge that

    18    I have about this site, that's an unknown.

    19           Q     Didn't you see a bill of sale today that

    20    you were shown by counsel for Mallinckrodt that

    21    identified how many drums were transferred to

    22    Latty Avenue?

    23           A     Yeah, but it doesn't -- I mean, it talks

    24    about drums, but it doesn't say what was in the

    25    drums.



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     1           Q     Do you have any idea the number of drums

     2    that were stored at SLAPS?

     3           A      Oh, many, many drums.

     4           Q     In excess of 50,000?

     5                 MR. ZAGER:    Object to form and

     6    foundation.

     7                 THE WITNESS:    Well, it was certainly

     8    thousands.

     9    BY MR. McGAHREN:

    10           Q     Okay.   Do you -- is it your opinion that

    11    the -- those drums were ever stored at Latty

    12    Avenue?

    13           A     Well, certainly not all of those drums

    14    were stored at Latty Avenue, but there were drums

    15    that were stored at Latty Avenue.        There were

    16    measurements from the drum storage site that

    17    showed quite high levels of gamma radiation.

    18                 So all I'm saying is, from my

    19    reconstruction of the history of these sites, what

    20    happened to the empty drums is -- is something

    21    that I, sitting here today, am not clear on.

    22           Q     Can I refer you to page 20 of your

    23    report.

    24           A     Yeah.

    25                 MR. McCLAIN:    You guys had better go.



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     1    BY MR. McGAHREN:

     2           Q     The last sentence of the first full

     3    paragraph says:     "In this case, however, when the

     4    drying operations were active at Latty Avenue, a

     5    substantial amount of contaminated dust was

     6    mobilized, some of which would have been deposited

     7    on the ball fields.      I believe it's reasonable to

     8    apportion 10 percent of the total contaminant load

     9    found on the ball fields after 1966 to Latty and

    10    90 percent to SLAPS."

    11                 What's the basis for that estimate?

    12           A     Well, this is -- this is clearly a

    13    semi-quantitative estimate.

    14           Q     Otherwise, known as a lag.

    15           A     No, I think it's better than that.

    16                 You know, what -- what one does here,

    17    and what I'm trying to do here, is arrive at a

    18    reasonable allocation scheme based on the

    19    information we have.      There are -- there are a lot

    20    of data gaps, and yet you still need an answer.

    21                 And so my -- I would freely acknowledge

    22    that there's uncertainty in that particular

    23    assumption or conclusion.       But my -- my basic

    24    premise is, due to its proximity, surely most of

    25    the contamination that's found at the ball field



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     1    came from SLAPS.

     2                 But given that we know that there were

     3    offsite releases into the air, given we know that

     4    once contaminants get into the air, they are

     5    transported with the wind, and given the fact that

     6    wind directions are variable, that some

     7    contamination from Latty Avenue, in my opinion,

     8    ended up on the ball fields, although much less

     9    than -- than what would have been derived from

    10    SLAPS.

    11           Q     But you don't know how far apart the

    12    sites are, do you?

    13                 MR. McCLAIN:    He's already given you his

    14    estimate.

    15                 THE WITNESS:    Yeah, they're -- they're

    16    approximately two miles apart.

    17    BY MR. McGAHREN:

    18           Q     Are you sure about that?

    19           A     Yeah.

    20           Q     Okay.   And do you know the prevailing

    21    wind directions between --

    22                 MR. McCLAIN:    Come on.

    23    BY MR. McGAHREN:

    24           Q     -- Latty Avenue and SLAPS?

    25                 MR. McGAHREN:     No, Ken, it's not "come



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     1    on."

     2                 THE WITNESS:    No, I -- I don't know the

     3    prevailing wind direction.

     4    BY MR. McGAHREN:

     5            Q    Do you think that's an important factor?

     6            A    Well, if one was trying to do a more

     7    detailed analysis, if you had the data that --

     8    that would be necessary to do a more detailed

     9    analysis, then, sure, the wind directions and the

    10    variability of wind directions would come into

    11    play.

    12                 I would submit that for some of these

    13    estimates that we're -- that I'm coming up with

    14    that folks in this case are looking at, there's

    15    kind of a false sense of security if you try to

    16    use highly complex modeling, like AERMOD, for an

    17    analysis like this where a lot of the input

    18    parameters aren't available.

    19            Q    But there's no calculations in your

    20    report that support that apportionment for the

    21    ball field, are there?

    22            A    It's -- it's not an apportionment

    23    that -- that relies on calculations.

    24            Q    Okay.   And one more question, on

    25    page 17.



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     1           A     Yes.

     2           Q     It talks about air releases from Latty

     3    Avenue.    The second line down, it says:       "To

     4    reduce shipping costs, operators at Latty Avenue

     5    decided to remove moisture from the waste."

     6                 Where did you get that information from,

     7    "to reduce shipping costs"?

     8           A     That's described in -- in the AEC

     9    inspection report, and I think that's -- I -- it's

    10    my understanding that that -- that is the reason

    11    that drying was done.

    12           Q     So it's in an inspection report in --

    13    that you've identified in your annotations.

    14           A     I believe so.

    15           Q     Okay.   No other source of that?

    16           A     Other than it making sense, you know,

    17    other than I can't think of any other reason that

    18    they would have done that.

    19           Q     Are you familiar with the Department of

    20    Transportation regulations for shipment of

    21    radionuclides?

    22           A     Well, I know that they shipped a lot of

    23    radionuclides from that site without drying.          So I

    24    don't believe that that was a prohibition based on

    25    transportation restrictions.



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     1            Q    That wasn't my question.

     2                 MR. McGAHREN:     You can strike that --

     3    move to strike that answer as nonresponsive.

     4                 I have no further questions at this

     5    time.

     6                 MR. ZAGER:    I don't have anything

     7    further.

     8                 MR. McCLAIN:    Thank you.

     9                 MR. McGAHREN:     Thank you very much,

    10    Dr. Wells.

    11                 MR. ZAGER:    Are you going to read and

    12    sign, I'm assuming?

    13                 MR. McCLAIN:    Yes.

    14                 MR. McGAHREN:     Thank you, Ken.

    15                 MR. McCLAIN:    You're welcome.

    16                 (A discussion was held off the record.)

    17                 THE VIDEOGRAPHER:      Going off the record.

    18    The time is 5:54 p.m.

    19                 (Conclusion of video record.)

    20                 THE REPORTER:     John, would you like a

    21    copy of the transcript?

    22                 MR. McGAHREN:     Yes, I want the full,

    23    mini.

    24                 THE REPORTER:     And how about the

    25    exhibits?



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     1                 MR. McCLAIN:    Yes, the exhibits too.

     2                 MR. ZAGER:     We'll take the same.

     3                 MR. McCLAIN:    And we will too.

     4                 MR. McGAHREN:     And we'll take the video

     5    synced.

     6                 MR. McCLAIN:    We don't need the video.

     7                 (Whereupon, the deposition of

     8                 JAMES T. WELLS, Ph.D. was concluded

     9                 at 5:55 p.m.)

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     1        CERTIFICATE OF CERTIFIED SHORTHAND REPORTER

     2          The undersigned Certified Shorthand Reporter

     3    does hereby certify:

     4          That the foregoing proceeding was taken before

     5    me at the time and place therein set forth, at

     6    which time the witness was duly sworn; That the

     7    testimony of the witness and all objections made

     8    at the time of the examination were recorded

     9    stenographically by me and were thereafter

    10    transcribed, said transcript being a true and

    11    correct copy of my shorthand notes thereof; That

    12    the dismantling of the original transcript will

    13    void the reporter's certificate.

    14          In witness thereof, I have subscribed my name

    15    this date:    October 25, 2019.

    16

    17

    18                         LESLIE A. TODD, CSR, RPR

    19                         Certificate No. 5129

    20

    21    (The foregoing certification of

    22    this transcript does not apply to any

    23    reproduction of the same by any means,

    24    unless under the direct control and/or

    25    supervision of the certifying reporter.)



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     1                   INSTRUCTIONS TO WITNESS

     2          Please read your deposition over carefully and

     3    make any necessary corrections.        You should state

     4    the reason in the appropriate space on the errata

     5    sheet for any corrections that are made.

     6          After doing so, please sign the errata sheet

     7    and date it.

     8          You are signing same subject to the changes

     9    you have noted on the errata sheet, which will be

    10    attached to your deposition.       It is imperative

    11    that you return the original errata sheet to the

    12    deposing attorney within thirty (30) days of

    13    receipt of the deposition transcript by you.          If

    14    you fail to do so, the deposition transcript may

    15    be deemed to be accurate and may be used in court.

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     7    ____ ____ ________________________________________

     8    REASON: ________________________________________

     9    ____ ____ ________________________________________

    10    REASON: ________________________________________

    11    ____ ____ ________________________________________

    12    REASON: ________________________________________

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    22    REASON: ________________________________________

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     1                  ACKNOWLEDGMENT OF DEPONENT

     2          I,___________________________, do hereby

     3    certify that I have read the foregoing pages, and

     4    that the same is a correct transcription of the

     5    answers given by me to the questions therein

     6    propounded, except for the corrections or changes

     7    in form or substance, if any, noted in the

     8    attached Errata Sheet.

     9

    10    __________________________________________________

    11    JAMES T. WELLS, Ph.D.                         DATE

    12

    13

    14    Subscribed and sworn to

    15    before me this

    16    ______day of_______________,20___.

    17    My commission expires:_______________

    18    _____________________________________

    19    Notary Public

    20

    21

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